Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 1 of 158 PageID: 791




  James E. Cecchi
  CARELLA BYRNE CECCHI
  OLSTEIN BRODY & AGNELLO, P.C.
  5 Becker Farm Road
  Roseland, NJ 07068
   (973) 994-1700
  Lead Counsel for Plaintiffs
  (Additional Counsel on the Signature Page)

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

   IN RE: AMERICAN MEDICAL                     Civil Action No. 19-md-2904 (MCA)(MAH)
   COLLECTION AGENCY, INC.
   CUSTOMER DATA SECURITY BREACH
   LITIGATION                                    CONSOLIDATED CLASS ACTION
                                                COMPLAINT: QUEST & OPTUM360
   This Document Relates To: All Actions
   Against Quest Diagnostics, Inc. and
   Optum360 LLC
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 2 of 158 PageID: 792




                                                    TABLE OF CONTENTS
                                                                                                                                          Page

  PRELIMINARY STATEMENT .................................................................................................... 1

  JURISDICTION AND VENUE ..................................................................................................... 2

  NAMED PLAINTIFFS................................................................................................................... 4

            I.        ARKANSAS ........................................................................................................... 4
            A.        Plaintiff Ella Gulley ................................................................................................ 4
            II.       CALIFORNIA ........................................................................................................ 5
            A.        Plaintiff Julio Antonio Perez Vieyra ....................................................................... 5
            III.      COLORADO .......................................................................................................... 6
            A.        Plaintiff Moises Perez ............................................................................................. 6
            IV.       FLORIDA ............................................................................................................... 7
            A.        Plaintiff Noel Benadom .......................................................................................... 7
            B.        Plaintiffs Nancy and William Infield ...................................................................... 8
            C.        Plaintiff Annie Mae Smith .................................................................................... 10
            V.        INDIANA ............................................................................................................. 11
            A.        Plaintiff Shannon Walden ..................................................................................... 11
            VI.       IOWA .................................................................................................................... 12
            A.        Plaintiff Lucinda Dirks ......................................................................................... 12
            VII.      KANSAS............................................................................................................... 13
            A.        Plaintiff Ashley Finch ........................................................................................... 13
            VIII.     KENTUCKY......................................................................................................... 14
            A.        Plaintiff Carolyn Green ......................................................................................... 14
            B.        Plaintiff Rose Marie Perry .................................................................................... 15
            IX.       MICHIGAN .......................................................................................................... 16
            A.        Plaintiff Michael Rutan ......................................................................................... 16
            X.        MINNESOTA ....................................................................................................... 17
            A.        Plaintiff Elizabeth Hollway................................................................................... 17
            XI.       MISSOURI ........................................................................................................... 19
            A.        Plaintiff LaTease Rikard ....................................................................................... 19
            XII.      NEW HAMPSHIRE ............................................................................................. 20
            A.        Plaintiff Naomi Jaworowski ................................................................................. 20

                                                                        i
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 3 of 158 PageID: 793
                           TABLE OF CONTENTS
                                 (Cont’d)

                                                                                                                                           Page

            XIII.      NEW JERSEY ...................................................................................................... 21
            A.         Plaintiff Ria Jairam ............................................................................................... 21
            B.         Plaintiff Cynthia Connor ....................................................................................... 22
            XIV. NEW YORK ......................................................................................................... 23
            A.         Plaintiff John Briley .............................................................................................. 23
            B.         Plaintiff Karli Parker ............................................................................................. 24
            C.         Plaintiff Joyce Rosselli ......................................................................................... 25
            XV.        OHIO..................................................................................................................... 27
            A.         Plaintiff Deanna Taylor......................................................................................... 27
            XVI. PENNSYLVANIA................................................................................................ 28
            A.         Plaintiff William Lindsay ..................................................................................... 28
            B.         Plaintiff Brittney Petitta ........................................................................................ 29
            C.         Plaintiff Darlane Saracina ..................................................................................... 30
            XVII. TENNESSEE ........................................................................................................ 31
            A.         Plaintiff Jo Ann Buck............................................................................................ 31
            XVIII. TEXAS .................................................................................................................. 32
            A.         Plaintiff Ann Davis ............................................................................................... 32
  DEFENDANTS ............................................................................................................................ 33

  FACTUAL ALLEGATIONS ....................................................................................................... 34

            A.         Quest Collects Patients’ Personal Information And Shares It With Optum360 and
                       AMCA................................................................................................................... 34
            B.         The Data Breach ................................................................................................... 36
            C.         Defendants Failed To Exercise Due Care In Contracting With AMCA ............... 41
            D.         Defendants Failed To Provide Proper Notice Of The Data Breach ...................... 44
            E.         Quest Committed To Safeguarding Its Patients’ Personal Information................ 47
            F.         Defendants Violated HIPAA’s Requirements To Safeguard Data ....................... 50
            G.         Quest Patients’ Personal Information Is Highly Valuable .................................... 53
            H.         Defendants Have Harmed Plaintiffs And Class Members By Allowing Anyone To
                       Access Their Information ..................................................................................... 56
  CLASS ACTION ALLEGATIONS ............................................................................................. 62

            I.         NATIONWIDE CLASS ....................................................................................... 62
            II.        STATEWIDE SUBCLASSES .............................................................................. 63


                                                                        ii
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 4 of 158 PageID: 794
                           TABLE OF CONTENTS
                                 (Cont’d)

                                                                                                                                  Page

  CHOICE OF LAW FOR NATIONWIDE CLAIMS .................................................................... 68

  CLAIMS ON BEHALF OF THE NATIONWIDE CLASS ......................................................... 70

          COUNT 1 NEGLIGENCE On Behalf of Plaintiffs and the Nationwide Class, or
              Alternatively, on Behalf of Plaintiffs and the Statewide Subclasses .................... 70
          COUNT 2 NEGLIGENCE PER SE On Behalf of Plaintiffs and the Nationwide
              Class, or Alternatively, on Behalf of Plaintiffs and the Statewide
              Subclasses ............................................................................................................. 74
          COUNT 3 UNJUST ENRICHMENT On Behalf of Plaintiffs and the Nationwide
              Class, or Alternatively, on Behalf of Plaintiffs and the Statewide
              Subclasses ............................................................................................................. 77
          COUNT 4 DECLARATORY JUDGMENT On Behalf of Plaintiffs and the
              Nationwide Class, or Alternatively, on Behalf of Plaintiffs and the
              Statewide Subclasses ............................................................................................ 78
          COUNT 5 BREACH OF IMPLIED CONTRACT On Behalf of Plaintiffs and the
              Nationwide Class, or Alternatively, on Behalf of Plaintiffs and the
              Statewide Subclasses ............................................................................................ 80
          COUNT 6 NEW JERSEY CONSUMER FRAUD ACT, N.J.S.A. § 56:8-1, et seq.
              On Behalf of Plaintiffs and the Nationwide Class against Defendant Quest,
              or Alternatively, on Behalf of the New Jersey Subclass against Both
              Defendants ............................................................................................................ 82
          COUNT 7 MINNESOTA CONSUMER FRAUD ACT, Minn. Stat. §§ 325F.68,
              et seq. and Minn. Stat. §§ 8.31, et seq. On Behalf of Plaintiffs and the
              Nationwide Class against Defendant Optum360, or Alternatively, on
              Behalf of the Minnesota Subclass against Both Defendants ................................ 85
          COUNT 8 MINNESOTA UNIFORM DECEPTIVE TRADE PRACTICES ACT,
              Minn. Stat. §§ 325D.43, et seq. On Behalf of Plaintiffs and the Nationwide
              Class against Defendant Optum360, or Alternatively, on Behalf of the
              Minnesota Subclass against Both Defendants ...................................................... 88
  CLAIMS ON BEHALF OF THE CALIFORNIA SUBCLASS ................................................... 91

          COUNT 9 CALIFORNIA CONFIDENTIALITY OF MEDICAL
              INFORMATION ACT, Cal. Civ. Code §§ 56, et seq........................................... 91
          COUNT 10 CALIFORNIA CUSTOMER RECORDS ACT, Cal. Civ. Code §§
              1798.80, et seq. ..................................................................................................... 94
          COUNT 11 CALIFORNIA UNFAIR COMPETITION LAW, Cal. Bus. & Prof.
              Code §§ 17200, et seq. .......................................................................................... 95
          COUNT 12 CALIFORNIA CONSUMER LEGAL REMEDIES ACT, Cal. Civ.
              Code §§ 1750, et seq. ............................................................................................ 99
  CLAIMS ON BEHALF OF THE COLORADO SUBCLASS ................................................... 101
                                                                  iii
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 5 of 158 PageID: 795
                           TABLE OF CONTENTS
                                 (Cont’d)

                                                                                                                                     Page

         COUNT 13 COLORADO SECURITY BREACH NOTIFICATION ACT, Colo.
             Rev. Stat. §§ 6-1-716, et seq. .............................................................................. 101
  CLAIMS ON BEHALF OF THE FLORIDA SUBCLASS........................................................ 102

         COUNT 14 FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES
             ACT, Fla. Stat. §§ 501.201, et seq. ..................................................................... 102
  CLAIMS ON BEHALF OF THE INDIANA SUBCLASS ........................................................ 105

         COUNT 15 INDIANA UNFAIR TRADE PRACTICES ACT Indiana Code § 24-
             5-0.5 .................................................................................................................... 105
  CLAIMS ON BEHALF OF THE IOWA SUBCLASS .............................................................. 112

         COUNT 16 PERSONAL INFORMATION SECURITY BREACH
             PROTECTION LAW, Iowa Code § 715C.2 ...................................................... 112
         COUNT 17 IOWA PRIVATE RIGHT OF ACTION FOR CONSUMER
             FRAUDS ACT, Iowa Code § 714H ................................................................... 113
  CLAIMS ON BEHALF OF THE KANSAS SUBCLASS ......................................................... 116

         COUNT 18 PROTECTION OF CONSUMER INFORMATION Kan. Stat. Ann.
             §§ 50-7a02(a), et seq. .......................................................................................... 116
         COUNT 19 KANSAS CONSUMER PROTECTION ACT, K.S.A. §§ 50-623, et
             seq. ...................................................................................................................... 117
  CLAIMS ON BEHALF OF THE KENTUCKY SUBCLASS ................................................... 121

         COUNT 20 KENTUCKY COMPUTER SECURITY BREACH NOTIFICATION
             ACT, Ky. Rev. Stat. Ann. §§ 365.732, et seq. .................................................... 121
         COUNT 21 KENTUCKY CONSUMER PROTECTION ACT, Ky. Rev. Stat. §§
             367.110, et seq. ................................................................................................... 122
  CLAIMS ON BEHALF OF THE MICHIGAN SUBCLASS .................................................... 125

         COUNT 22 MICHIGAN IDENTITY THEFT PROTECTION ACT, Mich. Comp.
             Laws Ann. §§ 445.72, et seq. .............................................................................. 125
         COUNT 23 MICHIGAN CONSUMER PROTECTION ACT, Mich. Comp. Laws
             Ann. §§ 445.903, et seq. ..................................................................................... 126
  CLAIMS ON BEHALF OF THE MISSOURI SUBCLASS ...................................................... 129

         COUNT 24 MISSOURI MERCHANDISING PRACTICES ACT, Mo. Rev. Stat.
             §§ 407.010, et seq. .............................................................................................. 129
  CLAIMS ON BEHALF OF THE NEW HAMPSHIRE SUBCLASS ........................................ 132



                                                                   iv
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 6 of 158 PageID: 796
                           TABLE OF CONTENTS
                                 (Cont’d)

                                                                                                                                      Page

           COUNT 25 NOTICE OF SECURITY BREACH N.H. Rev. Stat. Ann. §§ 359-
               C:20(I)(A), et seq. ............................................................................................... 132
           COUNT 26 NEW HAMPSHIRE CONSUMER PROTECTION ACT, N.H.R.S.A.
               §§ 358-A, et seq. ................................................................................................. 133
  CLAIMS ON BEHALF OF THE NEW JERSEY SUBCLASS................................................. 136

           COUNT 27 NEW JERSEY CUSTOMER SECURITY BREACH DISCLOSURE
               ACT, N.J.S.A. §§ 56:8-163, et seq. .................................................................... 136
  CLAIMS ON BEHALF OF THE NEW YORK SUBCLASS ................................................... 137

           COUNT 28 NEW YORK GENERAL BUSINESS LAW, N.Y. Gen. Bus. Law §§
               349, et seq. .......................................................................................................... 137
  CLAIMS ON BEHALF OF THE OHIO SUBCLASS ............................................................... 140

           COUNT 29 OHIO CONSUMER SALES PRACTICES ACT, Ohio Rev. Code §§
               1345.01, et seq. ................................................................................................... 140
           COUNT 30 OHIO DECEPTIVE TRADE PRACTICES ACT, Ohio Rev. Code §§
               4165.01, et seq. ................................................................................................... 143
           COUNT 31 PENNSYLVANIA UNFAIR TRADE PRACTICES AND
               CONSUMER PROTECTION LAW, 73 Pa. Cons. Stat. §§ 201-2 & 201-3,
               et seq. .................................................................................................................. 146
  CLAIMS ON BEHALF OF THE TENNESSEE SUBCLASS .................................................. 149

           COUNT 32 TENNESSEE PERSONAL CONSUMER INFORMATION
               RELEASE ACT, Tenn. Code Ann. §§ 47-18-2107, et seq................................ 149
  REQUESTS FOR RELIEF ......................................................................................................... 150

  DEMAND FOR JURY TRIAL .................................................................................................. 151




                                                                     v
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 7 of 158 PageID: 797




         Plaintiffs, individually on behalf of a class of all those similarly situated (the “Class” or

  “Class Members”), upon personal knowledge of the facts pertaining to Plaintiffs and on

  information and belief as to all other matters, and upon the investigation conducted by Plaintiffs’

  counsel, complain against Defendants, and allege on information and belief as follows:

                                 PRELIMINARY STATEMENT

         1.      On June 3, 2019, Defendant Quest Diagnostics Inc. (“Quest”) revealed in a

  securities filing that an unauthorized user accessed the system run by Quest’s billing collections

  vendor, Retrieval-Masters Creditor’s Bureau, Inc., d/b/a American Medical Collection Agency

  (“AMCA”), for over six months between late 2018 and March 2019 (the “Data Breach”). After

  accessing AMCA’s systems, the hacker exfiltrated the sensitive personal, financial, and health

  information of millions of Quest patients and sold the information for profit on underground

  websites known as the “dark web.”

         2.      Quest contracted with AMCA through 2016 at which point Defendant Optum360

  LLC (“Optum360”) was assigned that contract pursuant to its work as a revenue cycle management

  company for Quest.

         3.      Defendants could have prevented this theft had it limited the customer information

  they shared with their vendors and business associates and employed reasonable measures to

  assure their vendors and business associates implemented and maintained adequate data security

  measures and protocols in order to secure and protect Quest customers’ data.

         4.      Plaintiffs bring this class action because Defendants failed to secure and safeguard

  Quest patients’ protected health information (“PHI”) and personally identifiable information

  (“PII”)—such as Plaintiffs’ and Class Members’ names, mailing addresses, phone numbers, email

  addresses, dates of birth, Social Security numbers, genders, information related to Plaintiffs’ and

                                                  1
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 8 of 158 PageID: 798




  Class Members’ medical providers and services (such as dates of service, name of lab, referring

  doctor, test names, internal patient identification number), diagnosis codes, and other personal

  information—such as credit and debit card numbers, bank account information, and insurance

  policy numbers (all collectively referred to as “Personal Information”).

         5.      As of today, more than 11.5 million Quest patients have had their Personal

  Information compromised as a result of the Data Breach. As a result of Defendants’ failure to

  protect the consumer information they were entrusted to safeguard, Plaintiffs and Class Members

  suffered a loss of value of their Personal Information—and have been exposed to or are at

  imminent and significant risk of identity theft, financial fraud, and other identity-related fraud into

  the indefinite future. In fact, some Class Members’ identities have already been stolen.

         6.      Defendants’ intentional, willful, reckless, and negligent conduct—failing to

  prevent the breach, failing to limit its severity, and failing to detect it in a timely fashion—damaged

  Plaintiffs uniformly. As discussed herein, fraudulent activities have already been linked to

  Defendants’ conduct.      For this reason, Defendants should pay for monetary damages, for

  appropriate identity theft protection services, and reimburse Plaintiffs for the costs caused by

  Quest’s substandard security practices and failure to timely disclose the same. Plaintiffs are

  likewise entitled to injunctive and other equitable relief that safeguards their information, requires

  Defendants to significantly improve their data security, and provides independent, expert oversight

  of Defendants’ security systems.

                                   JURISDICTION AND VENUE

         7.      This Consolidated Complaint is intended to serve as an administrative summary as

  to all other complaints consolidated in this multidistrict litigation asserting claims against Quest

  and Optum360 and shall serve for all purposes as an administrative device to aid efficiency and




                                                    2
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 9 of 158 PageID: 799




  economy for the Class defined below. As set forth herein, this Court has general jurisdiction over

  Defendants and original jurisdiction over Plaintiffs’ claims.

         8.      This Court has subject matter jurisdiction pursuant to the Class Action Fairness Act

  of 2005, 28 U.S.C. § 1332(d)(2), because this is a class action in which the matter in controversy

  exceeds the sum of $5,000,000, there are more than 100 proposed Class Members, and minimal

  diversity exists as Defendants are citizens of States different from that of at least one Class

  member.

         9.      This Court has personal jurisdiction over Quest because it maintains its principal

  place of business in this District. Quest is authorized to and regularly conducts business in New

  Jersey. Quest makes decisions regarding corporate governance and management of its blood

  testing labs in this District, including decisions regarding the security measures to protect its

  customers’ Personal Information. Quest owns and operates many blood testing labs throughout

  New Jersey and the United States.

         10.     This Court has personal jurisdiction over Optum360 because it is authorized and

  regularly conducts business in New Jersey and has sufficient minimum contacts in New Jersey

  such that Optum360 intentionally avails itself of this Court’s jurisdiction by conducting operations

  here and contracts with companies in this District.

         11.     Venue is proper in this District pursuant to 28 U.S.C. § 1407 and the July 31, 2019

  Transfer Order of the Judicial Panel on Multidistrict Litigation in MDL 2904 or, in the alternative,

  pursuant to 28 U.S.C. § 1391 because each of the Defendants transact business and may be found

  in this District. Specifically, Quest’s principal place of business is located in this District and

  substantial parts of the events or omissions giving rise to the claims occurred in or emanated from

  this District, including, without limitation, decisions made by Defendants’ governance and




                                                   3
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 10 of 158 PageID: 800




   management personnel or inaction by those individuals that led to misrepresentations, invasions

   of privacy, and the data breach.

                                          NAMED PLAINTIFFS

          12.       Plaintiffs are individuals who, upon information and belief, had their Personal

   Information compromised in the Data Breach, and bring this action on behalf of themselves and

   all those similarly situated both across the United States and within their state or territory of

   residence. These allegations are made upon information and belief derived from, inter alia,

   counsel’s investigation, public sources—including sworn statements, Defendants’ websites, and

   the facts and circumstances currently known. Because Defendants have exclusive but perhaps

   incomplete knowledge of what information was compromised for each individual, including PHI,

   Plaintiffs reserve the right to supplement their allegations with additional Plaintiffs, facts and

   injuries as they are discovered.

   I.     ARKANSAS

          A.        Plaintiff Ella Gulley

          13.       Plaintiff Ella Gulley is a citizen and resident of Arkansas.

          14.       Ella Gulley was a Quest patient who went to obtained blood testing at a Quest

   laboratory.

          15.       Ella Gulley provided Quest with her Personal Information as part of obtaining

   blood testing.

          16.       Ella Gulley’s bill from Quest was subsequently sent to Defendants’ billing

   collections vendor, AMCA.

          17.       As part of billing collection services provided for Defendants, Ella Gulley has been

   contacted through several letters, and in response, provided Personal Information to AMCA.




                                                      4
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 11 of 158 PageID: 801




          18.     As a Quest patient, Ella Gulley believed that Quest would protect her Personal

   Information once she provided it to Quest or its vendors.

          19.     Ella Gulley would not have provided Quest with this Personal Information nor used

   Quest to provide blood testing had she known that it would fail to protect her Personal Information.

          20.     Ella Gulley suffered and will continue to suffer damages due to the Data Breach.

   II.    CALIFORNIA

          A.      Plaintiff Julio Antonio Perez Vieyra

          21.     Plaintiff Julio Antonio Perez Vieyra is a citizen and resident of California.

          22.     Plaintiff Vieyra was a Quest patient who went to a Quest laboratory to obtain blood

   testing services.

          23.     For years, Plaintiff Vieyra used Quest regularly for routine laboratory testing.

          24.     Plaintiff Vieyra reviewed and agreed to Quest’s privacy policies prior to agreeing

   to obtain blood testing services.

          25.     Plaintiff Vieyra provided Quest with his Personal Information as part of obtaining

   blood testing, including his address, date of birth, Social Security number, and driver’s license

   number.

          26.     Plaintiff Vieyra’s bill from Quest was subsequently sent to AMCA.

          27.     Plaintiff Vieyra remains in collections with Quest.

          28.     In response to the Data Breach, Plaintiff Vieyra has begun carefully reviewing his

   financial and medical accounts to guard against fraud. Plaintiff Vieyra spends three hours every

   week monitoring his accounts for fraudulent activity.

          29.     In October 2019, Plaintiff Vieyra identified a fraudulent charge on his bank account

   and spent four hours attempting to contact his bank to alert them of the fraud.




                                                    5
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 12 of 158 PageID: 802




          30.       As a Quest patient, Plaintiff Vieyra believed that Quest would protect his Personal

   Information once he provided it to Quest.

          31.       Plaintiff Vieyra would not have provided Quest with his Personal Information nor

   used Quest to provide blood testing had he known that it would fail to protect his Personal

   Information.

          32.       Plaintiff Vieyra suffered and will continue to suffer damages due to the Data

   Breach.

   III.   COLORADO

          A.        Plaintiff Moises Perez

          33.       Plaintiff Moises Perez is a citizen and resident of Colorado.

          34.       Plaintiff Perez was a Quest patient who went to a Quest laboratory to obtain blood

   testing services.

          35.       Plaintiff Perez provided Quest with his Personal Information as part of obtaining

   blood testing.

          36.       Plaintiff Perez unpaid bill from Quest was subsequently sent to AMCA.

          37.       Plaintiff Perez received a collections notice from AMCA dated April 28, 2014,

   stating that AMCA was pursuing collection of a $20.25 debt he owed to Quest.

          38.       Plaintiff Perez received a letter from AMCA dated June 4, 2019 informing him that

   his Personal Information including his “first and last name, name of lab or medical service

   provider, date of medical service, referring doctor, [and] certain other medical information” was

   at risk due to the Data Breach.

          39.       Following the Data Breach, Plaintiff Perez spent two hours trying to reach AMCA

   for information regarding the Data Breach.




                                                     6
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 13 of 158 PageID: 803




           40.     In response to the Data Breach, Plaintiff Perez took measures to protect himself,

   including spending 20 hours monitoring his financial accounts and credit score for fraudulent

   activity.

           41.    As a Quest patient, Plaintiff Perez believed that Quest would protect his Personal

   Information once he provided it to Quest.

           42.    Plaintiff Perez would not have provided Quest with his Personal Information nor

   used Quest for testing had he known that it would fail to protect his Personal Information.

           43.    Plaintiff Perez suffered and will continue to suffer damages due to the Data Breach.

   IV.     FLORIDA

           A.     Plaintiff Noel Benadom

           44.    Plaintiff Noel Benadom is a citizen and resident of Florida.

           45.    Plaintiff Benadom was a Quest patient who went to a Quest laboratory to obtain

   blood testing services.

           46.    Plaintiff Benadom reviewed and agreed to Quest’s privacy policies prior to

   agreeing to obtain blood testing services.

           47.    Plaintiff Benadom provided Quest with his Personal Information as part of

   obtaining blood testing.

           48.    Plaintiff Benadom’s bill from Quest was subsequently sent to AMCA.

           49.    AMCA notified Plaintiff Benadom via letter dated June 4, 2019 of the Data Breach.

           50.    AMCA informed Plaintiff Benadom that information including his first and last

   name, his Social Security Number, the name of his lab or medical service provider, the date of his

   medical service, his referring doctor and other medical information may have been stored on

   AMCA’s system that was compromised.




                                                   7
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 14 of 158 PageID: 804




          51.     As a result of the data breach, on May 20, 2019, an unauthorized charge to Plaintiff

   Benadom’s Orbitz.com travel account was subject to unauthorized access.

          52.     On May 21, 2019, Orbitz.com confirmed that an unauthorized individual attempted

   to book a $125 ticket to Universal Studios Hollywood on Plaintiff Benadom’s credit card.

          53.     Plaintiff Benadom spent more than one hour addressing the identity theft with

   Orbitz.com.

          54.     Plaintiff Benadom began regularly monitoring his financial accounts and obtained

   identify theft protection and credit monitoring services from Capital One and ID Me after learning

   of the data breach.

          55.     As a Quest patient, Plaintiff Benadom believed that Quest would protect his

   Personal Information once he provided it to Quest.

          56.     Plaintiff Benadom would have sought an alternative medical testing facility had he

   known that Quest would not protect his Personal Information.

          57.     Plaintiff Benadom suffered and will continue to suffer damages due to the Data

   Breach.

          B.      Plaintiffs Nancy and William Infield

          58.     Plaintiffs Nancy and William Infield are citizens and residents of Florida.

          59.     Plaintiffs Nancy and William Infield were Quest patients who went to a Quest

   laboratory to obtain blood testing services in at least 2013 and 2018.

          60.     Plaintiffs Nancy and William Infield provided Quest with their Personal

   Information as part of obtaining blood testing.

          61.     Plaintiffs Nancy and William Infield both had unpaid bills from Quest, which were

   subsequently sent to AMCA.




                                                     8
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 15 of 158 PageID: 805




           62.    Plaintiff William Infield received a collections notice from AMCA dated May 15,

   2019, stating that AMCA was pursuing collection of a $25.76 debt he owed to Quest.

           63.    Plaintiff William Infield received a letter from AMCA dated June 6, 2019

   informing him that his Personal Information including his “first and last name, name of lab or

   medical service provider, date of medical service, referring doctor, [and] certain other medical

   information” was at risk due to the Data Breach.

           64.    Plaintiff Nancy Infield received three separate letters from AMCA, all dated June

   6, 2019, informing her that her Personal Information including her “first and last name, Social

   Security number, name of lab or medical service provider, date of medical service, referring doctor,

   [and] certain other medical information” was at risk due to the Data Breach.

           65.    In October 2019, Plaintiff Nancy Infield called AMCA and was told that the bill

   she was in collections for was owed to Quest.

           66.    Following the Data Breach, Plaintiff Nancy Infield began receiving suspicious

   phishing calls. The callers have her name, address, and last four digits of her Social Security

   number. She receives several calls per month. She has reported the calls to the Federal Trade

   Commission.

           67.    In response to the Data Breach, Plaintiffs Nancy and William Infield took

   mitigative measures, including spending substantial time monitoring their accounts for fraudulent

   activity.

           68.    As Quest patients, Plaintiffs Nancy and William Infield believed that Quest would

   protect their Personal Information once they provided it to Quest.




                                                    9
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 16 of 158 PageID: 806




          69.       Plaintiffs Nancy and William Infield would not have provided Quest with their

   Personal Information nor used Quest to provide blood testing had they known that it would fail to

   protect their Personal Information.

          70.       Plaintiffs Nancy and William Infield suffered and will continue to suffer damages

   due to the Data Breach.

          C.        Plaintiff Annie Mae Smith

          71.       Plaintiff Annie Mae Smith is a citizen and resident of Florida.

          72.       Plaintiff Smith was a Quest patient who went to a Quest laboratory to obtain blood

   testing services.

          73.       Plaintiff Smith provided Quest with her Personal Information as part of obtaining

   blood testing.

          74.       Plaintiff Smith’s bill from Quest was subsequently sent to AMCA.

          75.       Plaintiff Smith received from AMCA notifications of the data breach dated June 4,

   2019 and June 6, 2019.

          76.       AMCA informed Plaintiff Smith that information including her first and last name,

   her Social Security Number, the name of her lab or medical service provider, the date of her

   medical service, her referring doctor and other medical information may have been stored on

   AMCA’s system that was compromised.

          77.       As a Quest patient, Plaintiff Smith believed that Quest would protect her Personal

   Information once she provided it to Quest.

          78.       Plaintiff Smith would not have provided Quest with her Personal Information nor

   used Quest to provide blood testing had she known that it would fail to protect her Personal

   Information.

          79.       Plaintiff Smith suffered and will continue to suffer damages due to the Data Breach.


                                                     10
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 17 of 158 PageID: 807




   V.     INDIANA

          A.        Plaintiff Shannon Walden

          80.       Plaintiff Shannon Walden is a citizen and resident of Indiana

          81.       Plaintiff Walden was a Quest patient who went to a Quest laboratory to obtain

   blood testing services in or about May 2018.

          82.       Plaintiff Walden provided Quest with her Personal Information as part of obtaining

   blood testing.

          83.       Plaintiff Walden's unpaid bill from Quest was subsequently sent to AMCA.

          84.       Plaintiff Walden received a notice of data breach from Quest Diagnostics and

   Optum 360 dated July 8, 2019 informing her that her Personal Information was compromised in

   the Data Breach. The letter informed her that the information at risk included her “information

   used to identify and contact you (such as first, middle and last name, date of birth, address, phone

   number); information related to your providers and the services (such as dates of service, name of

   lab, referring doctor, test names, internal patient identification number); and laboratory billing-

   and payment-related information (such as insurance/payer information and identification number,

   diagnosis codes, internal account number).”

          85.       In response to the Data Breach, Plaintiff Walden took measures to protect herself,

   including spending 5 hours monitoring her financial accounts and credit score for fraudulent

   activity. Plaintiff Walden is continuing to investigate potentially fraudulent activity in a new

   financial account and expects to spend additional time investigating this activity.

          86.       Plaintiff Walden has experienced significant stress and anxiety from the Data

   Breach.

          87.       As a Quest patient, Plaintiff Walden believed that Quest would protect her Personal

   Information once she provided it to Quest.


                                                    11
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 18 of 158 PageID: 808




          88.       Plaintiff Walden would not have provided Quest with her Personal Information nor

   used Quest for testing had she known that it would fail to protect her Personal Information.

          89.       Plaintiff Walden suffered and will continue to suffer damages due to the Data

   Breach.

          90.       In response to the Data Breach, Plaintiff Walden took measures to protect herself,

   including spending 5 hours monitoring her financial accounts and credit score for fraudulent

   activity. Plaintiff Walden is continuing to investigate potentially fraudulent activity in a new

   financial account and expects to spend additional time investigating this activity.

          91.       As a Quest patient, Plaintiff Walden believed that Quest would protect her Personal

   Information once she provided it to Quest.

          92.       Plaintiff Walden would not have provided Quest with her Personal Information nor

   used Quest for testing had she known that it would fail to protect her Personal Information.

          93.       Plaintiff Walden suffered and will continue to suffer damages due to the Data

   Breach.

   VI.    IOWA

          A.        Plaintiff Lucinda Dirks

          94.       Plaintiff Lucinda Dirks is a citizen and resident of Iowa.

          95.       Plaintiff Dirks was a Quest patient who went to a Quest laboratory to obtain blood

   testing services.

          96.       Plaintiff Dirks provided Quest with her Personal Information as part of obtaining

   blood testing.

          97.       Plaintiff Dirks’s bill from Quest was subsequently sent to AMCA.

          98.       AMCA notified Plaintiff Dirks via letter on June 4, 2019, of the Data Breach.




                                                     12
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 19 of 158 PageID: 809




            99.     AMCA informed Plaintiff Dirks that information including her first and last name,

   her Social Security Number, the name of her lab or medical service provider, the date of her

   medical service, her referring doctor and other medical information may have been stored on

   AMCA’s system that was compromised.

            100.    In response to the Data Breach, Plaintiff Dirks has spent 40 hours monitoring her

   credit and financial accounts for fraudulent activity.

            101.    As a Quest patient, Plaintiff Dirks believed that Quest would protect her Personal

   Information once she provided it to Quest.

            102.    Plaintiff Dirks would not have provided Quest with her Personal Information nor

   used Quest to provide blood testing had she known that it would fail to protect her Personal

   Information.

            103.    Plaintiff Dirks suffered and will continue to suffer damages due to the Data Breach.

   VII.     KANSAS

            A.      Plaintiff Ashley Finch

            104.    Plaintiff Ashley Finch is a citizen and resident of Kansas.

            105.    Plaintiff Finch has a chronic medical condition that requires quarterly diagnostic

   tests.

            106.    Plaintiff Finch was a Quest patient who went to a Quest laboratory to obtain blood

   testing services.

            107.    Plaintiff Finch has used Quest regularly since 2016.

            108.    Plaintiff Finch reviewed and agreed to Quest’s privacy policies on an iPad prior to

   agreeing to obtain blood testing services.

            109.    Plaintiff Finch provided Quest with her Personal Information as part of obtaining

   blood testing.


                                                     13
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 20 of 158 PageID: 810




          110.      Plaintiff Finch’s bill from Quest was subsequently sent to AMCA.

          111.      Pursuant to a January 1, 2018 letter, AMCA sought to collect $108.24 from Plaintiff

   Finch on behalf of Quest.

          112.      AMCA notified Plaintiff Finch of the Data Breach in a letter dated June 4, 2019.

          113.      AMCA informed Plaintiff Finch that information including her first and last name,

   her Social Security Number, the name of her lab or medical service provider, the date of her

   medical service, her referring doctor and other medical information may have been stored on

   AMCA’s system that was compromised.

          114.      As a result of the Data Breach, Plaintiff Finch spends 10-20 minutes per week

   checking her credit report through Experian and Credit Karma.

          115.      As a Quest patient, Plaintiff Finch believed that Quest would protect her Personal

   Information once she provided it to Quest.

          116.      Plaintiff Finch would not have provided Quest with her Personal Information nor

   used Quest to provide blood testing had she known that it would fail to protect her Personal

   Information.

          117.      Plaintiff Finch suffered and will continue to suffer damages due to the Data Breach.

   VIII. KENTUCKY

          A.        Plaintiff Carolyn Green

          118.      Plaintiff Carolyn Green is a citizen and resident of Kentucky.

          119.      Plaintiff Green was a Quest patient who went to a Quest laboratory to obtain blood

   testing services.

          120.      Plaintiff Green provided Quest with her Personal Information as part of obtaining

   blood testing.

          121.      Plaintiff Green’s bill from Quest was subsequently sent to AMCA.


                                                     14
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 21 of 158 PageID: 811




          122.      AMCA notified Plaintiff Green via letter on June 4, 2019, of the Data Breach.

          123.      AMCA informed Plaintiff Green that information including her first and last name,

   her Social Security Number, the name of her lab or medical service provider, the date of her

   medical service, her referring doctor and other medical information may have been stored on

   AMCA’s system that was compromised.

          124.      As a Quest patient, Plaintiff Green believed that Quest would protect her Personal

   Information once she provided it to Quest.

          125.      Plaintiff Green would not have provided Quest with her Personal Information nor

   used Quest to provide blood testing had she known that it would fail to protect her Personal

   Information.

          126.      Plaintiff Green suffered and will continue to suffer damages due to the Data Breach.

          B.        Plaintiff Rose Marie Perry

          127.      Plaintiff Rose Marie Perry is a citizen and resident of Kentucky.

          128.      Plaintiff Perry was a Quest patient who went to a Quest laboratory to obtain blood

   testing services.

          129.      Plaintiff Perry provided Quest with her Personal Information as part of obtaining

   blood testing.

          130.      Plaintiff Perry’s bill from Quest was subsequently sent to Defendants’ billing

   collections vendor, AMCA.

          131.      Plaintiff Perry received a notice of data breach from Quest Diagnostics and Optum

   360 dated July 8, 2019.

          132.      Plaintiff Perry’s letter from Quest and Optum360 dated informed her that her

   Personal Information was compromised in the Data Breach. It noted that the information at risk

   included her “information used to identify and contact you (such as first, middle and last name,


                                                     15
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 22 of 158 PageID: 812




   date of birth, address, phone number); information related to your providers and the services (such

   as dates of service, name of lab, referring doctor, test names, internal patient identification

   number); and laboratory billing- and payment-related information (such as insurance/payer

   information and identification number, diagnosis codes, internal account number).”

          133.    In response to the Data Breach, Plaintiff Perry took mitigative measures, including

   spending substantial time monitoring her accounts for fraudulent activity.

          134.    As a Quest patient, Plaintiff Perry believed that Quest would protect her Personal

   Information once she provided it to Quest.

          135.    Plaintiff Perry would not have provided Quest with her Personal Information nor

   used Quest to provide blood testing had she known that it would fail to protect her Personal

   Information.

          136.    Plaintiff Perry suffered and will continue to suffer damages due to the Data Breach.

   IX.    MICHIGAN

          A.      Plaintiff Michael Rutan

          137.    Plaintiff Michael Rutan is a citizen and resident of Michigan.

          138.    Plaintiff Rutan was a Quest patient whose blood samples were sent to a Quest

   laboratory on multiple occasions within the past several years.

          139.    Plaintiff Rutan provided Quest with his Personal Information as part of obtaining

   blood testing services.

          140.    Plaintiff Rutan’s bill from Quest was subsequently sent to AMCA.

          141.    Plaintiff Rutan received a letter from Quest and Optum360 dated July 8, 2019

   informing him that his Personal Information was compromised in the Data Breach. It noted

   that the information at risk included his “information used to identify and contact you (such as

   first, middle and last name, date of birth, address, phone number); information related to your


                                                   16
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 23 of 158 PageID: 813




   providers and the services (such as dates of service, name of lab, referring doctor, test names,

   internal patient identification number); and laboratory billing- and payment-related information

   (such as insurance/payer information and identification number, diagnosis codes, internal account

   number).”

          142.      Within the past year, after the Data Breach began, Plaintiff Rutan started receiving

   more frequent mailings for pre-approved credit cards, and an increased volume of robocalls.

          143.      In response to the Data Breach, Plaintiff Rutan took mitigative measures, including

   spending substantial time monitoring his accounts for fraudulent activity.

          144.      As a Quest patient, Plaintiff Rutan believed that Quest would protect his Personal

   Information once it was provided to Quest.

          145.      Plaintiff Rutan would not have provided Quest with this Personal Information nor

   used Quest to provide blood testing had he known that it would fail to protect his Personal

   Information.

          146.      Plaintiff Rutan suffered and will continue to suffer damages due to the Data Breach.

   X.     MINNESOTA

          A.        Plaintiff Elizabeth Hollway

          147.      Plaintiff Elizabeth Hollway is a citizen and resident of Minnesota.

          148.      Plaintiff Hollway was a Quest patient who went to a Quest laboratory to obtain

   blood testing services on, among other dates, May 8, 2018, June 22, 2018, and August 1, 2018.

          149.      Plaintiff Hollway reviewed and agreed to Quest’s privacy policies on an iPad prior

   to agreeing to obtain blood testing services.

          150.      Plaintiff Hollway provided Quest with her Personal Information as part of obtaining

   blood testing.

          151.      Plaintiff Hollway’s bill from Quest was subsequently sent to AMCA.


                                                     17
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 24 of 158 PageID: 814




          152.    Plaintiff Hollway paid Quest for the testing services on August 1, 2018.

          153.    Plaintiff Hollway paid AMCA for Quest’s services on January 8, 2019.

          154.    AMCA notified Plaintiff Hollway via letter on June 4, 2019 of the Data Breach.

          155.    In that letter, AMCA informed Plaintiff Hollway that information including her first

   and last name, her Social Security Number, the name of her lab or medical service provider, the

   date of her medical service, her referring doctor and other medical information may have been

   stored on AMCA’s system that was compromised.

          156.    As a result of the data breach, on June 10, 2019 Plaintiff Hollway experienced

   unauthorized charges on her credit card.

          157.    On June 10, 2019, an unauthorized individual purchased a $200 restaurant gift card

   using Plaintiff Hollway’s Personal Information.

          158.    Plaintiff Hollway also experienced identify theft: an unauthorized individual

   opened a Nordstrom credit card in her name as a result of the data breach.

          159.    Plaintiff Hollway was informed that whoever opened the Nordstrom account

   provided Nordstrom with her name, Social Security number, and date of birth.

          160.    To attempt to resolve the identity theft issues caused by the Data Breach, Plaintiff

   Hollway spent 15 hours contacting Transunion, Equifax, Experian, her mortgage companies and

   banks where she held accounts, credit cards, and debit cards.

          161.    Additionally to attempt to resolve the issues, Plaintiff Hollway purchased a monthly

   subscription to Lifelock for identity theft protection for $31.96 per month.

          162.    As a Quest patient, Plaintiff Hollway believed that Quest would protect her

   Personal Information once she provided it to Quest.




                                                   18
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 25 of 158 PageID: 815




          163.      Plaintiff Hollway would not have provided Quest with her Personal Information

   nor used Quest to provide blood testing had she known that it would fail to protect her Personal

   Information.

          164.      Plaintiff Hollway suffered and will continue to suffer damages due to the Data

   Breach.

   XI.    MISSOURI

          A.        Plaintiff LaTease Rikard

          165.      Plaintiff LaTease Rikard is a citizen and resident of Missouri.

          166.      Plaintiff Rikard was a Quest patient who went to a Quest laboratory to obtain blood

   testing services several times in the past few years.

          167.      Plaintiff Rikard provided Quest with her Personal Information as part of obtaining

   blood testing.

          168.      Plaintiff Rikard’s bill from Quest was subsequently sent to AMCA.

          169.      Plaintiff Rikard received a letter from Quest and Optum360 dated July 8, 2019

   informing her that her Personal Information was compromised in the Data Breach. It noted that

   the information at risk included her “information used to identify and contact you (such as first,

   middle and last name, date of birth, address, phone number); information related to your providers

   and the services (such as dates of service, name of lab, referring doctor, test names, internal patient

   identification number); and laboratory billing- and payment-related information (such as

   insurance/payer information and identification number, diagnosis codes, internal account

   number).”

          170.      In response to the Data Breach, Plaintiff Rikard took mitigative measures, including

   spending substantial time monitoring her accounts for fraudulent activity.




                                                     19
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 26 of 158 PageID: 816




          171.    As a Quest patient, Plaintiff Rikard believed that Quest would protect her Personal

   Information once she provided it to Quest.

          172.    Plaintiff Rikard would not have provided Quest with her Personal Information nor

   used Quest to provide blood testing had she known that Quest would fail to protect her Personal

   Information.

          173.    Plaintiff Rikard suffered and will continue to suffer damages due to the Data

   Breach.

   XII.   NEW HAMPSHIRE

          A.      Plaintiff Naomi Jaworowski

          174.    Plaintiff Naomi Jaworowski is a citizen and resident of New Hampshire.

          175.    Plaintiff Jaworowski was a Quest patient who went to a Quest laboratory to obtain

   blood testing services approximately two years ago.

          176.    Plaintiff Jaworowski provided Quest with her Personal Information as part of

   obtaining blood testing.

          177.    Plaintiff Jaworowski’s bill from Quest was subsequently sent to AMCA.

          178.    Plaintiff Jaworowski received a letter from Quest and Optum360 dated July 8, 2019

   informing her that her Personal Information was compromised in the Data Breach. It noted that

   the information at risk included her “information used to identify and contact you (such as first,

   middle and last name, date of birth, address, phone number); information related to your providers

   and the services (such as dates of service, name of lab, referring doctor, test names, internal patient

   identification number); and laboratory billing- and payment-related information (such as

   insurance/payer information and identification number, diagnosis codes, internal account

   number).”




                                                     20
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 27 of 158 PageID: 817




          179.      In response to the Data Breach, Plaintiff Jaworowski called the Attorney General’s

   Office to ask how she can protect herself. She also called Quest for more information about the

   breach. She also took mitigative measures, including spending substantial time monitoring her

   accounts for fraudulent activity.

          180.      As a Quest patient, Plaintiff Jaworowski believed that Quest would protect her

   Personal Information once she provided it to Quest.

          181.      Plaintiff Jaworowski would not have provided Quest with her Personal Information

   nor used Quest to provide blood testing had she known that Quest would fail to protect her Personal

   Information.

          182.      Plaintiff Jaworowski suffered and will continue to suffer damages due to the Data

   Breach.

   XIII. NEW JERSEY

          A.        Plaintiff Ria Jairam

          183.      Plaintiff Ria Jairam is a citizen and resident of New Jersey.

          184.      Plaintiff Jairam was a Quest patient who went to a Quest laboratory to obtain blood

   testing services.

          185.      Plaintiff Jairam provided Quest with her Personal Information as part of obtaining

   blood testing.

          186.      Plaintiff Jairam’s bill from Quest was subsequently sent to Defendants’ billing

   collections vendor, AMCA.

          187.      Plaintiff Jairam received a letter from Quest and Optum360 dated July 8, 2019

   informing her that her Personal Information was compromised in the Data Breach. It noted that

   the information at risk included her “information used to identify and contact you (such as first,

   middle and last name, date of birth, address, phone number); information related to your providers


                                                     21
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 28 of 158 PageID: 818




   and the services (such as dates of service, name of lab, referring doctor, test names, internal patient

   identification number); and laboratory billing- and payment-related information (such as

   insurance/payer information and identification number, diagnosis codes, internal account

   number).”

          188.    Plaintiff Jairam suffered identify theft as a result of the Data Breach.

          189.    Following the Data Breach, Plaintiff Jairam’s Chase Bank account was

   compromised and $2,000 was fraudulently withdrawn. As a result, Plaintiff Jairam had to close

   her bank accounts and cancel her credit cards.

          190.    Plaintiff Jairam was informed by Navy Federal Credit Union of additional possible

   fraudulent activity requiring new bank accounts to be opened.

          191.    To attempt to resolve the identity theft issues caused by the Data Breach, Plaintiff

   Jairam spent 12 hours reviewing her bank accounts as a result of these fraudulent activities.

          192.    As a Quest patient, Plaintiff Jairam believed that Quest would protect her Personal

   Information once she provided it to Quest.

          193.    Plaintiff Jairam would not have provided Quest with her Personal Information nor

   used Quest to provide blood testing had she known that it would fail to protect her Personal

   Information.

          194.    Plaintiff Jairam suffered and will continue to suffer damages due to the Data

   Breach.

          B.      Plaintiff Cynthia Connor

          195.    Plaintiff Cynthia Connor is a citizen and resident of New Jersey.

          196.    Plaintiff Connor was a Quest patient who went to a Quest laboratory to obtain a

   biopsy on January 9, 2018.




                                                     22
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 29 of 158 PageID: 819




           197.     Plaintiff Connor provided Quest with her Personal Information as part of obtaining

   its services.

           198.     Plaintiff Connor’s bill from Quest was subsequently sent to AMCA.

           199.     On December 3, 2018, Plaintiff Connor received a collection bill for $130.87 from

   AMCA regarding the services provided by Quest Diagnostics Inc.

           200.     Plaintiff Connor paid her bill through AMCA’s website.

           201.     As a Quest patient, Plaintiff Connor believed that Quest would protect her Personal

   Information once she provided it to Quest.

           202.     Plaintiff Connor would not have provided Quest with her Personal Information nor

   used Quest to provide services had she known that it would fail to protect her Personal Information.

           203.     Plaintiff Connor suffered and will continue to suffer damages due to the Data

   Breach.

   XIV. NEW YORK

           A.       Plaintiff John Briley

           204.     Plaintiff John Briley is a citizen and resident of New York.

           205.     Plaintiff Briley was a Quest patient who went to a Quest laboratory to obtain blood

   testing in at least the past two to three years.

           206.     Plaintiff Briley provided Quest with his Personal Information as part of obtaining

   blood testing.

           207.     Plaintiff Briley’s bill from Quest was subsequently sent to AMCA.

           208.     Plaintiff Briley received a letter from Quest and Optum360 dated July 8, 2019

   informing him that his Personal Information was compromised in the Data Breach. It noted that

   the information at risk included his “information used to identify and contact you (such as first,

   middle and last name, date of birth, address, phone number); information related to your providers


                                                      23
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 30 of 158 PageID: 820




   and the services (such as dates of service, name of lab, referring doctor, test names, internal patient

   identification number); and laboratory billing- and payment-related information (such as

   insurance/payer information and identification number, diagnosis codes, internal account

   number).”

          209.    His eighteen year old daughter received a similar letter from Quest dated July 8,

   2019 regarding blood testing services she obtained under his insurance plan.

          210.    Plaintiff Briley received a letter from TD Bank dated October 2, 2019 regarding a

   fraudulent “application for an account with Samsung Financing.” An imposter attempted to open

   the account using a false name and Plaintiff Briley’s mailing address. The application was denied.

          211.    Plaintiff Briley had not experienced any similar fraudulent activity prior to the

   Quest data breach.

          212.    In response to the Data Breach, Plaintiff Briley took mitigative measures, including

   spending substantial time monitoring his accounts for fraudulent activity.

          213.    As a Quest patient, Plaintiff Briley believed that Quest would protect his Personal

   Information once he provided it to Quest.

          214.    Plaintiff Briley would not have provided Quest with this Personal Information nor

   used Quest to provide blood testing had he known that it would fail to protect his Personal

   Information.

          215.    Plaintiff Briley suffered and will continue to suffer damages due to the Data Breach.

          B.      Plaintiff Karli Parker

          216.    Plaintiff Karli Parker is a citizen and resident of New York.

          217.    Plaintiff Parker was a Quest patient who went to a Quest laboratory to obtain blood

   testing services approximately two years ago.




                                                     24
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 31 of 158 PageID: 821




          218.      Plaintiff Parker provided Quest with her Personal Information as part of obtaining

   blood testing.

          219.      Plaintiff Parker’s bill from Quest was subsequently sent to AMCA.

          220.      Plaintiff Parker received a letter from Quest and Optum360 dated July 8, 2019

   informing her that her Personal Information was compromised in the Data Breach. It noted that

   the information at risk included her “information used to identify and contact you (such as first,

   middle and last name, date of birth, address, phone number); information related to your providers

   and the services (such as dates of service, name of lab, referring doctor, test names, internal patient

   identification number); and laboratory billing- and payment-related information (such as

   insurance/payer information and identification number, diagnosis codes, internal account

   number).”

          221.      In response to the Data Breach, Plaintiff Parker took mitigative measures, including

   spending substantial time monitoring her accounts for fraudulent activity.

          222.      As a Quest patient, Plaintiff Parker believed that Quest would protect her Personal

   Information once she provided it to Quest.

          223.      Plaintiff Parker would not have provided Quest with her Personal Information nor

   used Quest to provide blood testing had she known that Quest would fail to protect her Personal

   Information.

          224.      Plaintiff Parker suffered and will continue to suffer damages due to the Data

   Breach.

          C.        Plaintiff Joyce Rosselli

          225.      Plaintiff Joyce Rosselli is a citizen and resident of New York.

          226.      Plaintiff Rosselli was a Quest patient who went to a Quest laboratory to obtain

   blood testing services several times over the last few years.


                                                     25
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 32 of 158 PageID: 822




          227.      Plaintiff Rosselli provided Quest with her Personal Information as part of obtaining

   blood testing.

          228.      Plaintiff Rosselli’s bill from Quest was subsequently sent to AMCA.

          229.      On June 4, 2019, Plaintiff Rosselli received a letter from AMCA informing her that

   her Personal Information including her “first and last name, Social Security number, name of lab

   or medical service provider, date of medical service, referring doctor, [and] certain other medical

   information” was at risk due to the Data Breach.

          230.      In response to the Data Breach, Plaintiff Rosselli signed up for the free two-year

   credit monitoring service offered by AMCA.

          231.      In further response to the Data Breach, on June 17, 2019, Plaintiff Rosselli placed

   a “fraud alert” on her credit report.

          232.      In response to the Data Breach, Plaintiff Rosselli took mitigative measures,

   including spending substantial time monitoring her accounts for fraudulent activity.

          233.      Plaintiff Rosselli received an alert from her Capital One CreditWise fraud

   monitoring product stating that her email address was found on the “dark web” on June 8, 2019

   and July 6, 2019. Those dates were several months after hackers first accessed AMCA’s system.

          234.      On or around July 11, 2019, Plaintiff Rosselli called Quest’s data breach hotline to

   determine whether her involvement in the Data Breach was related to Quest.                The Quest

   representative confirmed that her involvement in the breach was in fact related to Quest.

          235.      As a Quest patient, Plaintiff Rosselli believed that Quest would protect her Personal

   Information once she provided it to Quest.




                                                     26
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 33 of 158 PageID: 823




          236.      Plaintiff Rosselli would not have provided Quest with her Personal Information nor

   used Quest to provide blood testing had she known that it would fail to protect her Personal

   Information.

          237.      Plaintiff Rosselli suffered and will continue to suffer damages due to the Data

   Breach.

   XV.    OHIO

          A.        Plaintiff Deanna Taylor

          238.      Plaintiff Deanna Taylor is a citizen and resident of Ohio.

          239.      Plaintiff Taylor was a Quest patient who obtained blood testing through Quest

   within the past two years.

          240.      Plaintiff Taylor provided Quest with her Personal Information as part of obtaining

   blood testing.

          241.      Plaintiff Taylor’s bill from Quest was subsequently sent to AMCA.

          242.      In November 2019, Plaintiff Taylor called Quest’s data breach hotline to verify that

   she was involved in the Data Breach. The Quest representative confirmed that she was in fact

   involved in the Data Breach.

          243.      In response to the Data Breach, Plaintiff Taylor took mitigative measures, including

   spending substantial time monitoring her accounts for fraudulent activity.

          244.      As a Quest patient, Plaintiff Taylor believed that Quest would protect her Personal

   Information once she provided it to Quest.

          245.      Plaintiff Taylor would not have provided Quest with this Personal Information nor

   used Quest to provide blood testing had she known that it would fail to protect her Personal

   Information.




                                                     27
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 34 of 158 PageID: 824




          246.      Plaintiff Taylor suffered and will continue to suffer damages due to the Data

   Breach.

   XVI. PENNSYLVANIA

          A.        Plaintiff William Lindsay

          247.      Plaintiff William Lindsay is a citizen and resident of Pennsylvania.

          248.      Plaintiff Lindsay was a Quest patient who went to a Quest laboratory to obtain

   blood and urine testing services.

          249.      Beginning in 2014, Plaintiff Lindsay used Quest Diagnostics on a regular basis.

   Over the last two years, he used Quest’s services every other month.

          250.      Plaintiff Lindsay provided Quest with his Personal Information as part of obtaining

   blood testing.

          251.      Due to a disputed charge, Plaintiff Lindsay’s bill from Quest was subsequently sent

   to Defendants’ billing collections vendor, AMCA.

          252.      AMCA notified Plaintiff Lindsay by letter dated June 4, 2019, of the Data Breach.

          253.      AMCA informed Plaintiff Lindsay that information including his first and last

   name, his Social Security Number, the name of his lab or medical service provider, the date of his

   medical service, his referring doctor and other medical information may have been stored on

   AMCA’s system that was compromised.

          254.      As a result of the Data Breach, Plaintiff Lindsay had to get new debit cards.

          255.      As a result of the Data Breach, Plaintiff Lindsay now spends one hour per week

   auditing his bank statements.

          256.      As a result of the Data Breach, Plaintiff Lindsay purchased Capital One Credit

   Monitoring.




                                                     28
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 35 of 158 PageID: 825




           257.     As a Quest patient, Plaintiff Lindsay believed that Quest would protect his Personal

   Information once he provided it to Quest.

           258.     Plaintiff Lindsay would not have provided Quest with his Personal Information nor

   used Quest to provide blood testing had he known that it would fail to protect his Personal

   Information.

           259.     Plaintiff Lindsay suffered and will continue to suffer damages due to the Data

   Breach.

           B.       Plaintiff Brittney Petitta

           260.     Plaintiff Brittney Petitta is a citizen and resident of Pennsylvania.

           261.     Plaintiff Petitta was a Quest patient who went to a Quest laboratory to obtain blood

   testing services in at least 2018.

           262.     Plaintiff Petitta provided Quest with her Personal Information as part of obtaining

   blood testing.

           263.     Plaintiff Petitta’s bill from Quest was subsequently sent to AMCA.

           264.     Plaintiff Petitta received a letter from Quest and Optum360 dated July 8, 2019

   informing her that her Personal Information was compromised in the Data Breach. It noted that

   the information at risk included her “information used to identify and contact you (such as first,

   middle and last name, date of birth, address, phone number); information related to your providers

   and the services (such as dates of service, name of lab, referring doctor, test names, internal patient

   identification number); and laboratory billing- and payment-related information (such as

   insurance/payer information and identification number, diagnosis codes, internal account

   number).”

           265.     In response to the Data Breach, Plaintiff Petitta took mitigative measures, including

   spending substantial time monitoring her accounts for fraudulent activity.


                                                      29
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 36 of 158 PageID: 826




          266.      As a Quest patient, Plaintiff Petitta believed that Quest would protect her Personal

   Information once she provided it to Quest.

          267.      Plaintiff Petitta would not have provided Quest with her Personal Information nor

   used Quest to provide blood testing had she known that Quest would fail to protect her Personal

   Information.

          268.      Plaintiff Petitta suffered and will continue to suffer damages due to the Data

   Breach.

          C.        Plaintiff Darlane Saracina

          269.      Plaintiff Darlane Saracina is a citizen and resident of Pennsylvania.

          270.      Plaintiff Saracina was a Quest patient who went to a Quest laboratory to obtain

   blood testing services several times over the last few years.

          271.      Plaintiff Saracina provided Quest with her Personal Information as part of obtaining

   blood testing.

          272.      Plaintiff Saracina’s bill from Quest was subsequently sent to AMCA.

          273.      Plaintiff Saracina received a letter from Quest in or around July 2019 informing her

   that her Personal Information was at risk due to the Data Breach.

          274.      On October 10, 2019, Plaintiff Saracina also called the Quest data breach hotline to

   confirm that her involvement in the Data Breach was related to Quest. The Quest representative

   verified that her involvement in the breach was in fact related to Quest.

          275.      Plaintiff Saracina received an alert from her Capital One CreditWise fraud

   monitoring product stating that her Social Security number was found on the “dark web” on

   September 25, 2018. That date was nearly two months after hackers first accessed AMCA’s

   system.




                                                     30
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 37 of 158 PageID: 827




          276.      In response to the Data Breach, Plaintiff Saracina took mitigative measures,

   including spending substantial time monitoring her accounts and fraud monitoring service for

   fraudulent activity.

          277.      As a Quest patient, Plaintiff Saracina believed that Quest would protect her

   Personal Information once she provided it to Quest.

          278.      Plaintiff Saracina would not have provided Quest with her Personal Information

   nor used Quest to provide blood testing had she known that it would fail to protect her Personal

   Information.

          279.      Plaintiff Saracina suffered and will continue to suffer damages due to the Data

   Breach.

   XVII. TENNESSEE

          A.        Plaintiff Jo Ann Buck

          280.      Plaintiff Jo Ann Buck is a citizen and resident of Tennessee.

          281.      Plaintiff Buck was a Quest patient who went to a Quest laboratory to obtain blood

   testing services within the past few years.

          282.      Plaintiff Buck provided Quest with her Personal Information as part of obtaining

   blood testing.

          283.      Plaintiff Buck’s bill from Quest was subsequently sent to AMCA.

          284.      Plaintiff Buck received a letter from Quest and Optum360 dated July 8, 2019

   informing her that her Personal Information was compromised in the Data Breach. It noted that

   the information at risk included her “information used to identify and contact you (such as first,

   middle and last name, date of birth, address, phone number); information related to your providers

   and the services (such as dates of service, name of lab, referring doctor, test names, internal patient

   identification number); and laboratory billing- and payment-related information (such as


                                                     31
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 38 of 158 PageID: 828




   insurance/payer information and identification number, diagnosis codes, internal account

   number).”

          285.    In response to the Data Breach, Plaintiff Buck took mitigative measures, including

   spending substantial time monitoring her accounts for fraudulent activity.

          286.    As a Quest patient, Plaintiff Buck believed that Quest would protect her Personal

   Information once she provided it to Quest.

          287.    Plaintiff Buck would not have provided Quest with her Personal Information nor

   used Quest to provide blood testing had she known that Quest would fail to protect her Personal

   Information.

          288.    Plaintiff Buck suffered and will continue to suffer damages due to the Data Breach.

   XVIII. TEXAS

          A.      Plaintiff Ann Davis

          289.    Plaintiff Ann Davis is a citizen and resident of Texas.

          290.    Plaintiff Davis was a Quest patient who went to a Quest laboratory to obtain blood

   testing at least once per year for the past several years.

          291.    Plaintiff Davis provided Quest with her Personal Information as part of obtaining

   blood testing services.

          292.    Quest sent multiple bills of Plaintiff Davis to collections. At least one such bill was

   sent to AMCA.

          293.    Plaintiff Davis received a letter from AMCA dated June 4, 2019 informing her that

   her Personal Information including her “first and last name, Social Security Number, name of lab

   or medical service provider, date of medical service, referring doctor, [and] certain other medical

   information” was at risk due to the Data Breach.




                                                     32
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 39 of 158 PageID: 829




          294.    In or around early 2019, Plaintiff Davis received a call from her credit card

   company stating that someone charged $800 for a fraudulent purchase at Boost Mobile. The credit

   card company issued her a replacement card. Plaintiff Davis believes the compromised card was

   the same card she used to pay Quest bills in the past.

          295.    In response to the Data Breach, Plaintiff Davis took mitigative measures, including

   spending substantial time monitoring her accounts for fraudulent activity. She spends one to two

   hours per week checking her accounts. She also spent approximately two hours in connection with

   the credit card fraud.

          296.    Plaintiff Davis also purchased a new antivirus product due at least in part to her fear

   of harm from the Data Breach.

          297.    As a Quest patient, Plaintiff Davis believed that Quest would protect her Personal

   Information once she provided it to Quest.

          298.    Plaintiff Davis would not have provided Quest with this Personal Information nor

   used Quest to provide blood testing had she known that it would fail to protect her Personal

   Information.

          299.    Plaintiff Davis suffered and will continue to suffer damages due to the Data Breach.

                                            DEFENDANTS

          300.    Quest Diagnostics Incorporated is a Delaware corporation with its principal place

   of business in Secaucus, New Jersey.

          301.    Optum360, LLC is a Delaware limited liability company with its principal place of

   business in Eden Prairie, Minnesota.




                                                    33
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 40 of 158 PageID: 830




                                      FACTUAL ALLEGATIONS

          A.      Quest Collects Patients’ Personal Information And Shares It With
                  Optum360 and AMCA

          302.    Quest markets itself as “the world’s leading provider of diagnostic information

   services.” Quest’s operations are national in scope and the company purports to annually serve

   one in three adult Americans and half the physicians and hospitals in the United States. Quest

   generated revenues of approximately $7.53 billion in 2018.

          303.    Quest’s business operations include operating over 2,200 “Patient Service Centers”

   where patient’s blood is drawn and tested following an order from a doctor.1 These blood tests

   relate to a wide array of medical conditions, including but not limited to: allergy and asthma,

   human immunodeficiency virus (HIV), ovarian, breast and other cancer screening, hepatitis C, and

   prenatal health screening.

          304.    Quest states that it “obtains diagnosis information from the ordering physicians

   [sic] office.”2 Quest also asks its patients to bring photo identification, current health insurance

   information, and permits alternative methods of payment for costs in excess or beyond the scope

   of the patient’s insurance and if the patient is uninsured.3

          305.    Quest’s invoices cover laboratory testing fees only and are separate from any bill

   received by a patient’s physician. Patients can be charged following an in-person visit to a Quest



   1
         https://questdiagnostics.com/home/patients/preparing-for-test/get-started      (last   visited
   September 27, 2019).
   2
           Quest Diagnostics, Frequently Asked Questions: Billing Services, “Where does Quest
   Diagnostics       obtain    the    diagnosis      information  related    to    my    claim?”
   https://billing.questdiagnostics.com/PatientBilling/PATFaqExternal.action?getLabCode=false&f
   romLink=doFaq (last visited September 27, 2019).
   3
         https://questdiagnostics.com/home/patients/preparing-for-test/get-started      (last   visited
   September 27, 2019).


                                                     34
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 41 of 158 PageID: 831




   Patient Service Center or when their physician sends their specimen to a Quest Diagnostics

   laboratory.4 Patients are responsible for paying Quest for performing diagnostic services either

   through their insurance or out-of-pocket where the patient does not have insurance or the costs are

   not covered in whole or part.

          306.    If Quest’s patients fail to pay their invoices within the requested time period, Quest

   employs an associated business for collection. Prior to September 2016, Quest’s collection agent

   by contract or direct association was AMCA. In September 2016, Quest partnered with Optum360

   so that Quest’s revenue services operations would become part of Optum360.5 Thereafter, Quest

   assigned its contract with AMCA to Optum360 and AMCA delivered Quest’s outstanding

   invoices, including Quest patients’ Personal Information, to AMCA.6 Before and after Quest

   assigned its contract to Optum360, Quest provided its patients’ Personal Information directly to

   AMCA.

          307.    Upon information and belief, in order to facilitate collection, Quest and/or

   Optum360 would provide AMCA with Quest patients’ Personal Information which AMCA

   subsequently stored in its own computer systems. It is unclear why Defendants would provide

   extremely sensitive health and diagnostic information to a collection agent who is solely

   responsible for bill collection.


   4
           Quest Diagnostics, Frequently Asked Questions: Billing Services, “Why have I received
   an                 invoice                from              Quest                Diagnostics?”
   https://billing.questdiagnostics.com/PatientBilling/PATFaqExternal.action?getLabCode=false&f
   romLink=doFaq (last visited September 27, 2019).
   5
           Optum and Quest Diagnostics Partner to Help Make the Health System Work Better for
   Patients,    Physicians,    Health      Plans     and    Employers,    Sept.    13,   2016,
   https://www.optum.com/about/news/optum-quest-diagnostics-partner-help-make-health-system-
   work-better-for-patients-physicians-health-plans-employers.html (last visited September 27,
   2019).
   6
          Quest Diagnostics Incorporated, 2018 Annual Report (Form 10-K), at 58.


                                                   35
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 42 of 158 PageID: 832




          308.     In U.S. Bankruptcy Court in the Southern District of New York, AMCA has

   admitted that its “business, by its very nature, requires it to collect and maintain data transmitted

   to it by its clients [such as Quest] that includes personally identifiable information about third-

   party debtors that could include names, home addresses, social security numbers, bank account

   information for consumers choosing to pay online by check and, for consumers choosing to pay

   their outstanding balances by credit card, credit card information.” AMCA has also admitted that

   this “information might also include dates of birth and certain medical information related to any

   laboratory tests for which payment is sought.”7

          309.     In addition, as part of AMCA’s billing collection services for Defendants, Plaintiffs

   furnished Personal Information to AMCA, which AMCA subsequently stored.

          B.       The Data Breach

          310.     On June 3, 2019, Quest publicly announced the following in a filing with the SEC:

          On May 14, 2019, American Medical Collection Agency (AMCA), a billing
          collections vendor, notified Quest Diagnostics Incorporated (“Quest Diagnostics”)
          and Optum360 LLC, Quest Diagnostics’ revenue cycle management provider, of
          potential unauthorized activity on AMCA’s web payment page. Quest Diagnostics
          and Optum360 promptly sought information from AMCA about the incident,
          including what, if any, information was subject to unauthorized access.

          Although Quest Diagnostics and Optum360 have not yet received detailed or
          complete information from AMCA about the incident, AMCA has informed Quest
          Diagnostics and Optum360 that:
                  between August 1, 2018 and March 30, 2019 an unauthorized user had
                   access to AMCA’s system that contained information that AMCA had
                   received from various entities, including Quest Diagnostics, and
                   information that AMCA collected itself;
                  the information on AMCA’s affected system included financial information
                   (e.g., credit card numbers and bank account information), medical
                   information and other personal information (e.g., Social Security Numbers);


   7
          Declaration of Russell H. Fuchs Pursuant to Local Bankruptcy Rule 1007-2 and in Support
   of “First Day” Motions, In re Retrieval-Masters Creditors Bureau, Inc., No. 19-23185-RDD
   (Bankr. S.D.N.Y. June 17, 2019), ECF No. 2 at 4-5.


                                                     36
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 43 of 158 PageID: 833




                 as of May 31, 2019, AMCA believes that the number of Quest Diagnostics
                  patients whose information was contained on AMCA’s affected system was
                  approximately 11.9 million people; and
                 AMCA has been in contact with law enforcement regarding the incident.8

          311.    In a written statement attributed to AMCA, AMCA announced it is still

   investigating the breach:

          We are investigating a data incident involving an unauthorized user accessing the
          American Medical Collection Agency system. Upon receiving information from a
          security compliance firm that works with credit card companies of a possible
          security compromise, we conducted an internal review, and then took down our
          web payments page. . . . .We hired a third-party external forensics firm to
          investigate any potential security breach in our systems, migrated our web
          payments portal services to a third-party vendor, and retained additional experts to
          advise on, and implement, steps to increase our systems’ security. We have also
          advised law enforcement of this incident. We remain committed to our system’s
          security, data privacy, and the protection of personal information.

          312.    Although Quest reported that it had only learned of the Data Breach from AMCA

   on May 14, 2019, the breach was actually discovered at least three months prior to Quest’s SEC

   filing. At the end of February 2019, Gemini Advisory, a New York-based company that works

   with financial institutions to monitor the sale of consumer information on underground markets,

   identified a large number of compromised AMCA patient information for sale on the dark web.9

   As reported on May 10, 2019 by DataBreaches.net:

          On February 28, 2019, Gemini Advisory identified a large number of compromised
          payment cards while monitoring dark web marketplaces. Almost 15% of these
          records included additional personally identifiable information (PII), such as dates
          of birth (DOBs), Social Security numbers (SSNs), and physical addresses. A
          thorough analysis indicated that the information was likely stolen from the online
          portal of the American Medical Collection Agency (AMCA), one of the largest
          recovery agencies for patient collections. Several financial institutions also

   8
         Quest    Diagnostics   Form     8-K,    filed  June   3,   2019,    available   at
   https://www.sec.gov/Archives/edgar/data/1022079/000094787119000415/ss138857_8k.htm (last
   visited June 18, 2019).
   9
          Gemini Advisory, AMCA Breach May be Largest Medical Breach in 2019 (June 4, 2019),
   available at https://geminiadvisory.io/amca-largest-medical-breach/ (last visited June 18, 2019).


                                                  37
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 44 of 158 PageID: 834




             collaboratively confirmed the connection between the compromised payment card
             data and the breach at AMCA.10

             313.   Gemini’s additional research revealed AMCA’s exposure window had lasted for at

   least seven months beginning in September 2018.11

             314.   On March 1, 2019, Gemini Advisory attempted to notify AMCA of the data

   exposure but received no response. Gemini Advisory then contacted federal law enforcement who

   reportedly followed-up with AMCA.12

             315.   Following notification from law enforcement, AMCA’s payment portal became

   unavailable for weeks.13

             316.   In its notice to patients affected by the breach, AMCA claims it learned of the

   unauthorized access on March 20, 2019. Yet Quest failed to take any steps to notify patients whose

   information was affected until months later, initially only doing so generally through an SEC

   filing.

             317.   Subsequent to Quest’s SEC filing, AMCA began sending out notices to those

   affected by the Data Breach. Quest stated on its website that it had “been advised by AMCA that




   10
          Databreaches.net, American Medical Collection Agency breach impacted 200,000 patients
   – Gemini Advisory (posted May 10, 2019), available at https://www.databreaches.net/american-
   medical-collection-agency-breach-impacted-200000-patients-gemini-advisory/ (last visited June
   18, 2019).
   11
             Id.
   12
             Id.
   13
             Id.


                                                   38
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 45 of 158 PageID: 835




   if your social security number or financial information was involved in the incident, you will be

   notified by letter from AMCA[.]”14

          318.    On June 17, 2019, AMCA filed for Chapter 11 bankruptcy in the Southern District

   of New York stating an intention to liquidate. The bankruptcy filings describe the types of personal

   information maintained by AMCA, as well as additional specifics regarding the Data Breach.

   According to an affidavit submitted by Russell H. Fuchs, the Chief Executive Officer of AMCA:

          [AMCA] by its very nature, requires it to collect and maintain data transmitted to
          it by its clients that includes personally identifiable information about third-party
          debtors that could include names, home addresses, social security numbers, bank
          account information for consumers choosing to pay online by check and, for
          consumers choosing to pay their outstanding balances by credit card, credit card
          information. In the case of the AMCA business, that information might also include
          dates of birth and certain medical information related to any laboratory tests for
          which payment is sought. In all, at any given time, [AMCA] would have held tens
          of millions of individual points of data regarding millions of individual persons,
          none of which could be handled without a robust IT system.

          [AMCA]’s original IT architecture was built around an IBM mainframe-based
          system that ran on COBOL4 and served the [AMCA]’s purposes well for many
          years. However, with ever-increasing market demands for enhanced
          interconnectivity between the [AMCA]’s and its clients’ systems, as well as for
          web-based interaction with both the [AMCA]’s clients and its clients’ consumer
          and patient-debtors, it was clear that continued reliance on the [AMCA]’s internet-
          unconnected mainframe system would not be tenable in the long term.

          Accordingly, in 2015, after several years of internal planning and development, the
          [AMCA] began to transition to a proprietary, server-based, network-connected
          system. [AMCA] invested over a million dollars in the new system, employing
          outside IT consultants to ensure that the system would reflect current technological
          standards, including, importantly, appropriate data security protocols.15




   14
          Quest   Diagnostics,     AMCA    Data     Security    Incident,     available     at
   https://www.questdiagnostics.com/home/AMCA-data-breach-patients.html (last visited June 18,
   2019).
   15
         In re Retrieval-Masters Creditors Bureau, Inc., No. 7:19-bk-23185, Dkt. Entry 2 (Bankr.
   S.D.N.Y. Jun 17, 2019).


                                                   39
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 46 of 158 PageID: 836




              319.   Despite touting its investment in data security, AMCA acknowledged that it “first

   learned that there might be a problem” when it received a series of common point of purchase

   notifications that “suggested that a disproportionate number of credit cards that at some point had

   interacted with the [AMCA’s] web portal were later associated with fraudulent charges.”16

              320.   In response, AMCA “shut down its web portal to prevent any further compromises

   of customer data, and engaged outside consultants who were able to confirm that, in fact,

   [AMCA]’s servers … had been hacked as early as August, 2018.” AMCA went on to explain that

   “the breach required [AMCA] to hire IT professionals and consultants from three different firms,

   to identify the source of the breach, diagnose its cause, and implement appropriate solutions. To

   date, these expenses alone cost approximately $400,000, and have effectively shut down outside

   entry into [AMCA]’s IT network by severely restricting access via the employment of individual

   authentication mechanisms, VPN access, or specifically vetted ‘whitelists’ of pre-approved

   IP’s.”17

              321.   AMCA stated that the costs of providing notice to affected individuals, coupled

   with the loss of its largest clients LabCorp and Quest, required it to reduce its workforce from 113

   employees at year-end 2018 to just 25 employees as of June 17, 2019. As a result, AMCA stated

   it is “no longer is optimistic that it will be able to rehabilitate its business.”18

              322.   Quest and Optum360 had a non-delegable duty to ensure that its systems and those

   of its vendors and business associates, including AMCA, were sufficient to adequately secure

   patient information. This was especially true after AMCA transitioned to a “network-connected”



   16
              Id.
   17
              Id.
   18
              Id.


                                                       40
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 47 of 158 PageID: 837




   system that included “enhanced interconnectivity” and “web-based interaction” between its

   systems and those of its clients such as Quest and Optum360.

          323.   By failing to adequately monitor and audit the data security systems of their vendors

   and business associates, Quest put patient information at severe risk. Following the news that

   Quest’s customers were impacted by the Data Breach, several other labs, who are named as

   defendants in this action, also announced that their customers had been impacted by the Data

   Breach.

          324.   On July 1, 2019, Optum360 disclosed to the Department of Heath and Human

   Services’ Office for Civil Rights that 11,500,000 individuals have been affected by the Data

   Breach.19

          C.     Defendants Failed To Exercise Due Care In Contracting With AMCA

          325.   Defendants failed to exercise reasonable care in protecting patients’ information by

   contracting with AMCA to handle their debt collections.

          326.   AMCA’s bankruptcy filings indicate it was thinly capitalized and had an

   insignificant information technology (“IT”) department with little IT infrastructure.       Public

   reporting has highlighted that AMCA was not a reputable business associate—let alone an

   associate to be trusted with Plaintiffs’ and Class Members’ Personal Information.

          327.   Specifically, AMCA’s bankruptcy filings admit that it had less than $4 million in

   liquidity and its owner had to take a secured loan from his own personal funds simply to mail

   notices to those impacted by the Data Breach. Put simply, Quest should not have contracted with




   19
           Breach Portal: Notice to the Secretary of HHS Breach of Unsecured Protected Health
   Information, U.S. Dep’t of Health and Human Services, Office for Civil Rights,
   https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf (last visited Nov. 11, 2019).


                                                  41
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 48 of 158 PageID: 838




   an entity that did not even have the means to mail notices to people without having to file for

   bankruptcy.

          328.    The length of time between the breach and AMCA’s claimed discovery of the Data

   Breach indicates that AMCA’s systems to detect intrusion, detect unusual activity, and log and

   report such events were inadequate and not in compliance with industry standards. For example,

   according to technology security company FireEye, the median amount of time between when a

   data breach occurs and when it is detected was 78 days in 2018. This number has consistently

   been trending downward in recent years—due to improvements in detection computer

   technology.20 The fact that it took AMCA 242 days to detect the Data Breach—nearly 3.5 times

   the median time for detection in 2018—is direct evidence of its failure to employ reasonable,

   industry-standard data security practices to safeguard Plaintiffs’ and Class Members’ Personal

   Information. AMCA’s data security deficiencies would have been readily apparent to Quest had

   Quest adequately investigated AMCA’s data security practices.

          329.    AMCA’s inability to detect its own Data Breach, when an unrelated security firm

   (Gemini Advisory-which was not working for AMCA) was apparently able to do so with ease, is

   further evidence of the fact that AMCA employed inadequate data-security practices, and that

   Quest failed in its independent obligation to ensure that its HIPAA business associate employed

   reasonable and industry-standard data security measures. The FireEye report indicates that in

   2018, the median amount of time that it took a third-party to detect a data breach was three times

   the median time for internal detection.21




   20
           M-Trends 2019: FireEye Mandiant Services Special                 Report,   available    at
   https://content.fireeye.com/m-trends (last visited June 11, 2019).
   21
          Id.


                                                  42
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 49 of 158 PageID: 839




           330.    One of the easiest ways to minimize exposure to a data breach is to limit the type

   and amount of information provided to business associates and routine destruction or archiving of

   inactive PII and PHI so that it cannot not be accessed through online channels. Access to the 11.9

   million Quest patient records and 7.7 million LabCorp patient records through AMCA’s online

   portal should not have been possible had AMCA maintained appropriate protections. The sheer

   number of records suggests that AMCA was not destroying or archiving inactive records. Again,

   Quest would have discovered this had it exercised adequate oversight over its business associates

   and audited the data security protocols utilized by AMCA.

           331.    The Payment Card Industry Security Standards Council promulgates minimum

   standards, which apply to all organizations that store, process, or transmit payment card data.

   These standards are known as the Payment Card Industry Data Security Standard (“PCI DSS”).

   AMCA was not encrypting payment card information according to minimum industry standards

   of PCI DSS.

           332.    The payment card industry has published a guide on point-to-point encryption and

   its benefits in securing payment card data: “point-to-point encryption (P2PE) solution

   cryptographically protects account data from the point where a merchant accepts the payment card

   to the secure point of decryption. By using P2PE, account data (cardholder data and sensitive

   authentication data) is unreadable until it reaches the secure decryption environment, which makes

   it less valuable if the data is stolen in a breach.”22

           333.    Quest had an obligation to exercise oversight over AMCA in a manner that would

   include immediate knowledge of any data security incidents experienced by AMCA that could


   22
           Securing Account Data with the PCI Point –to-Point Encryption Standard v2, available at
   https://www.pcisecuritystandards.org/documents/P2PE_At_a_Glance_v2.pdf (last accessed June
   11, 2019).



                                                      43
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 50 of 158 PageID: 840




   affect Quest’s patients. For example, AMCA pointed to the fact that it learned of the unauthorized

   access in March 2019 through a series of CPP notices suggesting that a “disproportionate number

   of credit cards that at some point had interacted with [AMCA’s] web portal were later associated

   with fraudulent charges.” However, Quest did not learn of the unauthorized access until months

   later in May 2019.

          D.      Defendants Failed To Provide Proper Notice Of The Data Breach

          334.    Although Quest was on actual notice of the Data Breach on May 14, 2019 (and

   should have known about the Data Breach months earlier), it took until June 3, 2019, to publicly

   acknowledge the breach and months longer to provide notice to impacted customers.

          335.    On June 3, 2019, Quest publicly acknowledged the Data Breach and indicated that

   it would be “working with Optum360 to ensure that Quest patients are appropriately notified

   consistent with the law.”23

          336.    However, rather than sending notice directly, Quest relied on AMCA to mail

   notices to those individuals on its system in June 2019. 24 The notices provided by AMCA were

   deficient in several respects. First, AMCA’s notices failed to indicate to Quest’s customers that it

   was Quest who had given their information to AMCA. Thus, many affected individuals were left

   to guess why AMCA had their Personal Information in the first instance. Additionally, the notices

   failed to inform Quest’s customers exactly what information had been accessed, thus preventing

   them from taking measures that could possibly prevent further harm.




   23
           Quest Diagnostics Statement on the AMCA Data Security Incident,
   https://newsroom.questdiagnostics.com/AMCADataSecurityIncident (last visited Oct. 7, 2019).
   24
      Quest Diagnostics: July 8, 2019 Notice Unauthorized Access to Database at AMCA Containing
   Personal Information, https://www.questdiagnostics.com/home/AMCA-data-breach-patients.html
   (last visited Oct. 7, 2019).


                                                   44
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 51 of 158 PageID: 841




          337.    It was not until July 8, 2019, almost four months after AMCA received CPP notices,

   and one month after Quest’s first public statement, that Quest put detailed information on its own

   website regarding the Data Breach and offered credit monitoring to certain affected individuals.25

   But even this effort was deficient in many respects.

                  a.     First, the website indicates that AMCA was the party responsible for

          sending notice and does not detail any oversight taken by Quest over its business associate.

                  b.     Second, the website limits “complimentary credit monitoring” to those

          “persons whose Social Security Numbers, credit card information or bank account numbers

          may have been involved.”26 This limitation means that customers who had other forms of

          Personal Information taken are not protected. As detailed infra, the theft of various forms

          of Personal Information, not just Social Security Numbers, credit card information, and

          bank account numbers, can lead to identity theft.

                  c.     Third, Quest acknowledges that there may have been out-of-date contact

          information for some of its customers. However, Quest provided no means for these

          customers to obtain information about whether they had been breached and to access credit

          monitoring. For example, Quest’s website does not have any information that its customers

          can use to determine whether their information was part of the Data Breach.

                  d.     Fourth, Quest’s website offered a toll free number that was only available

          during business hours and for 90 days beginning on July 8, 2019 to allow individuals to

          “ask questions and learn additional information.”27 This is deficient because (i) the toll-



   25
          Id.
   26
          Id.
   27
          Id.


                                                   45
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 52 of 158 PageID: 842




          free number and website are only available for a very short period of time; (ii) the website

          provides no information about what “questions” or “additional information” can be asked

          or learned; and (iii) the phone number and website are buried in the website’s text, without

          any emphasis, and under a vague “What We Are Doing” heading and much alter under a

          “For More Information” heading.

                  e.       Fifth, the website provides no information about the credit monitoring that

          Quest purported to offer. Rather, it appears to have only been included in some of the

          mailings and there is no indication to Quest customers on Quest’s website of how to sign

          up for this service or any other relevant details.

          338.    Further, data breach letters sent by AMCA and Quest to Quest patients further

   demonstrate the failure to provide proper notice.

                  a.       First, Quest relied on AMCA to provide “24 months of complimentary

   credit monitoring and identity theft mitigation services.” However, providing a clear end point in

   coverage allows hackers to simply wait out the two years of credit monitoring and then use the

   relevant information.

                  b.       Second, enrolling into the services is not easy for patients. Rather than

   being automatically enrolled, patients are required to go through an Equifax website and input a

   specific activation code. This hurdle is likely to mean that most affected Quest patients do not

   sign up for the service.

                  c.       Third, neither letter specifically informs patients of what information of

   theirs was taken. AMCA’s letter was limited in its specificity to say: “certain other medical

   information” was taken. Quest fares little better when it tells patients that the information “may

   have included” “information related to your providers and the services (such as dates of service,




                                                    46
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 53 of 158 PageID: 843




   name of lab, referring doctor, test names, internal patient identification number); and laboratory

   billing-and payment-related information (such as insurance/payer information and identification

   number, diagnosis codes, internal account number).”

                  d.     Fourth, Quest’s letters did not provide the activation code or even reference

   that patients could receive the 24 months of complimentary credit monitoring. Patients who only

   received Quest’s letter or went to Quest’s website would have no idea that they could receive

   complimentary credit monitoring.

                  e.     Fifth, Quest should not have relied on AMCA—a bankrupt entity—to be

   the one to cover credit monitoring costs. It is unclear based on available information whether

   AMCA can fund the complimentary credit monitoring.

          339.    In sum, Quest’s failure to properly disseminate notice further harmed its customers

   by keeping them in the dark about whether their information was accessed as a result of the breach,

   what information was accessed as a result of the breach and how they could quickly and safely

   respond in order to protect themselves from potential harm as a result of the data breach.

          E.      Quest Committed To Safeguarding Its Patients’ Personal Information

          340.    Quest’s contracts with its patients and policies on its website commit it to protecting

   patient information, including information shared with third parties.

          341.    Quest’s website makes it clear that it will protect payment information. In response

   to the question “Is my payment information secure” on its facts and questions page, Quest

   unequivocally states “yes.”28 Quest promises “Transport Security Layer (TSL) to encrypt your




   28
            Quest Diagnostics, https://myquest.questdiagnostics.com/myquest-faq1/QuestDirect.htm
   (last visited September 27, 2019).


                                                    47
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 54 of 158 PageID: 844




   credit card number, name, and address information so only QuestDiagnostics.com is able to decode

   your information.”29

          342.    Quest’s privacy policy states that the disclosure of personal information to third

   parties is limited to “contractors to who we may provide such information for the limited purpose

   of providing services to us and who are obligated to keep the information confidential.”30

          343.    Quest’s privacy policy assures that “we limit Quest Diagnostics’ employees and

   contractors’ access to personal information. Only those employees and contractors with a business

   reason to know have access to this information.”31

          344.    HIPAA requires that Quest provide every patient it treats, including Plaintiffs and

   the putative Class Members with a privacy notice.         Quest’s “Notice of Privacy Practices”

   acknowledges their legal requirement to maintain the privacy of patients’ PHI, and states it is “are

   committed to protecting the privacy of your identifiable health information.”32 Quest states that

   “we are required notify affected individuals in the event of a breach involving unsecured protected

   health information.”33




   29
          Id.
   30
          Online Privacy Policy, https://www.questdiagnostics.com/home/privacy-policy/online-
   privacy.html (last visited September 27, 2019) (emphasis added).
   31
          Id.
   32
          Notice of Privacy Practices, https://www.questdiagnostics.com/home/privacy-
   policy/notice-privacy-practices.html, (last visited September 27, 2019).
   33
          Id.



                                                   48
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 55 of 158 PageID: 845




          345.    Quest’s Notice of Privacy Policies indicates that it may provide PHI to companies

   that assist with billing and to “an outside collection agency to obtain payment when necessary.”34

   These “business associates” are “required to maintain the privacy and security of PHI.”35

          346.    The requirements—which stem from contractual duties as well as duties under the

   Health Insurance Portability and Accountability Act of 1996 (“HIPAA”)—were violated.

   Defendants failed to maintain the privacy and security patients PHI and failed to inform patients

   that their Personal Information was disclosed.

          347.    Quest also has an Online Privacy Policy where it makes additional promises to its

   customers regarding the privacy of their Sensitive Information:

          How We Protect Information Online

          We exercise great care to protect your personal information. This includes, among
          other things, using industry standard techniques such as firewalls, encryption, and
          intrusion detection. As a result, while we strive to protect your personal
          information, we cannot ensure or warrant the security of any information you
          transmit to us or receive from us. This is especially true for information you
          transmit to us via email since we have no way of protecting that information until
          it reaches us since email does not have the security features that are built into our
          websites.

          In addition, we limit Quest Diagnostics’ employees and contractors' access to
          personal information. Only those employees and contractors with a business reason
          to know have access to this information. We educate our employees about the
          importance of maintaining confidentiality of customer information.
                                                    ***
          Disclosure of Personal Information to Third Parties
          We will not disclose any personal information to any third party (excluding our
          contractors to whom we may provide such information for the limited purpose of
          providing services to us and who are obligated to keep the information
          confidential), unless (1) you have authorized us to do so; (2) we are legally required
          to do so, for example, in response to a subpoena, court order or other legal process
          and/or, (3) it is necessary to protect our property rights related to this website. We
          also may share aggregate, non-personal information about website usage with


   34
          Id.
   35
          Id. (emphasis added).


                                                    49
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 56 of 158 PageID: 846




          unaffiliated third parties. This aggregate information does not contain any personal
          information about our users.

          F.      Defendants Violated HIPAA’s Requirements To Safeguard Data

          348.    Defendants had a non-delegable duty to ensure that all information they collected

   and stored was secure, and that any associated entities with whom they shared member information

   maintained adequate and commercially reasonable data security practices to ensure the protection

   of plan members’ Personal Information.

          349.    Defendants are entities covered by HIPAA (see 45 C.F.R. § 160.102) and as such

   are required to comply with the HIPAA Privacy Rule and Security Rule, 45 C.F.R Part 160 and

   Part 164, Subparts A and E (“Standards for Privacy of Individually Identifiable Health

   Information”), and Security Rule (“Security Standards for the Protection of Electronic Protected

   Health Information”), 45 C.F.R. Part 160 and Part 164, Subparts A and C.

          350.    These rules establish national standards for the protection of patient information,

   including protected health information, defined as “individually identifiable health information”

   which either “identifies the individual” or where there is a “reasonable basis to believe the

   information can be used to identify the individual,” that is held or transmitted by a healthcare

   provider. See 45 C.F.R. § 160.103.

          351.    HIPAA limits the permissible uses of “protected health information” and prohibits

   unauthorized disclosures of “protected health information.”

          352.    HIPAA requires that Defendants implement appropriate safeguards for this

   information.

          353.    HIPAA further mandates that a covered entities such as Defendants may disclose

   PHI to a “business associate,” such as AMCA, only if the covered entity obtains satisfactory

   assurances that the business associate will use the information only for the purposes for which it



                                                  50
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 57 of 158 PageID: 847




   was engaged by the covered entity, will safeguard the information from misuse, and assist in

   compliance with HIPAA privacy obligations.36

          354.   HIPAA requires that Defendants provide notice of a breach of unsecured protected

   health information, which includes protected health information that is not rendered unusable,

   unreadable, or indecipherable to unauthorized persons – i.e. non-encrypted data.

          355.   Despite these requirements, Defendants failed to comply with their duties under

   HIPAA and their own Privacy Practices. Indeed, Defendants failed to:

                 a.        Maintain an adequate data security system to reduce the risk of data

          breaches and cyber-attacks;

                 b.        Adequately protect Plaintiffs’ and the Class Members’ Personal

          Information;

                 c.        Ensure the confidentiality and integrity of electronically protected health

          information created, received, maintained, or transmitted, in violation of 45 C.F.R. §

          164.306(a)(1);

                 d.        Implement technical policies and procedures for electronic information

          systems that maintain electronically protected health information to allow access only to

          those persons or software programs that have been granted access rights, in violation of 45

          C.F.R. § 164.312(a)(1);

                 e.        Implement adequate policies and procedures to prevent, detect, contain, and

          correct security violations, in violation of 45 C.F.R. § 164.308(a)(1)(i);




   36
          See 45 CFR §§ 164.502(e), 164.504(e), 164.532(d) and (e).


                                                   51
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 58 of 158 PageID: 848




                   f.     Implement adequate procedures to review records of information system

          activity regularly, such as audit logs, access reports, and security incident tracking reports,

          in violation of 45 C.F.R. § 164.308(a)(1)(ii)(D);

                   g.     Protect against reasonably anticipated uses or disclosures of electronic

          protected health information that are not permitted under the privacy rules regarding

          individually identifiable health information, in violation of 45 C.F.R. § 164.306(a)(3);

                   h.     Take safeguards to ensure that Defendants’ business associates adequately

          protect protected health information;

                   i.     Ensure compliance with the electronically protected health information

          security standard rules by their workforces, in violation of 45 C.F.R. § 164.306(a)(4);

          and/or

                   j.     Train all members of their workforces effectively on the policies and

          procedures with respect to protected health information as necessary and appropriate for

          the members of their workforces to carry out their functions and to maintain security of

          protected health information, in violation of 45 C.F.R. § 164.530(b).

          356.     Defendants failed to comply with their duties under HIPAA and their own Codes

   of Conduct and Privacy Policies despite each being aware of the risks associated with unauthorized

   access of members’ Personal Information.




                                                    52
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 59 of 158 PageID: 849




          G.      Quest Patients’ Personal Information Is Highly Valuable

          357.    Defendants were or should have been aware that they were collecting highly

   valuable data, for which Defendants knew or should have known there is an upward trend in data

   breaches in recent years.37

          358.    The U.S. Department of Health and Human Services, Office for Civil Rights,

   currently lists 550 breaches affecting 500 or more individuals in the past 24 months.38 Quest

   patients are the single largest group impacted by this data breach, exceeding the next lab with

   impacted patients by over 1.3 million patients. 39

          359.    As early as 2014, the FBI alerted the healthcare industry that they were an

   increasingly preferred target of hackers, stating “[t]he FBI has observed malicious actors targeting

   healthcare related systems, perhaps for the purpose of obtaining Protected Health Information

   (PHI) and/or Personally Identifiable Information (PII)” so that these companies can take the

   necessary precautions to thwart such attacks.40




   37
           Healthcare          Data        Breach          Statistics,        HIPAA         Journal,
   https://www.hipaajournal.com/healthcare-data-breach-statistics/ (last visited September 27, 2019)
   (“Our healthcare statistics clearly show there has been an upward trend in data breaches over the
   past 9 years, with 2018 seeing more data breaches reported than any other year since records first
   started being published.”).
   38
           U.S. Dep’t of Health and Human Services, Office for Civil Rights, Cases Currently Under
   Investigation, https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf (last visited September 27,
   2019).
   39
          Id. Optum360 is listed as the “Covered Entity” and as the Business Associate for Quest,
   the Healthcare Provider. The next highest is LabCorp (which is also an MDL Defendant and listed
   as a Healthcare Provider) with just over 10 million patients as a result of the AMCA breach.
   40
            Reuters, FBI warns healthcare firms they are targeted by hackers, August 20, 2014,
   http://www.reuters.com/article/us-cybersecurity-healthcare-fbi-idUSKBN0GK24U20140820
   (last visited September 27, 2019).


                                                     53
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 60 of 158 PageID: 850




          360.    The co-founder of Lastline, a network security provider, said that “[h]ackers target

   financial companies, like this billing collection company, as they often store sensitive financial

   information that can be turned into immediate gains.”41

          361.    At the end of 2018, the healthcare sector ranked second highest in the number of

   data breaches among measured sectors, and had the highest rate of exposure for each breach.42

   With this Data Breach, 2019 has seen the exposure of three times the number of records

   compromised in 2018.43

          362.    Other experts have stated that the Data Breach is at “the intersection of three of the

   types of data that hackers most desire: personal identifying information that can be used for identity

   fraud, information about medical conditions, and financial account information.”44

          363.    This same article has asked: “why did a collections agency have all of this

   information in the first place?” It also questioned why medical information and Social Security

   Numbers needed to be provided to debt collectors.45




   41
          Christopher Rowland, Quest Diagnostics discloses breach of patient records, WASH. POST,
   June 3, 2019, https://www.washingtonpost.com/business/economy/quest-diagnostics-discloses-
   breach-of-patient-records/2019/06/03/aa37b556-860a-11e9-a870-
   b9c411dc4312_story.html?utm_term=.78dd30c03a88 (last visited September 27, 2019).
   42
           Identity Theft Resource Center, 2018 End-of-Year Data Breach                          Report,
   https://www.idtheftcenter.org/2018-data-breaches (last visited April 21, 2019).
   43
           Healthcare   Data   Breach     Statistics  (August    2019),      HIPPAA       Journal,
   https://www.hipaajournal.com/august-2019-healthcare-data-breach-report (last visited September
   27, 2019).
   44
           Scott Ikeda, Third Party Data Breach Hits Quest Diagnostics with 12 Million Confidential
   Patient Records Exposed, CPO Magazine, June 11, 2019, https://www.cpomagazine.com/cyber-
   security/third-party-data-breach-hits-quest-diagnostics-with-12-million-confidential-patient-
   records-exposed/ (last visited Oct. 7, 2019).
   45
          Id.


                                                    54
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 61 of 158 PageID: 851




          364.    Further, Cathy Allen, CEO of Shared Assessments, a cyber-risk management

   group, stated that “just the types of test proscribed might indicate a type of illness that you would

   not want employers or insurance companies to have. Thieves often steal and resell insurance data

   on the internet…having other information makes the data more valuable and the price higher.”46

   Personal Information is a valuable commodity to identity thieves.           Compromised Personal

   Information is traded on the “cyber black-market.” As a result of recent large-scale data breaches,

   identity thieves and cyber criminals have openly posted stolen credit card numbers, social security

   numbers and other Personal Information directly on various dark web47 sites making the

   information publicly available.48

          365.    Further, medical databases are particularly lucrative targets for identity thieves.

   According to one report, a stolen medical identity has a $50 street value on the black market,

   whereas a Social Security number, without more, sells for only $1.49

          366.    Defendants knew or should have known that they had an obligation to take

   measures to ensure the security of the database maintained by its billing collections vendor because



   46
          Id.
   47
           The dark web refers to encrypted content online that cannot be found using conventional
   search engines and can only be accessed through specific browsers and software. MacKenzie
   Sigalos,    The    dark     web     and    how     to     access    it   (Apr.    14,   2018),
   https://www.cnbc.com/2018/04/13/the-dark-web-and-how-to-access-it.html (last accessed June
   17, 2019).
   48
           Here’s How Much Your Personal Information Is Selling for on the Dark Web,
   https://www.experian.com/blogs/ask-experian/heres-how-much-your-personal-information-is-
   selling-for-on-the-dark-web/ (last visited November 6, 2019); McFarland et al., The Hidden Data
   Economy, at 3, available at https://www.mcafee.com/enterprise/en-us/assets/reports/rp-hidden-
   data-economy.pdf (last visited November 6, 2019).
   49
           Study: Few Aware of Medical Identity Theft Risk, Claims Journal (June 14, 2012),
   https://www.claimsjournal.com/news/national/2012/06/14/208510.htm (last visited June 10,
   2019).


                                                    55
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 62 of 158 PageID: 852




   it contains highly valuable Personal Information and that additional measures to do so were

   necessary.

          H.      Defendants Have Harmed Plaintiffs And Class Members By Allowing
                  Anyone To Access Their Information

          367.    Defendants knew or should have known both that medical information is incredibly

   valuable to hackers and that health care data breaches are on the rise. Accordingly, Defendants

   were on notice for the harms that could ensue if they failed to protect patients’ data.

          368.    Quest, moreover, had previously failed to protect patients’ private information. In

   2016, Quest allowed an unauthorized third party to access its internal internet application and

   obtain the protected health information of 34,000 individuals.50 This data included name, date of

   birth, lab results, and in some instances, phone numbers.51 At that time, a company spokesman

   said that “we’re taking it seriously.”52

          369.    In October 2019, the United States District Court for the District of New Jersey

   preliminarily approved a settlement related to this 2016 breach allowing for up to a $325

   reimbursement for each class member.

          370.    Given the sensitive nature of the Personal Information stolen in the Data Breach –

   including names, mailing addresses, phone numbers, dates of birth, Social Security numbers,

   information related to Plaintiffs’ and Class Members’ medical providers and services (such as

   dates of service, name of lab, referring doctor, test names, internal patient identification number),



   50
          http://ir.questdiagnostics.com/news-releases/news-release-details/quest-diagnostics-
   provides-notice-data-security-incident?ID=2229113&c=82068&p=irol-newsArticle.
   51
          Id.
   52
          Robert Channick, Quest data breach exposes private health information of 34,000 patients,
   Chicago Tribune, Dec. 13, 2016, https://www.chicagotribune.com/business/ct-quest-data-hack-
   1214-biz-20161213-story.html.


                                                    56
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 63 of 158 PageID: 853




   diagnosis codes, credit and debit card numbers, bank account information, and insurance policy

   numbers – hackers have the ability to commit identity theft, financial fraud, and other identity-

   related fraud against Plaintiffs and Class Members now and into the indefinite future.

          371.    In fact, many victims of the Data Breach have already experienced harms as the

   result of the Data Breach, including, but not limited to, identity theft, financial fraud, tax fraud,

   unauthorized lines of credit opened in their names, medical and healthcare fraud, and unauthorized

   access to their bank accounts. Plaintiffs and Class Members have also spent time, money, and

   effort dealing with the fallout of the Data Breach, including purchasing credit protection services,

   contacting their financial institutions, checking credit reports, and spending time and effort

   searching for unauthorized activity.

          372.    The Personal Information exposed in the Data Breach is highly coveted and

   valuable on underground or black markets. For example, a cyber “black market” exists in which

   criminals openly post and sell stolen consumer information on underground internet websites

   known as the “dark web” – and information tied to this Data Breach has already been offered for

   sale. Identity thieves can use the Personal Information to: (a) create fake credit cards that can be

   swiped and used to make purchases as if they were the real credit cards; (b) reproduce stolen debit

   cards and use them to withdraw cash from ATMs; (c) commit immigration fraud; (d) obtain a

   fraudulent driver’s license or ID card in the victim’s name; (e) obtain fraudulent government

   benefits; (f) file a fraudulent tax return using the victim’s information; (g) commit medical and

   healthcare-related fraud; (h) access financial accounts and records; or (i) commit any number of

   other frauds, such as obtaining a job, procuring housing, or giving false information to police

   during an arrest. Further, loss of private and personal health information can expose the victim to

   loss of reputation, loss of employment, blackmail, extortion, and other negative effects.




                                                    57
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 64 of 158 PageID: 854




           373.     In a data breach implicating a medical provider or medical information, consumers

   face the additional risk of their Health Savings Accounts (“HSAs”) being compromised. HSAs

   are often tied to specialized debit cards used to make medical-based payments. However, they

   can also be used for regular purchases (albeit incurring a severe tax penalty). Such information is

   an “easy target” for criminal actors.53

           374.     As AMCA acknowledged, fraudulent charges have already been linked to the data

   Quest provided to AMCA. Quest publicly revealed the exposure of patients’ Personal Information

   only after “a disproportionate number of credit cards that at some point had interacted with

   [AMCA’s] web portal were later associated with fraudulent charges.”54

           375.     In addition, the impact of identity theft can have ripple effects, which can adversely

   affect the future financial trajectories of victims’ lives. For example, the Identity Theft Resource

   Center reports that respondents to their surveys in 2013-2016 described that the identity theft they

   experienced affected their ability to get credit cards and obtain loans, such as student loans or

   mortgages.55 For some victims, this could mean the difference between going to college or not,

   becoming a homeowner or not, or having to take out a high interest payday loan versus a lower-

   interest loan.

           376.     As explained further by the FTC, medical identity theft can have other serious

   consequences:

           Medical ID thieves may use your identity to get treatment – even surgery – or to
           bilk insurers by making fake claims. Repairing damage to your good name and

   53
           Id.
   54
         Declaration of Russell H. Fuchs Pursuant to Local Bankruptcy Rule 1007-2 And In Support
   Of “First Day” Motions, American Medical Collection Agency Bankruptcy Petition #19-
   23185(RDD), Docket Entry 2 (Bankr. S.D.N.Y.)
   55
            Identity     Theft       Resource      Center,      The        Aftermath        2017,
   https://www.idtheftcenter.org/images/page-docs/Aftermath_2017.pdf (last visited Aug. 9, 2019).


                                                     58
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 65 of 158 PageID: 855




          credit record can be difficult enough, but medical ID theft can have other serious
          consequences. If a scammer gets treatment in your name, that person’s health
          problems could become a part of your medical record. It could affect your ability
          to get medical care and insurance benefits, and could even affect decisions made
          by doctors treating you later on. The scammer’s unpaid medical debts also could
          end up on your credit report.56

          377.    As the result of the wide variety of injuries that can be traced to the Data Breach,

   Plaintiffs and Class Members have and will continue to suffer economic loss and other actual harm

   for which they are entitled to damages, including, but not limited to, the following:

                  a.      losing the inherent value of their Personal Information;

                 b.    identity theft and fraud resulting from the theft of their Personal
          Information;

                 c.     costs associated with the detection and prevention of identity theft and
          unauthorized use of their financial accounts;

                  d.      costs associated with purchasing credit monitoring, credit freezes, and
          identity theft protection services;

                  e.    unauthorized charges and loss of use of and access to their financial account
          funds and costs associated with inability to obtain money from their accounts or being
          limited in the amount of money they were permitted to obtain from their accounts,
          including missed payments on bills and loans, late charges and fees, and adverse effects on
          their credit;

                  f.      lowered credit scores resulting from credit inquiries following fraudulent
          activities;

                  g.     costs associated with time spent and the loss of productivity or the
          enjoyment of one’s life from taking time to address and attempt to mitigate and address the
          actual and future consequences of the Data Breach, including discovering fraudulent
          charges, cancelling and reissuing cards, purchasing credit monitoring and identity theft
          protection services, imposing withdrawal and purchase limits on compromised accounts;
          and

                 h.      the continued imminent and certainly impending injury flowing from
          potential fraud and identify theft posed by their Personal Information being in the
          possession of one or many unauthorized third parties.


   56
          Medical ID Theft: Health Information for Older People, Federal Trade Commission,
   available at https://www.consumer.ftc.gov/articles/0326-medical-id-theft-health-information-
   older-people (last visited October 7, 2019).


                                                   59
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 66 of 158 PageID: 856




          378.      Even in instances where a consumer is reimbursed for a financial loss due to

   identity theft or fraud, that does not make that individual whole again as there is typically

   significant time and effort associated with seeking reimbursement that is not refunded. The

   Department of Justice’s Bureau of Justice Statistics found that identity theft victims “reported

   spending an average of about 7 hours clearing up the issues” relating to identity theft or fraud.57

          379.      There may also be a significant time lag between when personal information is

   stolen and when it is actually misused. According to the GAO, which conducted a study regarding

   data breaches:

          [L]aw enforcement officials told us that in some cases, stolen data may be held for
          up to a year or more before being used to commit identity theft. Further, once stolen
          data have been sold or posted on the Web, fraudulent use of that information may
          continue for years. As a result, studies that attempt to measure the harm resulting
          from data breaches cannot necessarily rule out all future harm.58

          380.      Plaintiffs and Class Members place significant value in data security. According to

   a recent survey conducted by cyber-security company FireEye, approximately 50% of consumers

   consider data security to be a main or important consideration when making purchasing decisions

   and nearly the same percentage would be willing to pay more in order to work with a provider that

   has better data security. Likewise, 70% of consumers would provide less personal information to

   organizations that suffered a data breach.59



   57
          E. Harrell, U.S. Department of Justice, Victims of Identity Theft, 2014 (revised Nov. 13,
   2017), http://www.bjs.gov/content/pub/pdf/vit14.pdf (last visited Aug. 9, 2019).
   58
          U.S. Gov’t Accountability Off., GAO-07-737, Personal Information: Data Breaches Are
   Frequent, but Evidence of Resulting Identity Theft is Limited; However, the Full Extent Is
   Unknown (2007), available at http://www.gao.gov/new.items/d07737.pdf (last visited Aug. 9,
   2019).
   59
           FireEye, Beyond the Bottom Line: The Real Cost of Data Breaches (May 2016),
   https://www.fireeye.com/blog/executive-perspective/2016/05/beyond_the_bottomli.html (last
   visited Aug. 9, 2019).


                                                    60
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 67 of 158 PageID: 857




          381.    Because of the value consumers place on data privacy and security, companies with

   robust data security practices can command higher prices than those who do not. Indeed, if

   consumers did not value their data security and privacy, Defendants would have no reason to tout

   their data security efforts to their actual and potential customers.

          382.    Consequently, had consumers known the truth about Defendants’ data security

   practices – that they did not adequately protect and store their Personal Information – they would

   not have entrusted their Personal Information to Quest.

          383.    Quest’s failure to protect Plaintiffs’ and Class Members’ personal data has led to

   significant governmental investigation. Specifically, on June 5, 2019, New Jersey’s United States

   Senators Corey Booker and Bob Menendez sent a letter to Quest’s Chairman, President & CEO

   stating that they were “deeply concerned” and asking for detailed information about the breach,

   Quest’s responses, and Quest’s data security processes.60

          384.    Separately, the Attorneys General of Connecticut and Illinois opened an

   investigation on June 7, 2019 into Quest and LabCorp. In a press release, they stated: The last

   thing patients should have to worry about is whether their personal information has been

   compromised by the entities responsible for protecting it. I am committed to ensuring that

   impacted patients receive timely notification and that the companies involved take precautions to

   protect consumers’ sensitive health and financial information in the future.61 Michigan’s Attorney




   60
           Letter from U.S. Senators Robert Menendez and Cory A. Booker (June 5, 2019), available
   at https://www.menendez.senate.gov/imo/media/doc/06.05.19%20LabCorp%20Letter.pdf
   61
          Connecticut and Illinois Open Investigation into Quest Diagnostics, LabCorp Data Breach,
   The Office of Attorney General William Tong, available at https://portal.ct.gov/AG/Press-
   Releases/2019-Press-Releases/CT-AND-IL-OPEN-INVESTIGATION-INTO-QUEST-AND-
   LABCORP-DATA-BREACH.


                                                     61
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 68 of 158 PageID: 858




   General also launched an investigation shortly after the Data Breach was announced.62 In its recent

   quarterly SEC filing, Quest acknowledged that “certain federal and state governmental authorities

   are investigating, or otherwise seeking information and/or documents from the Company related

   to the AMCA Data Security Incident and related matters, including Attorneys General offices from

   numerous states and the District of Columbia and certain U.S. senators.”63

                                 CLASS ACTION ALLEGATIONS

   I.     NATIONWIDE CLASS

          385.    Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), as applicable, and (c)(4), Plaintiffs

   seek certification of the following nationwide class (the “Nationwide Class” or the “Class”):

          All natural persons residing in the United States whose Personal Information was
          compromised in the Data Breach.

          386.    The Nationwide Class asserts claims against Defendants for negligence (Count 1),

   negligence per se (Count 2), unjust enrichment (Count 3), declaratory judgment (Count 4), breach

   of implied contract (Count 5), violations of the New Jersey Consumer Fraud Act, N.J.S.A. § 56:8-

   1, et seq. (Count 6), violations of the Minnesota Consumer Fraud Act, Minn. Stat. §§ 325F.68, et

   seq. and Minn. Stat. §§ 8.31, et seq. (Count 7), and violations of the Minnesota Uniform Deceptive

   Trade Practices Act, Minn. Stat. §§ 325D.43, et seq. (Count 8).




   62
          AMCA Data Breach Tally Passes 20 Million as BioReference Laboratories Added to List
   of Impacted Entities, HIPPA Journal, https://www.hipaajournal.com/amca-data-breach-tally-
   passes-20-million-as-bioreference-laboratories-added-to-list-of-impacted-entities/ (last visited
   October 9, 2019).
   63
           Quest     Diagnostics,      Inc.    Form      10-Q      (Oct.     23,                 2019),
   http://d18rn0p25nwr6d.cloudfront.net/CIK-0001022079/9fd46d10-0cf2-4eb7-9140-
   c903f6b5c641.pdf


                                                   62
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 69 of 158 PageID: 859




   II.    STATEWIDE SUBCLASSES

          387.    Pursuant to Fed. R. Civ. P. 23(b)(2) and (b)(3), as applicable, and (c)(4), Plaintiffs

   seek certification of state-by-state claims in the alternative to the nationwide claims, as well as

   statutory claims under state data breach statutes and consumer protection statutes (Counts 8

   through 32), on behalf of separate statewide subclasses for each State (the “Statewide Subclasses”),

   defined as follows:

          All natural persons residing in [name of state] whose Personal Information was
          compromised in the Data Breach.

          388.    Excluded from the Nationwide Class and each Statewide Subclass are Defendants,

   any entity in which either Defendant has a controlling interest, and either Defendants’ officers,

   directors, legal representatives, successors, subsidiaries, and assigns. Also excluded from the

   Nationwide Class and each Statewide Subclass are any judicial officer presiding over this matter,

   members of their immediate family, and members of their judicial staff.

          389.    Numerosity: Federal Rule of Civil Procedure 23(a)(1). The members of each

   Class and Subclass are so numerous and geographically dispersed that individual joinder of all

   Class Members is impracticable. While the exact number of Class Members is unknown to

   Plaintiffs at this time, Defendants have acknowledged that millions of Quest customers’ Personal

   Information has been compromised. Those individuals’ names and addresses are available from

   Defendants’ records, and Class Members may be notified of the pendency of this action by

   recognized, Court-approved notice dissemination methods. On information and belief, there are

   at least thousands of Class Members in each Statewide Subclass, making joinder of all Statewide

   Subclass members impracticable.

          390.    Commonality. Fed. R. Civ. P. 23(a)(2) and (b)(3). Consistent with Rule 23(a)(2)

   and with 23(b)(3)’s predominance requirement, this action involves common questions of law and



                                                   63
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 70 of 158 PageID: 860




   fact that predominate over any questions affecting individual Class Members. The common

   questions include:

                 a.      Whether Defendants had a duty to protect Personal Information;

                 b.      Whether Defendants failed to take reasonable and prudent security

          measures;

                 c.      Whether Defendants knew or should have known of the susceptibility of

          AMCA’s systems to a data breach;

                 d.      Whether Defendants were negligent in failing to implement reasonable and

          adequate security procedures and practices;

                 e.      Whether Defendants’ security measures to protect its systems were

          reasonable in light known legal requirements;

                 f.      Whether Defendants were negligent in failing to adequately monitor and

          audit the data security systems of their vendors and business associates;

                 g.      Whether Defendants’ efforts (or lack thereof) to ensure the security of

          patients’ Personal Information provided to vendors and business associates were

          reasonable in light of known legal requirements;

                 h.      Whether Defendants’ conduct constituted unfair or deceptive trade

          practices;

                 i.      Whether Defendants violated state law when they failed to implement

          reasonable security procedures and practices;

                 j.      Which security procedures and notification procedures Defendants should

          be required to implement;




                                                  64
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 71 of 158 PageID: 861




                   k.      Whether Defendants have a contractual obligation to use reasonable

           security measures;

                   l.      Whether Defendants have complied with any contractual obligation to use

           reasonable security measures;

                   m.      What security measures, if any, must be implemented by Defendants to

           comply with their contractual obligations;

                   n.      Whether Defendants violated state consumer protection and state medical

           information privacy laws in connection with the actions described herein;

                   o.      Whether Defendants failed to notify Plaintiffs and Class Members as soon

           as practicable and without delay after the data breach was discovered;

                   p.      Whether Defendants’ conduct, including their failure to act, resulted in or

           was the proximate cause of the breach of AMCA’s systems and/or the loss of the Personal

           Information of Plaintiffs and Class Members;

                   q.      Whether Plaintiffs and Class Members were injured and suffered damages

           or other losses because of Defendants’ failure to reasonably protect their Personal

           Information; and,

                   r.      Whether Plaintiffs and Class Members are entitled to damages, declaratory

           or injunctive relief.

           391.    Typicality. Fed. R. Civ. P. 23(a)(3). Consistent with Rule 23(a)(3), Plaintiffs’

   claims are typical of those of other Class Members. Plaintiffs’ Personal Information was in

   Defendants’ possession at the time of the Data Breach and was compromised as a result of the

   Data Breach. Plaintiffs’ damages and injuries are akin to other Class Members and Plaintiffs seek

   relief consistent with the relief of the Class.




                                                     65
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 72 of 158 PageID: 862




           392.   Adequacy. Fed. R. Civ. P. 23(a)(4). Consistent with Rule 23(a)(4), Plaintiffs are

   adequate representatives of the Class because Plaintiffs are members of the Class and are

   committed to pursuing this matter against Defendants to obtain relief for the Class. Plaintiffs have

   no conflicts of interest with the Class. Plaintiffs’ Counsel are competent and experienced in

   litigating class actions, including extensive experience in data breach and privacy litigation.

   Plaintiffs intend to vigorously prosecute this case and will fairly and adequately protect the Class’s

   interests.

           393.   Predominance & Superiority. Fed. R. Civ. P. 23(b)(3). Consistent with Rule

   23(b)(3), a class action is superior to any other available means for the fair and efficient

   adjudication of this controversy, and no unusual difficulties are likely to be encountered in the

   management of this class action. Common issues in this litigation also predominate over individual

   issues because those issues discussed in the above paragraph on commonality are more important

   to the resolution of this litigation than any individual issues. The purpose of the class action

   mechanism is to permit litigation against wrongdoers even when damages to individual plaintiffs

   may not be sufficient to justify individual litigation. Here, the damages suffered by Plaintiffs and

   the Class are relatively small compared to the burden and expense required to individually litigate

   their claims against Defendants, and thus, individual litigation to redress Defendants’ wrongful

   conduct would be impracticable. Individual litigation by each Class Member would also strain the

   court system. Individual litigation creates the potential for inconsistent or contradictory judgments,

   and increases the delay and expense to all parties and the court system. By contrast, the class action

   device presents far fewer management difficulties and provides the benefits of a single

   adjudication, economies of scale, and comprehensive supervision by a single court.




                                                    66
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 73 of 158 PageID: 863




          394.    Risk of Prosecuting Separate Actions. This case is appropriate for certification

   because prosecuting separate actions by individual proposed Class Members would create the risk

   of inconsistent adjudications and incompatible standards of conduct for Defendants or would be

   dispositive of the interests of members of the proposed Class.

          395.    Ascertainability. The Class and Subclasses are defined by reference to objective

   criteria, and there is an administratively feasible mechanism to determine who fits within the class.

   The Class and Subclasses consist of individuals who received services from Quest and whose

   accounts were placed into collections with AMCA by Quest. Class Membership can be determined

   using Quest and AMCA’s records in their databases.

          396.    Injunctive and Declaratory Relief. Class certification is also appropriate under

   Rule 23(b)(2) and (c). Defendants, through their uniform conduct, acted or refused to act on

   grounds generally applicable to the Class as a whole, making injunctive and declaratory relief

   appropriate to the Class as a whole. Injunctive relief is necessary to uniformly protect the Class

   Members’ data. Plaintiff seeks prospective injunctive relief as a wholly separate remedy from any

   monetary relief.

          397.    Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

   because such claims present only particular, common issues, the resolution of which would

   advance the disposition of this matter and the parties’ interests therein. Such particular issues

   include, but are not limited to:

                  a.      Whether Defendants owed a legal duty to Plaintiffs and the Class to exercise

          due care in collecting, storing, and safeguarding their Personal Information;

                  b.      Whether Defendants failed to take commercially reasonable steps to

          safeguard the Personal Information of Plaintiffs and the Class Members;




                                                    67
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 74 of 158 PageID: 864




                  c.      Whether Defendants failed to adequately monitor and audit the data security

          systems of their vendors and business associates;

                  d.      Whether     adherence    to    HIPAA     regulations,   FTC    data   security

          recommendations, industry standards, and measures recommended by data security experts

          would have reasonably prevented the Data Breach.

                         CHOICE OF LAW FOR NATIONWIDE CLAIMS

          398.    The state laws of one state will likely govern Plaintiffs’ claims.

          399.    New Jersey: First, Secaucus, New Jersey, Quest’s principal place of business, is

   the “nerve center” of its business activities—the place where its high-level officers direct, control,

   and coordinate the corporation’s activities, including its data security functions and major policy,

   financial, and legal decisions.

          400.    New Jersey has significant interests in regulating the conduct of businesses

   operating within its borders. New Jersey, which seeks to protect the rights and interests of residents

   and citizens of the United States against a company headquartered and doing business there, has a

   greater interest in the nationwide claims of Plaintiffs and Class Members as to the conduct of Quest

   than any other state and is most intimately concerned with the claims and outcome of this litigation.

          401.    Quest’s response to the Data Breach at issue here, and corporate decisions

   surrounding such response, were made from and in New Jersey.

          402.    Quest’s breaches of duty to Plaintiffs and Nationwide Class Members emanated

   from New Jersey.

          403.    Minnesota: Second, Eden Prairie, Minnesota, Optum 360’s principal place of

   business, is the “nerve center” of its business activities—the place where its high-level officers




                                                    68
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 75 of 158 PageID: 865




   direct, control, and coordinate the corporation’s activities, including its data security functions and

   major policy, financial, and legal decisions.

           404.     Minnesota has significant interests in regulating the conduct of businesses

   operating within its borders. Minnesota, which seeks to protect the rights and interests of residents

   and citizens of the United States against a company headquartered and doing business there, has a

   greater interest in the nationwide claims of Plaintiffs and Class Members as to the conduct of

   Optum360 LLP than any other state and is most intimately concerned with the claims and outcome

   of this litigation.

           405.     Optum360 LLP’s response to the Data Breach at issue here, and corporate decisions

   surrounding such response, were made from and in Minnesota.

           406.     Optum360 LLP’s breaches of duty to Plaintiffs and Nationwide Class members

   emanated from Minnesota.

           407.     Additional factual analysis is necessary in order to determine which state’s law

   should apply to the claims of the Class Members. Accordingly, it would be inappropriate to

   determine choice of law at the pleadings stage of this case. Plaintiffs are therefore pleading

   nationwide claims based upon New Jersey and Minnesota law in the alternative (or under the law

   of the states of each Plaintiff).

           408.     Application of New Jersey or Minnesota law with respect to Plaintiffs’ and Class

   Members’ claims after the completion of a factual inquiry would be neither arbitrary nor

   fundamentally unfair because New Jersey and Minnesota each has significant contacts and a

   significant aggregation of contacts that create a state interest in the claims of Plaintiffs and class

   members as to the conduct of the respective Defendants.




                                                     69
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 76 of 158 PageID: 866




           409.    Under choice of law principles applicable to this action, the common law of New

   Jersey or Minnesota would apply to the nationwide common law claims of all Class Members

   given New Jersey’s and Minnesota’s significant interests in regulating the conduct of businesses

   operating within their borders, consumer protection laws may be applied to non-resident consumer

   plaintiffs upon completion of the factual analysis required for the choice of law determination.

           410.    To the extent the Court finds that the laws of each Class Member’s state apply to

   his or her injuries, Plaintiffs previously provided Defendants with notice sufficient to satisfy state

   statutory requirements, and sent correspondence to Defendants’ counsel on November 14, 2019

   providing the company with additional information on Plaintiffs’ claim.

                      CLAIMS ON BEHALF OF THE NATIONWIDE CLASS

                                                COUNT 1

                                         NEGLIGENCE
    On Behalf of Plaintiffs and the Nationwide Class, or Alternatively, on Behalf of Plaintiffs
                                  and the Statewide Subclasses

           411.    Plaintiffs repeat the allegations contained in the preceding paragraphs as if fully set

   forth herein.

           412.    Quest required Plaintiffs and Class Members to submit Personal Information to

   obtain diagnostic and medical services, which Quest provided to Optum360 and its vendor AMCA

   for billing purposes. Defendants collected and stored the Personal Information for commercial

   gain.

           413.    Defendants knew or should have known that AMCA’s web payments page was

   vulnerable to unauthorized access by third parties.

           414.    Defendants had a non-delegable duty to ensure that contractual partners with whom

   they shared patient information maintained adequate and commercially reasonable data security

   practices to ensure the protection of patients’ Personal Information.


                                                     70
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 77 of 158 PageID: 867




          415.   Defendants owed a duty to Plaintiffs and Class Members to exercise reasonable

   care in obtaining, securing, safeguarding, storing, and protecting Plaintiffs’ and Class Members’

   Personal Information within their control from being compromised, lost, stolen, accessed and

   misused by unauthorized persons.

          416.   Defendants owed a duty of care to Plaintiffs and Class Members to provide security,

   consistent with industry standards, to ensure that the systems and networks adequately protected

   the Personal Information.

          417.   Defendants’ duty to use reasonable security measures arose as a result of the special

   relationship that existed between Defendants and the Plaintiffs and Class Members. The special

   relationship arose because Plaintiffs and Class Members entrusted Defendants with their

   confidential data as part of the health treatment process. Only Defendants were in a position to

   ensure that their contractual partners had sufficient safeguards to protect against the harm to

   Plaintiffs and Class Members that would result from a data breach.

          418.   Defendants’ duty to use reasonable care in protecting Personal Information arose

   as a result of the common law and the statutes and regulations, as well as their own promises

   regarding privacy and data security to Quest’s patients. This duty exists because Plaintiffs and

   Class Members were the foreseeable and probable victims of any inadequate security practices.

   By collecting and maintaining personal and confidential information of Plaintiffs and Class

   Members, and acknowledging that this information needed to be kept secure, it was foreseeable

   that they would be harmed in the future if Defendants did not protect Plaintiffs’ and Class

   Members’ information from hackers.

          419.   Defendants’ duties also arose under HIPPA regulations, which, as described above,

   applied to Defendants and establish national standards for the protection of patient information,




                                                  71
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 78 of 158 PageID: 868




   including protected health information, which required Defendants to “reasonably protect”

   confidential data from “any intentional or unintentional use or disclosure” and to “have in place

   appropriate administrative, technical, and physical safeguards to protect the privacy of protected

   health information.” 45 C.F.R. § 164.530(c)(1). The duty also arose under HIPAA’s Privacy Rule

   requirement that Defendants obtain satisfactory assurances from their business associate AMCA

   that AMCA would appropriately safeguard the protected health information it receives or creates

   on behalf of the Defendants. 45 CFR 164.502(e), 164.504(e), 164.532(d) and (e). The confidential

   data at issue in this case constitutes “protected health information” within the meaning of HIPAA.

          420.    Defendants’ duties also arose under Section 5 of the Federal Trade Commission

   Act (“FTC Act”), 15 U.S.C. § 45, which prohibits “unfair . . . practices in or affecting commerce,”

   including, as interpreted and enforced by the FTC, the unfair practice of failing to use reasonable

   measures to protect personal and confidential information. Various FTC publications and data

   security breach orders further form the basis of Defendants’ duty. In addition, several individual

   states have enacted statutes based upon the FTC Act that also created a duty.

          421.    Defendants knew, or should have known, of the risks inherent in collecting and

   storing Personal Information, the vulnerabilities of its vendors and business associates’ systems,

   and the importance of adequate security. Quest specifically knew about the risks inherent in

   collecting and storing Personal Information given its experience with a recent cyber-attack in

   November 2016 and its acknowledgment that Quest’s “business associates” are “required to

   maintain the privacy and security of [patients’] PHI.”

          422.    Defendants breached their common law, statutory, and other duties – and thus were

   negligent-–by failing to use reasonable measures to protect patients’ Personal Information, and by

   failing to provide timely and adequately detailed notice of the Data Breach.




                                                   72
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 79 of 158 PageID: 869




          423.   Defendants breached their duties to Plaintiffs and Class Members in numerous

   ways, including by:

                 a.        Failing to exercise reasonable care and implement adequate security

          systems, protocols, and practices sufficient to protect Plaintiffs’ and Class Members’

          Personal Information;

                 b.        Failing to comply with industry standard data security standards during the

          period of the Data Breach;

                 c.        Failing to comply with regulations protecting the Personal Information at

          issue during the period of the Data Breach;

                 d.        Failing to adequately monitor and audit the data security systems of its

          vendors and business associates;

                 e.        Failing to adequately monitor, evaluate, and ensure the security of AMCA’s

          network and systems;

                 f.        Failing to recognize in a timely manner that Plaintiffs’ and other Class

          Members’ Personal Information had been compromised; and

                 g.        Failing to timely and adequately disclose that Plaintiffs’ and Class

          Members’ Personal Information had been improperly acquired or accessed.

          424.   Plaintiffs’ and Class Members’ Personal Information would not have been

   compromised but for Defendants’ wrongful and negligent breach of their duties.

          425.   Defendants’ failure to take proper security measures to protect sensitive Personal

   Information of Plaintiffs and Class Members created conditions conducive to a foreseeable,

   intentional criminal act, namely the unauthorized access of Plaintiffs’ and Class Members’

   Personal Information.




                                                    73
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 80 of 158 PageID: 870




          426.     It was also foreseeable that Defendants’ failure to provide timely and adequate

   notice of the Data Breach would result in injury to Plaintiffs and Class Members as described in

   this Complaint.

          427.     Neither Plaintiffs nor the other Class Members contributed to the Data Breach and

   subsequent misuse of their Personal Information.

          428.     As a direct and proximate cause of Defendants’ conduct, Plaintiffs and Class

   Members suffered damages and will suffer damages including, but not limited to: damages arising

   from the unauthorized charges on their debit or credit cards or on cards that were fraudulently

   obtained through the use of the Personal Information of Plaintiff and Class Members; damages

   arising from identity theft or fraud; damages from lost time and effort to mitigate the actual and

   potential impact of the Data Breach on their lives including, inter alia, by placing “freezes” and

   “alerts” with credit reporting agencies, contacting their financial institutions, closing or modifying

   financial accounts, closely reviewing and monitoring their credit reports and accounts for

   unauthorized activity, and filing police reports and damages from identity theft, which may take

   years to discover and detect; and loss of the value of their privacy and confidentiality of the stolen

   confidential data, including health data.

                                                COUNT 2

                                     NEGLIGENCE PER SE
    On Behalf of Plaintiffs and the Nationwide Class, or Alternatively, on Behalf of Plaintiffs
                                  and the Statewide Subclasses

          429.     Plaintiffs repeat the allegations contained in the preceding paragraphs as if fully set

   forth herein.

          430.     Defendants are entities covered by HIPAA (45 C.F.R. § 160.102) and as such are

   required to comply with the HIPAA Privacy Rule and Security Rule, 45 C.F.R Part 160 and Part

   164, Subparts A and E (“Standards for Privacy of Individually Identifiable Health Information”),


                                                     74
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 81 of 158 PageID: 871




   and Security Rule (“Security Standards for the Protection of Electronic Protected Health

   Information”), 45 C.F.R. Part 160 and Part 164, Subparts A and C.

          431.    HIPAA requires Defendants to “reasonably protect” confidential data from “any

   intentional or unintentional use or disclosure” and to “have in place appropriate administrative,

   technical, and physical safeguards to protect the privacy of protected health information.” 45

   C.F.R. § 164.530(c)(1). HIPAA also requires Defendants to obtain satisfactory assurances that its

   business associates would appropriately safeguard the protected health information it receives or

   creates on behalf of the Defendants. 45 CFR § 164.502(e), 164.504(e), 164.532(d) and (e). The

   confidential data at issue in this case constitutes “protected health information” within the meaning

   of HIPAA. AMCA constitutes a “business associate” within the meaning of HIPAA.

          432.    HIPAA further requires Defendants to disclose the unauthorized access and theft

   of the Personal Information to Plaintiff and Class Members “without unreasonable delay” so that

   Plaintiffs and Class Members can take appropriate measures to mitigate damages, protect against

   adverse consequences, and thwart future misuse of their Personal Information. See 45 C.F.R. §§

   164.404, 406, 410.

          433.    Defendants violated HIPAA by failing to reasonably protect Plaintiffs’ and Class

   Members’ Personal Information, as described herein.

          434.    Defendants’ violations of HIPAA constitute negligence per se.

          435.    Plaintiffs and Class Members are within the class of persons that HIPAA was

   intended to protect.

          436.    The harm that occurred as a result of the Data Breach is the type of harm HIPAA

   was intended to guard against.




                                                    75
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 82 of 158 PageID: 872




          437.    Additionally, Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting

   commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice by

   businesses, such as Defendants, of failing to use reasonable measures to protect Personal

   Information. 15 U.S.C. § 45(a)(1).

          438.    The FTC publications and orders described above also form part of the basis of

   Defendants’ duty in this regard.

          439.    Defendants violated Section 5 of the FTC Act by failing to use reasonable measures

   to protect Personal Information and not complying with applicable industry standards.

   Defendants’ conduct was particularly unreasonable given the nature and amount of Personal

   Information it obtained, stored, and disseminated, and the foreseeable consequences of a data

   breach involving companies as large as Quest, including, specifically, the immense damages that

   would result to Plaintiffs and Class Members.

          440.    Defendants’ violations of Section 5 of the FTC Act constitute negligence per se.

          441.    Plaintiffs and Class Members are within the class of persons that the FTC Act was

   intended to protect.

          442.    The harm that occurred as a result of the Data Breach is the type of harm the FTC

   Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

   which, as a result of their failure to employ reasonable data security measures and avoid unfair and

   deceptive practices, caused the same harm as that suffered by Plaintiffs and Class Members.

          443.    As a direct and proximate result of Defendants’ negligence per se under HIPAA

   and the FTC Act, Plaintiffs and the Class have suffered, continue to suffer, and will suffer, injuries,

   damages, and harm as set forth herein.




                                                     76
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 83 of 158 PageID: 873




                                                COUNT 3

                                    UNJUST ENRICHMENT
    On Behalf of Plaintiffs and the Nationwide Class, or Alternatively, on Behalf of Plaintiffs
                                  and the Statewide Subclasses

            444.   Plaintiffs repeat the allegations contained in the preceding paragraphs as if fully set

   forth herein.

            445.   Plaintiffs and Class Members have an interest, both equitable and legal, in the

   Personal Information about them that was conferred upon, collected by, and maintained by

   Defendants and which was ultimately stolen in the Data Breach.

            446.   Defendants received a monetary benefit from Plaintiff and Class Members

   conferring upon them their Personal Information, which Defendants retain and use for business

   purposes and profit.

            447.   Plaintiffs’ and Class Members’ Personal Information was private and confidential

   and its value depended upon Defendants maintaining the privacy and confidentiality of that

   Personal Information.

            448.   But for Quest’s commitment to maintain the confidentiality and security of their

   Personal Information, Plaintiffs and Class Members would not have provided the information to

   Quest.

            449.   As a result of the wrongful conduct alleged herein, Defendants have been unjustly

   enriched at the expense of, and to the detriment of, Plaintiffs and Class Members. Among other

   things, Defendants continue to benefit and profit from the use of Plaintiffs’ and Class Members’

   Personal Information, while its value to Plaintiffs and Class Members has been diminished and its

   exposure has caused Plaintiffs and Class Members harm.




                                                     77
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 84 of 158 PageID: 874




          450.     Under the doctrine of unjust enrichment, it is inequitable for Defendants to be

   permitted to retain the benefits they received, and are still receiving, from Plaintiffs and Class

   Members.

          451.     Equity and good conscience require restitution by the Defendants in the amount of

   the benefit conferred on Defendants as a result of their wrongful conduct, including, specifically,

   the value to Defendants of the Personal Information that was stolen in the Data Breach and the

   resulting profits Defendants received and are receiving from the use of that information.

                                                COUNT 4

                                 DECLARATORY JUDGMENT
    On Behalf of Plaintiffs and the Nationwide Class, or Alternatively, on Behalf of Plaintiffs
                                  and the Statewide Subclasses

          452.     Plaintiffs repeat the allegations contained in the preceding paragraphs as if fully set

   forth herein.

          453.     As previously alleged, Plaintiffs and Class Members entered into an implied

   contract that required Defendants to provide adequate security for the Personal Information it

   collected from them. As previously alleged, Defendants owe duties of care to Plaintiff and Class

   Members that require them to adequately secure Personal Information.

          454.     Defendants still possess Personal Information pertaining to Plaintiffs and Class

   Members.

          455.     Defendants have made no announcement or notification that they have remedied

   the vulnerabilities in their practices and policies regarding ensuring the data security of patients’

   Personal Information.

          456.     Accordingly, Defendants have not satisfied their implied contractual allegations

   and legal duties to Plaintiffs and Class Members. In fact, now that Defendants’ lax approach

   towards data security has become public, the Personal Information in their possession and in their


                                                     78
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 85 of 158 PageID: 875




   vendors and business associates’ possession is more vulnerable than it was prior to announcement

   of the Data Breach.

          457.     Actual harm has arisen in the wake of the Data Breach regarding Defendants’

   contractual obligations and duties of care to provide data security measures to Plaintiffs and Class

   Members, including the fact that Class Members’ Personal Information was available for sale on

   the dark web.

          458.     Plaintiffs, therefore, seek a declaration that (a) Defendants’ existing data security

   measures do not comply with their obligations and duties of care, and (b) in order to comply with

   its contractual obligations and duties of care, Defendants must implement and maintain reasonable

   security measures, including, but not limited to:

                   a.     Modifying their practices and policies to ensure the vendors and business

          associates to which they provide patients’ Personal Information engage third-party security

          auditors/penetration testers as well as internal security personnel to conduct testing,

          including simulated attacks, penetration tests, and audits on their systems on a periodic

          basis, and ordering vendors and business associates to promptly correct any problems or

          issues detected by such third-party security auditors;

                   b.     Modifying their practices and policies to ensure the vendors and business

          associates to which they provide patients’ Personal Information engage third-party security

          auditors and internal personnel to run automated security monitoring;

                   c.     Modifying their practices and policies to ensure the vendors and business

          associates to which they provide patients’ Personal Information audit, test, and train

          security personnel regarding any new or modified procedures;




                                                    79
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 86 of 158 PageID: 876




                   d.     Modifying their practices and policies to ensure the vendors and business

          associates to which they provide patients’ Personal Information segment Personal

          Information by, among other things, creating firewalls and access controls so that if one

          area of a system is compromised, hackers cannot gain access to other portions of the

          systems;

                   e.     Modifying their practices and policies to ensure only Personal Information

          necessary for provision of services is provided to vendors and business associates;

                   f.     Modifying their practices and policies to ensure Personal Information not

          necessary for the provision of services is purged, deleted, and destroyed, and to ensure its

          vendors and business associates likewise purge, delete, and destroy such Personal

          Information;

                   g.     Conducting regular security checks of the vendors and business associates

          to which it provides patients’ Personal Information;

                   h.     Routinely and continually conduct internal training and education to inform

          internal security personnel how to monitor the data security of vendors and business

          associates to whom patients’ Personal Information is provided; and

                   i.     Educating its patients about the threats they face as a result of the loss of

          their financial and personal information to third parties, as well as the steps Defendants’

          patients must take to protect themselves.

                                                COUNT 5

                              BREACH OF IMPLIED CONTRACT
    On Behalf of Plaintiffs and the Nationwide Class, or Alternatively, on Behalf of Plaintiffs
                                  and the Statewide Subclasses

          459.     Plaintiffs repeat the allegations set forth in the preceding paragraphs as if fully set

   forth herein.


                                                     80
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 87 of 158 PageID: 877




             460.   Plaintiffs and Class Members were required to provide their Personal Information,

   including names, addresses, Social Security numbers, financial information, and other personal

   information, to Quest in order to complete medical and diagnostic tests.

             461.   When Plaintiffs and Class Members provided their Personal Information to Quest

   in exchange for services, they entered into implied contracts with Quest and its business associate,

   Optum360, pursuant to which Defendants agreed to safeguard and protect such information and to

   timely and adequately notify them if their data had been breached and compromised.

             462.   Plaintiffs and the Class Members would not have provided and entrusted their

   Personal Information to Defendants in the absence of the implied contract to keep the information

   secure.

             463.   Plaintiffs and the Class Members fully performed their obligations under the

   implied contract with Defendants by providing their Personal Information, whereas Defendants

   did not comply with their obligations to keep the information secure.

             464.   Defendants breached the implied contracts with Plaintiffs and Class Members by

   failing to reasonably safeguard and protect Plaintiffs and Class Members’ Personal Information,

   which was compromised as a result of the Data Breach.

             465.   As a direct and proximate result of Defendants’ breach of their implied contacts

   with Plaintiffs and Class Members, Plaintiffs and Class Members have suffered and will suffer

   injury, including but not limited to: (i) the loss of the opportunity as to how their Personal

   Information is used; (ii) the compromise, publication, and/or theft of their Personal Information;

   (iii) out-of-pocket expenses associated with the prevention, detection, and recovery from identity

   theft, tax fraud, and/or unauthorized use of their Personal Information; (iv) lost opportunity costs

   associated with effort expended and the loss of productivity addressing and attempting to mitigate




                                                   81
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 88 of 158 PageID: 878




   the actual and future consequences of the Data Breach, including but not limited to efforts spent

   researching how to prevent, detect, contest and recover from tax fraud and identity theft; (v) costs

   associated with placing freezes on credit reports; (vi) the continued risk to their Personal

   Information, which remains in Defendants’ possession and is subject to further unauthorized

   disclosures so long as Defendants fail to undertake appropriate and adequate measures to protect

   the Personal Information in their continued possession; and, (vii) future costs in terms of time,

   effort and money that will be expended to prevent, detect, contest, and repair the impact of the

   Personal Information compromised as a result of the Data Breach for the remainder of the lives of

   Plaintiffs and Class Members.

                                                COUNT 6

             NEW JERSEY CONSUMER FRAUD ACT, N.J.S.A. § 56:8-1, et seq.
   On Behalf of Plaintiffs and the Nationwide Class against Defendant Quest, or Alternatively,
                 on Behalf of the New Jersey Subclass against Both Defendants

          466.     Plaintiffs repeat the allegations contained in the preceding paragraphs as if fully set

   forth herein.

          467.     The New Jersey Consumer Fraud Act (the “NJCFA”), N.J.S.A. § 56:8-1, et seq.,

   prohibits the act, use or employment by any person of any unconscionable commercial practice,

   deception, fraud, false pretense, false promise, misrepresentation, or the knowing, concealment,

   suppression or omission, in connection with the sale or advertisement of any merchandise. The

   NJCFA applies whether or not any person has in fact been misled, deceived or damaged thereby.

   N.J.S.A. § 56:8-2.

          468.     Plaintiffs, Defendants, and Class Members are “persons” within the meaning of

   N.J.S.A. § 56:8-1(d).

          469.     Defendants sell “merchandise,” as defined by N.J.S.A. § 56:8-1, by offering health

   benefits services to the public.


                                                     82
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 89 of 158 PageID: 879




          470.     Defendants, operating in New Jersey, engaged in unconscionable and deceptive

   acts and practices, misrepresentation, and the concealment, suppression, and omission of material

   facts with respect to the sale and advertisement of health benefits services in violation of N.J.S.A.

   § 56:8-2, including but not limited to the following:

                   a.     Misrepresenting material facts, pertaining to the sale of health benefits

          services, to the Plaintiffs and Class Members by representing that they would maintain

          adequate data security practices and procedures to safeguard Plaintiffs’ and Class

          Members’ Personal Information from unauthorized disclosure, release, data breaches, and

          theft;

                   b.     Misrepresenting material facts, pertaining to the sale of health benefits

          services, to the Plaintiffs and Class Members by representing that it did and would comply

          with the requirements of relevant federal and state laws pertaining to the privacy and

          security of Plaintiffs’ and Class Members’ Personal Information;

                   c.     Knowingly omitting, suppressing, and concealing the material fact of the

          inadequacy of the privacy and security protections for Plaintiffs’ and Class Members’

          Personal Information with the intent that Plaintiffs and Class Members rely on the

          omission, suppression, and concealment;

                   d.     Engaging in unconscionable and deceptive acts and practices with respect

          to the sale of health benefit services by failing to adequately monitor and audit the data

          security systems of its vendors and business associates and failing to maintain the privacy

          and security of Plaintiffs and Class Members’ Personal Information in violation of duties

          imposed by and public policies reflected in the FTC Act and HIPAA;




                                                    83
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 90 of 158 PageID: 880




                  e.      Engaging in unconscionable and deceptive acts and practices by failing to

          disclose the Data Breach to Plaintiffs and Class Members in a timely and accurate manner

          in violation of N.J.S.A. § 56:8-163;

                  f.      Advertising Quest’s medical treatments with the intent not to sell it as

          advertise—i.e. with worse data security than advertised; and

                  g.      Representing on its website that it is “committed to protecting the privacy

          of your identifiable health information,” when, in fact, Quest failed to safeguard customers’

          information by providing it to AMCA, which had deficient data security protection.

          471.    The above unlawful and deceptive acts and practices by Defendants were immoral,

   unethical, oppressive, and unscrupulous. These acts caused substantial injury to consumers that

   the consumers could not reasonably avoid. This substantial injury outweighed any benefits to

   consumers or to competition.

          472.    Defendants knew or should have known that their data security practices were

   inadequate to safeguard Plaintiffs’ and Class Members’ Personal Information and that the risk of

   a data breach was highly likely. Defendants’ actions in engaging in the above-listed unfair

   practices and deceptive acts were negligent, knowing and willful, and/or wanton and reckless with

   respect to the rights of Plaintiffs and Class Members.

          473.    Plaintiffs and Class Members reasonably expected that Defendants would protect

   their Personal Information and reasonably expected that Defendants would provide truthful

   statements on their website and privacy policies, and that it would be safe to provide Quest with

   their information. These representations and affirmations of fact made by Defendants, and the

   facts they concealed or failed to disclose, are material facts that were likely to deceive reasonable

   consumers, and that reasonable consumers would, and did, rely upon in deciding whether or not




                                                    84
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 91 of 158 PageID: 881




   to provide their information to Quest. Defendants, moreover, intended for consumers, including

   Plaintiffs and Class Members, to rely on these material facts.

          474.     As a direct and proximate result of Defendants’ unconscionable and deceptive acts

   and practices, Plaintiffs and Class Members suffered an ascertainable loss in moneys or property,

   real or personal, as described above, including the loss of their legally protected interest in the

   confidentiality and privacy of their Personal Information.

          475.     Plaintiffs and Class Members seek relief under N.J.S.A. § 56:8-19, including but

   not limited to, injunctive relief, other equitable relief, actual damages, treble damages, and

   attorneys’ fees and costs.

                                                COUNT 7

                           MINNESOTA CONSUMER FRAUD ACT,
                  Minn. Stat. §§ 325F.68, et seq. and Minn. Stat. §§ 8.31, et seq.
        On Behalf of Plaintiffs and the Nationwide Class against Defendant Optum360, or
          Alternatively, on Behalf of the Minnesota Subclass against Both Defendants

          476.     Plaintiffs repeat the allegations contained in the preceding paragraphs as if fully set

   forth herein.

          477.     Defendants, Plaintiffs, and Class Members are each a “person” as defined by Minn.

   Stat. § 325F.68(3).

          478.     Defendants’ goods, services, commodities, and intangibles are “merchandise” as

   defined by Minn. Stat. § 325F.68(2).

          479.     Defendants engaged in “sales” as defined by Minn. Stat. § 325F.68(4).

          480.     Defendants engaged in fraud, false pretense, false promise, misrepresentation,

   misleading statements, and deceptive practices in connection with the sale of merchandise, in

   violation of Minn. Stat. § 325F.69(1), including:




                                                     85
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 92 of 158 PageID: 882




                a.     Failing to implement and maintain reasonable security and privacy

         measures to protect Plaintiffs’ and Class Members’ Personal Information, which was a

         direct and proximate cause of the Data Breach;

                b.     Failing to identify foreseeable security and privacy risks, remediate

         identified security and privacy risks, and adequately improve security and privacy

         measures following previous cybersecurity incidents, which was a direct and proximate

         cause of the Data Breach;

                c.     Failing to comply with common law and statutory duties pertaining to the

         security and privacy of Plaintiff and Class Members’ Personal Information, including

         duties imposed by the FTC Act, 15 U.S.C. § 45, and HIPAA which was a direct and

         proximate cause of the Data Breach;

                d.     Misrepresenting that it would protect the privacy and confidentiality of

         Plaintiffs’ and Class Members’ Personal Information, including by implementing and

         maintaining reasonable security measures and ensuring its vendors and business associates

         maintained reasonable security measures;

                e.     Misrepresenting that it would comply with common law and statutory duties

         pertaining to the security and privacy of Plaintiffs’ and Class Members’ Personal

         Information, including duties imposed by the FTC Act, 15 U.S.C. § 45 and HIPAA;

                f.     Omitting, suppressing, and concealing the material fact that it did not

         reasonably or adequately secure Plaintiffs’ and Class Members’ Personal Information or

         ensure its vendors and business associates reasonably or adequately secured such

         information; and




                                                86
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 93 of 158 PageID: 883




                  g.      Omitting, suppressing, and concealing the material fact that it did not

          comply with common law and statutory duties pertaining to the security and privacy of

          Plaintiffs and Class Members’ Personal Information, including duties imposed by the FTC

          Act, 15 U.S.C. § 45, and HIPAA.

          481.    Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.

          482.    Defendants intended to mislead Plaintiffs and Class Members and induce them to

   rely on their misrepresentations and omissions.

          483.    Defendants’ fraudulent, misleading, and deceptive practices affected the public

   interest, including those affected by the Data Breach.

          484.    As a direct and proximate result of Defendants’ fraudulent, misleading, and

   deceptive practices, Plaintiffs and Class Members have suffered and will continue to suffer injury,

   ascertainable losses of money or property, and monetary and non-monetary damages; losses from

   fraud and identity theft; costs for credit monitoring and identity protection services; time and

   expenses related to monitoring their financial accounts for fraudulent activity; loss of value of their

   Personal Information; and an increased, imminent risk of fraud and identity theft.

          485.    Plaintiff and Class Members seek all monetary and non-monetary relief allowed by

   law, including damages; injunctive or other equitable relief; and attorneys’ fees, disbursements,

   and costs.




                                                     87
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 94 of 158 PageID: 884




                                                COUNT 8

             MINNESOTA UNIFORM DECEPTIVE TRADE PRACTICES ACT,
                                  Minn. Stat. §§ 325D.43, et seq.
        On Behalf of Plaintiffs and the Nationwide Class against Defendant Optum360, or
          Alternatively, on Behalf of the Minnesota Subclass against Both Defendants

          486.     Plaintiffs repeat the allegations contained in the preceding paragraphs as if fully set

   forth herein.

          487.     By engaging in deceptive trade practices in the course of their businesses and

   vocations, directly or indirectly affecting the people of Minnesota, Defendants violated Minn. Stat.

   § 325D.44, including the following provisions:

                   a.     Representing that their goods and services had characteristics, uses, and

          benefits that they did not have, in violation of Minn. Stat. § 325D.44(1)(5);

                   b.     Representing that goods and services are of a particular standard or quality

          when they are of another, in violation of Minn. Stat. § 325D.44(1)(7);

                   c.     Advertising goods and services with intent not to sell them as advertised, in

          violation of Minn. Stat. § 325D.44(1)(9); and

                   d.     Engaging in other conduct which similarly creates a likelihood of confusion

          or misunderstanding, in violation of Minn. Stat. § 325D.44(1)(13).

          488.     Defendants’ deceptive practices include:

                   a.     Failing to implement and maintain reasonable security and privacy

          measures to protect Plaintiffs and Class Members’ Personal Information, which was a

          direct and proximate cause of the Data Breach;

                   b.     Failing to identify foreseeable security and privacy risks, remediate

          identified security and privacy risks, and adequately improve security and privacy




                                                     88
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 95 of 158 PageID: 885




         measures following previous cybersecurity incidents, which was a direct and proximate

         cause of the Data Breach;

                c.     Failing to comply with common law and statutory duties pertaining to the

         security and privacy of Plaintiffs’ and Class Members’ Personal Information, including

         duties imposed by the FTC Act, 15 U.S.C. § 45, and HIPAA, was a direct and proximate

         cause of the Data Breach;

                d.     Misrepresenting that they would protect the privacy and confidentiality of

         Plaintiffs and Class Members’ Personal Information, including by implementing and

         maintaining reasonable security measures and ensuring their vendors and business

         associates maintained reasonable security measures;

                e.     Misrepresenting that they would comply with common law and statutory

         duties pertaining to the security and privacy of Plaintiffs’ and Class Members’ Personal

         Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and HIPAA;

                f.     Omitting, suppressing, and concealing the material fact that they did not

         reasonably or adequately secure Plaintiffs and Class Members’ Personal Information or

         ensure their vendors and business associates reasonably or adequately secured such

         information; and

                g.     Omitting, suppressing, and concealing the material fact that they did not

         comply with common law and statutory duties pertaining to the security and privacy of

         Plaintiffs’ and Class Members’ Personal Information, including duties imposed by the FTC

         Act, 15 U.S.C. § 45, and HIPAA.




                                                89
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 96 of 158 PageID: 886




          489.    Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.

          490.    Defendants intended to mislead Plaintiff and Class Members and induce them to

   rely on their misrepresentations and omissions.

          491.    Had Defendants disclosed to Plaintiffs and Class members that AMCA’s data

   systems were not secure and, thus, vulnerable to attack, Defendants would have been unable to

   continue in business and they would have been forced to use vendors and business associates with

   reasonable data security measures and comply with the law. Instead, Defendants received,

   maintained, and compiled Plaintiffs’ and Class Members’ Personal Information as part of the

   services they provided without advising Plaintiffs and Class Members that AMCA’s data security

   practices were insufficient to maintain the safety and confidentiality of Plaintiffs’ and Class

   Members’ Personal Information. Accordingly, Plaintiffs and Class Members acted reasonably in

   relying on Defendants’ misrepresentations and omissions, the truth of which they could not have

   discovered.

          492.    Defendants acted intentionally, knowingly, and maliciously to violate Minnesota’s

   Uniform Deceptive Trade Practices Act, and recklessly disregarded Plaintiffs’ and Class

   Members’ rights. Quest’s past data breaches and breaches within the medical industry put them

   on notice that their security and privacy protections were inadequate.

          493.    As a direct and proximate result of Defendants’ deceptive trade practices, Plaintiff

   and Class Members have suffered and will continue to suffer injury, ascertainable losses of money

   or property, and monetary and non-monetary damages, including losses from fraud and identity

   theft; costs for credit monitoring and identity protection services; time and expenses related to




                                                     90
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 97 of 158 PageID: 887




   monitoring their financial accounts for fraudulent activity; loss of value of their Personal

   Information; and an increased, imminent risk of fraud and identity theft.

          494.    Plaintiffs and Class Members seek all relief allowed by law, including injunctive

   relief and reasonable attorneys’ fees and costs.

                   CLAIMS ON BEHALF OF THE CALIFORNIA SUBCLASS

                                                COUNT 9

          CALIFORNIA CONFIDENTIALITY OF MEDICAL INFORMATION ACT,
                           Cal. Civ. Code §§ 56, et seq.

          495.    The California Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the California Subclass, repeat the allegations contained in the

   preceding paragraphs as if fully set forth herein.

          496.    California’s Confidentiality of Medical Information Act (“CMIA”) requires a

   healthcare provider “who creates, maintains, preserves, stores, abandons, destroys, or disposes of

   medical information [to] do so in a manner that preserves the confidentiality of the information

   contained therein.” Cal. Civ. Code § 56.101. “Every provider of health care, health care service

   plan, pharmaceutical company, or contractor who negligently creates, maintains, preserves, stores,

   abandons, destroys, or disposes of medical information shall be subject to the remedies and

   penalties provided under subdivisions (b) and (c) of Section 56.36.” Id.

          497.    The CMIA further requires that “[a]n electronic health record system or electronic

   medical record system . . . [p]rotect and preserve the integrity of electronic medical information.”

   Cal. Civ. Code § 56.101(b)(1)(A).

          498.    Plaintiff and California Subclass members are “patient[s],” “whether or not still

   living, who received health care services from a provider of health care and to whom medical

   information pertains” pursuant to § 56.05(k) of the CMIA.



                                                      91
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 98 of 158 PageID: 888




          499.     Defendants are each a “provider of healthcare” pursuant to § 56.05(m) of the CMIA

   “who creates, maintains, preserves, stores, abandons, destroys, or disposes of medical

   information.”

          500.     Defendants are subject to the requirements and mandates of the CMIA.

          501.     The Personal Information of Plaintiff and California Subclass members

   compromised in the Data Breach constitutes “medical information” maintained in electronic form

   pursuant to § 56.05(j) of the CMIA.

          502.     Defendants violated § 56.36(b) of the CMIA by negligently maintaining,

   preserving, storing and releasing the Personal Information of Plaintiff and California Subclass

   members, and failing to protect and preserve the integrity of the Personal Information of Plaintiff

   and California Subclass members.

          503.     Plaintiff and California Subclass members did not authorize Defendants’ disclosure

   and release of their Personal Information that occurred in the Data Breach.

          504.     As a result of the Data Breach, the Personal Information of Plaintiff and California

   Subclass members was compromised when it was acquired and accessed by unauthorized parties.

          505.     Defendants violated the CMIA by negligently (1) failing to implement reasonable

   administrative, physical and technical safeguards to protect, secure and prevent the unauthorized

   access to, and acquisition of, Plaintiff’s and California Subclass members’ Personal Information;

   (2) failing to implement reasonable data security measures, such as intrusion detection processes

   that detect data breaches in a timely manner, to protect and secure Plaintiff’s and California

   Subclass members’ Personal Information and ensuring their vendors and business associates

   implemented such measures; (3) failing to use reasonable authentication procedures to track

   Personal Information in case of a security breach and ensuring their vendors and business




                                                    92
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 99 of 158 PageID: 889




   associates implemented such measures; and (4) allowing undetected and unauthorized access to

   servers, networks and systems where Plaintiff’s and California Subclass members’ Personal

   Information was kept.

          506.    Defendants’ failure to implement adequate data security measures to protect the

   Personal Information of Plaintiff and California Subclass members was a substantial factor in

   allowing unauthorized parties to access AMCA’s computer systems and acquire the Personal

   Information of Plaintiff and California Subclass members.

          507.    As a direct and proximate result of Defendants’ violation of the CMIA, Defendants

   allowed the Personal Information of Plaintiff and California Subclass members to: (a) escape and

   spread from its normal place of storage through unauthorized disclosure or release; and (b) be

   accessed and acquired by unauthorized parties in order to, on information and belief, view, mine,

   exploit, use, and/or profit from their Personal Information, thereby breaching the confidentiality

   of their Personal Information. Plaintiff and California Subclass members have accordingly

   sustained and will continue to sustain actual damages as set forth above.

          508.    Plaintiff and California Subclass members seek nominal, actual and statutory

   damages pursuant to § 56.36(b)(1) of the CMIA.

          509.    Plaintiff and California Subclass members also seek reasonable attorneys’ fees and

   costs under applicable law including Federal Rule of Civil Procedure 23, Civil Code § 56.35, and

   California Code of Civil Procedure § 1021.5.




                                                  93
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 100 of 158 PageID: 890




                                               COUNT 10

                           CALIFORNIA CUSTOMER RECORDS ACT,
                                Cal. Civ. Code §§ 1798.80, et seq.

          510.    The California Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the California Subclass, repeat the allegations contained in the

   preceding paragraphs as if fully set forth herein.

          511.    “[T]o ensure that Personal Information about California residents is protected,” the

   California legislature enacted Cal. Civ. Code § 1798.81.5, which requires that any business that

   “owns, licenses, or maintains Personal Information about a California resident shall implement

   and maintain reasonable security procedures and practices appropriate to the nature of the

   information, to protect the Personal Information from unauthorized access, destruction, use,

   modification, or disclosure.”

          512.    Defendants are businesses that own, maintain, and license Personal Information,

   within the meaning of Cal. Civ. Code § 1798.81.5, about Plaintiff and California Subclass

   members.

          513.    Businesses that own or license computerized data that includes Personal

   Information are required to notify California residents when their Personal Information has been

   acquired (or is reasonably believed to have been acquired) by unauthorized persons in a data

   security breach “in the most expedient time possible and without unreasonable delay.” Cal. Civ.

   Code § 1798.82. Among other requirements, the security breach notification must include “the

   types of Personal Information that were or are reasonably believed to have been the subject of the

   breach.” Cal. Civ. Code § 1798.82.

          514.    Defendants are businesses that own or license computerized data that includes

   Personal Information as defined by Cal. Civ. Code § 1798.82.



                                                    94
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 101 of 158 PageID: 891




            515.   Plaintiff and California Subclass members’ Personal Information includes Personal

   Information as covered by Cal. Civ. Code § 1798.82.

            516.   Because Defendants reasonably believed that Plaintiff’s and California Subclass

   members’ Personal Information was acquired by unauthorized persons during the Data Breach,

   Defendants had an obligation to disclose the Data Breach in a timely and accurate fashion as

   mandated by Cal. Civ. Code § 1798.82.

            517.   By failing to disclose the Data Breach in a timely and accurate manner, Defendants

   violated Cal. Civ. Code § 1798.82.

            518.   As a direct and proximate result of Defendants’ violations of the Cal. Civ. Code §§

   1798.81.5 and 1798.82, Plaintiff and California Subclass members suffered damages, as described

   above.

            519.   Plaintiff and California Subclass members seek relief under Cal. Civ. Code §

   1798.84, including actual damages and injunctive relief.

                                                COUNT 11

                          CALIFORNIA UNFAIR COMPETITION LAW,
                             Cal. Bus. & Prof. Code §§ 17200, et seq.

            520.   The California Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the California Subclass, repeat the allegations contained in the

   preceding paragraphs as if fully set forth herein.

            521.   Defendants are each a “person” as defined by Cal. Bus. & Prof. Code §17201.

            522.   Defendants violated Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”) by engaging

   in unlawful, unfair, and deceptive business acts and practices.

            523.   Defendants’ “unfair” acts and practices include:




                                                     95
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 102 of 158 PageID: 892




                  a.     Failing to implement and maintain reasonable security measures to protect

          Plaintiff and California Subclass members’ Personal Information from unauthorized

          disclosure, release, data breaches, and theft, which was a direct and proximate cause of the

          Data Breach. Defendants failed to identify foreseeable security risks, remediate identified

          security risks, and adequately improve security following previous cybersecurity incidents.

          This conduct, with little if any utility, is unfair when weighed against the harm to Plaintiff

          and the California Subclass, whose Personal Information has been compromised.

                  b.     Failing to implement and maintain reasonable security measures also was

          contrary to legislatively-declared public policy that seeks to protect consumers’ data and

          ensure that entities that are trusted with it use appropriate security measures. These policies

          are reflected in laws, including the FTC Act, 15 U.S.C. § 45, HIPAA, and California’s

          Consumer Records Act, Cal. Civ. Code § 1798.81.5.

                  c.     Failing to implement and maintain reasonable security measures also led to

          substantial consumer injuries, as described above, that are not outweighed by any

          countervailing benefits to consumers or competition. Moreover, because consumers could

          not know of AMCA’s inadequate security, consumers could not have reasonably avoided

          the harms that Defendants caused.

                  d.     Engaging in unlawful business practices by violating Cal. Civ. Code §

          1798.82.

          524.    Defendants have engaged in “unlawful” business practices by violating multiple

   laws, including California’s Consumer Records Act, Cal. Civ. Code §§ 1798.81.5 (requiring

   reasonable data security measures) and 1798.82 (requiring timely breach notification), California’s




                                                    96
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 103 of 158 PageID: 893




   Consumers Legal Remedies Act, Cal. Civ. Code §§ 1780, et seq., the FTC Act, 15 U.S.C. § 45,

   HIPAA, and California common law.

          525.   Defendants’ unlawful, unfair, and deceptive acts and practices include:

                 a.      Failing to implement and maintain reasonable security and privacy

          measures to protect Plaintiff and California Subclass members’ Personal Information,

          which was a direct and proximate cause of the Data Breach;

                 b.      Failing to identify foreseeable security and privacy risks, remediate

          identified security and privacy risks, and adequately improve security and privacy

          measures following previous cybersecurity incidents, which was a direct and proximate

          cause of the Data Breach;

                 c.      Failing to comply with common law and statutory duties pertaining to the

          security and privacy of Plaintiff and California Subclass members’ Personal Information,

          including duties imposed by the FTC Act, 15 U.S.C. § 45, HIPAA, and California’s

          Customer Records Act, Cal. Civ. Code §§ 1798.80, et seq., which was a direct and

          proximate cause of the Data Breach;

                 d.      Misrepresenting that they would protect the privacy and confidentiality of

          Plaintiff and California Subclass members’ Personal Information, including by

          implementing and maintaining reasonable security measures and ensuring their vendors

          and business associates maintained reasonable security measures;

                 e.      Misrepresenting that they would comply with common law and statutory

          duties pertaining to the security and privacy of Plaintiff and California Subclass members’

          Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, HIPAA,

          and California’s Customer Records Act, Cal. Civ. Code §§ 1798.80, et seq.;




                                                  97
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 104 of 158 PageID: 894




                  f.      Omitting, suppressing, and concealing the material fact that they did not

          reasonably or adequately secure Plaintiff and California Subclass members’ Personal

          Information; and

                  g.      Omitting, suppressing, and concealing the material fact that they did not

          comply with common law and statutory duties pertaining to the security and privacy of

          Plaintiff and California Subclass members’ Personal Information, including duties imposed

          by the FTC Act, 15 U.S.C. § 45, HIPAA, and California’s Customer Records Act, Cal. Civ.

          Code §§ 1798.80, et seq.

          526.    Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.

          527.    As a direct and proximate result of Defendants’ unfair, unlawful, and fraudulent

   acts and practices, Plaintiff and California Subclass members were injured and lost money or

   property, the price received by Defendants for their goods and services; losses from fraud and

   identity theft; costs for credit monitoring and identity protection services; time and expenses

   related to monitoring their financial accounts for fraudulent activity; loss of value of their Personal

   Information; and an increased, imminent risk of fraud and identity theft.

          528.    Defendants acted intentionally, knowingly, and maliciously to violate California’s

   Unfair Competition Law, and recklessly disregarded Plaintiff and California Subclass members’

   rights. Quest’s past data breaches and breaches within the medical industry put them on notice

   that their security and privacy protections were inadequate.

          529.    Plaintiff and California Subclass members seek all monetary and non-monetary

   relief allowed by law, including restitution of all profits stemming from Defendants’ unfair,




                                                     98
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 105 of 158 PageID: 895




   unlawful, and fraudulent business practices or use of their Personal Information; declaratory relief;

   reasonable attorneys’ fees and costs under California Code of Civil Procedure § 1021.5; injunctive

   relief; and other appropriate equitable relief.

                                                COUNT 12

                       CALIFORNIA CONSUMER LEGAL REMEDIES ACT,
                                Cal. Civ. Code §§ 1750, et seq.

           530.    The California Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the California Subclass, repeat the allegations contained in the

   preceding paragraphs as if fully set forth herein.

           531.    The Consumers Legal Remedies Act, Cal. Civ. Code §§ 1750, et seq. (“CLRA”) is

   a comprehensive statutory scheme that is to be liberally construed to protect consumers against

   unfair and deceptive business practices in connection with the conduct of businesses providing

   goods, property or services to consumers primarily for personal, family, or household use.

           532.    Defendants are each a “person” as defined by Civil Code §§ 1761(c) and 1770, and

   have provided “services” as defined by Civil Code §§ 1761(b) and 1770.

           533.    Civil Code section 1770, subdivision (a)(5) prohibits one who is involved in a

   transaction from “[r]epresenting that goods or services have sponsorship, approval, characteristics,

   ingredients, uses, benefits, or quantities which they do not have.”

           534.    Civil Code section 1770, subdivision (a)(7) prohibits one who is involved in a

   transaction from “[r]epresenting that goods or services are of a particular standard, quality, or

   grade . . . if they are of another.”

           535.    Plaintiff and California Subclass members are “consumers” as defined by Civil

   Code §§ 1761(d) and 1770, and have engaged in a “transaction” as defined by Civil Code §§

   1761(e) and 1770.



                                                     99
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 106 of 158 PageID: 896




          536.    Defendants’ acts and practices were intended to and did result in the sales of

   products and services to Plaintiff and the California Subclass members in violation of Civil Code

   § 1770, including, but not limited to, the following:

                  a.      Representing that goods or services have characteristics that they do not

          have;

                  b.      Representing that goods or services are of a particular standard, quality, or

          grade when they were not;

                  c.      Advertising goods or services with intent not to sell them as advertised; and

                  d.      Representing that the subject of a transaction has been supplied in

          accordance with a previous representation when it has not.

          537.    Defendants’ representations and omissions were material because they were likely

   to and did deceive reasonable consumers about the adequacy of AMCA’s data security and ability

   to protect the confidentiality of consumers’ Personal Information.

          538.    Had Defendants disclosed to Plaintiffs and Class members that AMCA’s data

   systems were not secure and, thus, vulnerable to attack, Defendants would have been unable to

   continue in business and they would have been forced to use vendors and business associates with

   reasonable data security measures and comply with the law. Instead, Defendants received,

   maintained, and compiled Plaintiffs’ and California Subclass members’ Personal Information as

   part of the services they provided without advising Plaintiffs and California Subclass members

   that AMCA’s data security practices were insufficient to maintain the safety and confidentiality of

   Plaintiffs’ and Class members’ Personal Information. Accordingly, Plaintiff and California

   Subclass members acted reasonably in relying on Defendants’ misrepresentations and omissions,

   the truth of which they could not have discovered.




                                                   100
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 107 of 158 PageID: 897




          539.    As a direct and proximate result of Defendants’ violations of California Civil Code

   § 1770, Plaintiff and California Subclass members have suffered and will continue to suffer injury,

   ascertainable losses of money or property, and monetary and non-monetary damages, including;

   costs for credit monitoring and identity protection services; time and expenses related to

   monitoring their financial accounts for fraudulent activity; loss of value of their Personal

   Information; and an increased, imminent risk of fraud and identity theft.

          540.    Plaintiff and California Subclass members have provided notice of their claims for

   damages to Defendants, in compliance with California Civil Code § 1782(a).

          541.    Plaintiff and California Subclass members seek all monetary and non-monetary

   relief allowed by law, including damages, an order enjoining the acts and practices described

   above, attorneys’ fees, and costs under the CLRA.

                    CLAIMS ON BEHALF OF THE COLORADO SUBCLASS

                                               COUNT 13

                   COLORADO SECURITY BREACH NOTIFICATION ACT,
                           Colo. Rev. Stat. §§ 6-1-716, et seq.

          542.    The Colorado Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Colorado Subclass, repeat the allegations contained in the

   preceding paragraphs as if fully set forth herein.

          543.    Defendants are businesses that owns or licenses computerized data that includes

   Personal Information as covered by Colo. Rev. Stat. §§ 6-1-716(1)(g) and 6-1-716(2).

          544.    Plaintiff and Colorado Subclass members’ Personal Information includes Personal

   Information as defined by Colo. Rev. Stat. §§ 6-1-716(1) and 6-1-716(2).




                                                   101
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 108 of 158 PageID: 898




          545.    Defendants are required to accurately notify Plaintiff and Colorado Subclass

   members if they become aware of a breach of their data security system in the most expedient time

   possible and without unreasonable delay under Colo. Rev. Stat. § 6-1-716(2).

          546.    Because Defendants were aware of a breach of AMCA’s security system that

   involved Plaintiff and Colorado Subclass members’ Personal Information that Defendants

   provided to AMCA, they had an obligation to disclose the data breach in a timely and accurate

   fashion as mandated by Colo. Rev. Stat. § 6-1-716(2).

          547.    By failing to disclose the Data Breach in a timely and accurate manner, Defendants

   violated Colo. Rev. Stat. § 6-1-716(2).

          548.    As a direct and proximate result of Defendants’ violations of Colo. Rev. Stat. § 6-

   1-716(2), Plaintiff and Colorado Subclass members suffered damages, as described above.

          549.    Plaintiff and Colorado Subclass members seek relief under Colo. Rev. Stat. § 6-1-

   716(4), including actual damages and equitable relief.

                      CLAIMS ON BEHALF OF THE FLORIDA SUBCLASS

                                               COUNT 14

               FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT,
                             Fla. Stat. §§ 501.201, et seq.

          550.    The Florida Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Florida Subclass, repeat the allegations contained in the preceding

   paragraphs as if fully set forth herein.

          551.    Plaintiff and Florida Subclass members are “consumers” as defined by Fla. Stat. §

   501.203.

          552.    Defendants advertised, offered, or sold goods or services in Florida and engaged in

   trade or commerce directly or indirectly affecting the people of Florida.



                                                   102
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 109 of 158 PageID: 899




          553.    Defendants engaged in unconscionable, unfair, and deceptive acts and practices in

   the conduct of trade and commerce, in violation of Fla. Stat. § 501.204(1), including:

                  a.     Failing to implement and maintain reasonable security and privacy

          measures to protect Plaintiff and Florida Subclass members’ Personal Information, which

          was a direct and proximate cause of the Data Breach;

                  b.     Failing to identify foreseeable security and privacy risks, remediate

          identified security and privacy risks, and adequately improve security and privacy

          measures following previous cybersecurity incidents, which was a direct and proximate

          cause of the Data Breach;

                  c.     Failing to comply with common law and statutory duties pertaining to the

          security and privacy of Plaintiff and Florida Subclass members’ Personal Information,

          including duties imposed by the FTC Act, 15 U.S.C. § 45, HIPAA, and Florida’s data

          security statute, F.S.A. § 501.171(2), which was a direct and proximate cause of the Data

          Breach;

                  d.     Misrepresenting that they would protect the privacy and confidentiality of

          Plaintiff and Florida Subclass members’ Personal Information, including by implementing

          and maintaining reasonable security measures and ensuring their vendors and business

          associates maintained reasonable security measures;

                  e.     Misrepresenting that they would comply with common law and statutory

          duties pertaining to the security and privacy of Plaintiff and Florida Subclass members’

          Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, HIPAA,

          and Florida’s data security statute, F.S.A. § 501.171(2);




                                                  103
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 110 of 158 PageID: 900




                 f.      Omitting, suppressing, and concealing the material fact that they did not

          reasonably or adequately secure Plaintiff and Florida Subclass members’ Personal

          Information or ensure their vendors and business associates reasonably or adequately

          secured such information; and

                 g.      Omitting, suppressing, and concealing the material fact that they did not

          comply with common law and statutory duties pertaining to the security and privacy of

          Plaintiff and Florida Subclass members’ Personal Information, including duties imposed

          by the FTC Act, 15 U.S.C. § 45, HIPAA, and Florida’s data security statute, F.S.A. §

          501.171(2).

          554.   Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.

          555.   Had Defendants disclosed to Plaintiffs and Florida Subclass members that AMCA’s

   data systems were not secure and, thus, vulnerable to attack, Defendants would have been unable

   to continue in business and they would have been forced to use vendors and business associates

   with reasonable data security measures and comply with the law. Instead, Defendants received,

   maintained, and compiled Plaintiffs’ and Florida Subclass members’ Personal Information as part

   of the services they provided without advising Plaintiffs and Florida Subclass members that

   AMCA’s data security practices were insufficient to maintain the safety and confidentiality of

   Plaintiffs’ and Class members’ Personal Information. Accordingly, Plaintiff and Florida Subclass

   members acted reasonably in relying on Defendants’ misrepresentations and omissions, the truth

   of which they could not have discovered.




                                                 104
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 111 of 158 PageID: 901




           556.      As a direct and proximate result of Defendants’ unconscionable, unfair, and

   deceptive acts and practices, Plaintiff and Florida Subclass members have suffered and will

   continue to suffer injury, ascertainable losses of money or property, and monetary and non-

   monetary damages; losses from fraud and identity theft; costs for credit monitoring and identity

   protection services; time and expenses related to monitoring their financial accounts for fraudulent

   activity; loss of value of their Personal Information; and an increased, imminent risk of fraud and

   identity theft.

           557.      Plaintiff and Florida Subclass members seek all monetary and non-monetary relief

   allowed by law, including actual or nominal damages under Fla. Stat. § 501.21; declaratory and

   injunctive relief; reasonable attorneys’ fees and costs, under Fla. Stat. § 501.2105(1); and any other

   relief that is just and proper.

                        CLAIMS ON BEHALF OF THE INDIANA SUBCLASS

                                                 COUNT 15

                             INDIANA UNFAIR TRADE PRACTICES ACT
                                      Indiana Code § 24-5-0.5

           558.      The Indiana Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Indiana Subclass, restate and re-allege the preceding paragraphs

   as if fully set forth herein.

           559.      Defendants are each a “person” as defined by Ind. Code § 24-5-0.5-2(a)(2).

           560.      Defendants are each a “supplier” as defined by § 24-5-0.5-2(a)(1), because they

   regularly engage in or solicits “consumer transactions,” within the meaning of § 24-5-0.5-

   2(a)(3)(A).

           561.      Defendants engaged in unfair, abusive, and deceptive acts, omissions, and practices

   in connection with consumer transactions, in violation of Ind. Code § 24-5-0.5-3(a).



                                                     105
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 112 of 158 PageID: 902




          562.    Defendants’ representations and omissions include both implicit and explicit

   representations.

          563.    Defendants’ unfair, abusive, and deceptive acts, omissions, and practices include:

                  a.     Failing to implement and maintain reasonable security and privacy

          measures to protect Plaintiff and Indiana Subclass members’ Personal Information, which

          was a direct and proximate cause of the Data Breach;

                  b.     Failing to identify foreseeable security and privacy risks, remediate

          identified security and privacy risks, and adequately improve security and privacy

          measures following previous cybersecurity incidents, which was a direct and proximate

          cause of the Data Breach;

                  c.     Failing to comply with common law and statutory duties pertaining to the

          security and privacy of Plaintiff and Indiana Subclass members’ Personal Information,

          including duties imposed by the FTC Act, 15 U.S.C. § 45, HIPAA, and Indiana security

          breach law, Ind. Code § 24-4.9-3-3.5(c), which was a direct and proximate cause of the

          Data Breach;

                  d.     Misrepresenting that they would protect the privacy and confidentiality of

          Plaintiff and Indiana Subclass members’ Personal Information, including by implementing

          and maintaining reasonable security measures and ensuring their vendors and business

          associates maintained reasonable security measures;

                  e.     Misrepresenting that they would comply with common law and statutory

          duties pertaining to the security and privacy of Plaintiff and Indiana Subclass members’

          Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, HIPAA,

          and Indiana security breach law, Ind. Code § 24-4.9-3-3.5(c);




                                                  106
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 113 of 158 PageID: 903




                  f.      Omitting, suppressing, and concealing the material fact that they did not

          reasonably or adequately secure Plaintiff and Indiana Subclass members’ Personal

          Information or ensure their vendors and business associates reasonably or adequately

          secured such information; and

                  g.      Omitting, suppressing, and concealing the material fact that they did not

          comply with common law and statutory duties pertaining to the security and privacy of

          Plaintiff and Indiana Subclass members’ Personal Information, including duties imposed

          by the FTC Act, 15 U.S.C. § 45, HIPAA, and Indiana security breach law, Ind. Code § 24-

          4.9-3-3.5(c).

          564.    Defendants’ acts and practices were “unfair” because they caused or were likely to

   cause substantial injury to consumers which was not reasonably avoidable by consumers

   themselves and not outweighed by countervailing benefits to consumers or to competition.

          565.    The injury to consumers from Defendants’ conduct was and is substantial because

   it was non-trivial and non-speculative; and involved a monetary injury and an unwarranted risk to

   the safety of their Personal Information or the security of their identity or credit. The injury to

   consumers was substantial not only because it inflicted harm on a significant number of consumers,

   but also because it inflicted a significant amount of harm on each consumer.

          566.    Consumers could not have reasonably avoided injury because Defendants’ business

   acts and practices unreasonably created or took advantage of an obstacle to the free exercise of

   consumer decision-making. By withholding important information from consumers about the

   inadequacy of its data security, Defendants created an asymmetry of information between it and

   consumers that precluded consumers from taking action to avoid or mitigate injury.




                                                  107
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 114 of 158 PageID: 904




          567.    Defendants’ inadequate data security had no countervailing benefit to consumers

   or to competition.

          568.    Defendants’ acts and practices were “abusive” for numerous reasons, including:

                  a.      because they materially interfered with consumers’ ability to understand a

          term or condition in a consumer transaction. Defendants’ failure to disclose the

          inadequacies in their data security interfered with consumers’ decision-making in a variety

          of their transactions.

                  b.      because they took unreasonable advantage of consumers’ lack of

          understanding about the material risks, costs, or conditions of a consumer transaction.

          Without knowing about the inadequacies in Defendants’ data security, consumers lacked

          an understanding of the material risks and costs of a variety of their transactions.

                  c.      because they took unreasonable advantage of consumers’ inability to

          protect their own interests. Consumers could not protect their interests due to the

          asymmetry in information between them and Defendants concerning the state of

          Defendants’ security.

                  d.      because Defendants took unreasonable advantage of consumers’ reasonable

          reliance that they were acting in their interests to secure their data. Consumers’ reliance

          was reasonable for the reasons discussed four paragraphs below.

          569.    Defendants also engaged in “deceptive” acts and practices in violation of Indiana

   Code § 24-5-0.5-3(a) and § 24-5-0.5-3(b), including:

                  a.      Misrepresenting that the subject of a consumer transaction has sponsorship,

          approval, performance, characteristics, accessories, uses, or benefits it does not have which

          the supplier knows or should reasonably know it does not have;




                                                  108
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 115 of 158 PageID: 905




                  b.     Misrepresenting that the subject of a consumer transaction is of a particular

          standard, quality, grade, style, or model, if it is not and if the supplier knows or should

          reasonably know that it is not;

                  c.     Misrepresenting that the subject of a consumer transaction will be supplied

          to the public in greater quantity (i.e., more data security) than the supplier intends or

          reasonably expects.

          570.    Defendants intended to mislead Plaintiff and Indiana Subclass members and induce

   them to rely on their misrepresentations and omissions.

          571.    Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.

          572.    Had Defendants disclosed to Plaintiffs and Class members that AMCA’s data

   systems were not secure and, thus, vulnerable to attack, Defendants would have been unable to

   continue in business and they would have been forced to use vendors and business associates with

   reasonable data security measures and comply with the law. Instead, Defendants received,

   maintained, and compiled Plaintiffs’ and class members’ Personal Information as part of the

   services they provided and for which Plaintiffs and Class members paid without advising Plaintiffs

   and Class members that AMCA’s data security practices were insufficient to maintain the safety

   and confidentiality of Plaintiffs’ and Class members’ Personal Information. Accordingly, Plaintiff

   and Class members acted reasonably in relying on Defendants’ misrepresentations and omissions,

   the truth of which they could not have discovered.

          573.    Defendants had a duty to disclose the above-described facts due to the

   circumstances of this case and the sensitivity and extent of the Personal Information in their




                                                  109
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 116 of 158 PageID: 906




   possession. This duty arose because members of the public, including Plaintiff and the Indiana

   Subclass, repose a trust and confidence in Defendants to keep their Personal Information secure.

   In addition, such a duty is implied by law due to the nature of the relationship between

   consumers—including Plaintiff and the Indiana Subclass—and Defendants, because consumers

   are unable to fully protect their interests with regard to their data, and placed trust and confidence

   in Defendants. Defendants’ duty to disclose also arose from their:

                  a.      Possession of exclusive knowledge regarding the security of the data in their

          systems and their vendors’ and business associates’ systems;

                  b.      Active concealment of the state of their security; and/or

                  c.      Incomplete representations about the security and integrity of their vendors’

          and business associates’ computer and data systems while purposefully withholding

          material facts from Plaintiff and the Indiana Subclass that contradicted these

          representations.

          574.    Defendants acted intentionally, knowingly, and maliciously to violate Indiana’s

   Deceptive Consumer Sales Act, and recklessly disregarded Plaintiff and Indiana Subclass

   members’ rights. Quest’s past data breaches and breaches within the medical industry put them on

   notice that their security and privacy protections were inadequate. Defendants’ actions were not

   the result of a mistake of fact or law, honest error or judgment, overzealousness, mere negligence,

   or other human failing.

          575.    Plaintiff sent a demand for relief on behalf of the Indiana Subclass pursuant to Ind.

   Code § 24-5-0.5-5 on November 14, 2019. Defendants have not cured their unfair, abusive, and

   deceptive acts and practices, or their violations of Indiana Deceptive Consumer Sales Act were

   incurable.




                                                    110
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 117 of 158 PageID: 907




          576.    Since Plaintiff provided the requisite notice, Defendants have failed to cure their

   violations of the Indiana Deceptive Consumer Sales Act.

          577.    Defendants’ conduct includes incurable deceptive acts that Defendants engaged in

   as part of a scheme, artifice, or device with intent to defraud or mislead, under Ind. Code § 24-5-

   0.5-2(a)(8).

          578.    As a direct and proximate result of Defendants’ uncured or incurable unfair,

   abusive, and deceptive acts or practices, Plaintiff and Indiana Subclass members have suffered and

   will continue to suffer injury, ascertainable losses of money or property, and monetary and non-

   monetary damages, including loss of the benefit of their bargain with Defendants as they would

   not have paid Defendants for goods and services or would have paid less for such goods and

   services but for Defendants’ violations alleged herein; losses from fraud and identity theft; costs

   for credit monitoring and identity protection services; time and expenses related to monitoring

   their financial accounts for fraudulent activity; loss of value of their Personal Information; and an

   increased, imminent risk of fraud and identity theft.

          579.    Defendants’ violations present a continuing risk to Plaintiff and Indiana Subclass

   members as well as to the general public.

          580.    Plaintiff and Indiana Subclass members seek all monetary and non-monetary relief

   allowed by law, including the greater of actual damages or $500 for each non-willful violation; the

   greater of treble damages or $1,000 for each willful violation; restitution; reasonable attorneys’

   fees and costs; injunctive relief; and punitive damages.




                                                   111
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 118 of 158 PageID: 908




                        CLAIMS ON BEHALF OF THE IOWA SUBCLASS

                                              COUNT 16

           PERSONAL INFORMATION SECURITY BREACH PROTECTION LAW,
                              Iowa Code § 715C.2

          581.    The Iowa Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Iowa Subclass, repeat the allegations contained in the preceding

   paragraphs as if fully set forth herein.

          582.    Defendants are each “persons” as defined by Iowa Code § 715C.2(10).

          583.    Plaintiffs are each “consumers” as defined by Iowa Code § 715C.2(2).

          584.    Defendants are each business that own or license computerized data that includes

   Personal Information as defined by Iowa Code § 715C.2(1).

          585.    Plaintiff’s and Iowa Subclass members’ Personal Information includes Personal

   Information as covered under Iowa Code § 715C.2(1).

          586.    Defendants are required to accurately notify Plaintiff and Iowa Subclass members

   if they become aware of a breach of their data security systems in the most expeditious time

   possible and without unreasonable delay under Iowa Code § 715C.2(1).

          587.    Because Defendants were aware of a breach of their vendor AMCA’s security

   system involving the Personal Information of Plaintiff and Iowa Subclass members that

   Defendants provided to AMCA, Defendants had an obligation to disclose the data breach in a

   timely and accurate fashion as mandated by Iowa Code § 715C.2(1).

          588.    By failing to disclose the Data Breach in a timely and accurate manner, Defendants

   violated Iowa Code § 715C.2(1).

          589.    Pursuant to Iowa Code § 715C.2(9), a violation of Iowa Code § 715C.2(1) is an

   unlawful practice pursuant to Iowa Code Ann. § 714.16(7).



                                                  112
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 119 of 158 PageID: 909




          590.    As a direct and proximate result of Defendants’ violations of Iowa Code §

   715C.2(1), Plaintiff and Iowa Subclass members suffered damages, as described above.

          591.    Plaintiff and Iowa Subclass members seek relief under Iowa Code § 714.16(7),

   including actual damages and injunctive relief.

                                              COUNT 17

           IOWA PRIVATE RIGHT OF ACTION FOR CONSUMER FRAUDS ACT,
                               Iowa Code § 714H

          592.    The Iowa Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Iowa Subclass, repeat the allegations contained in the preceding

   paragraphs as if fully set forth herein.

          593.    Defendants are each a “person” as defined by Iowa Code § 714H.2(7).

          594.    Plaintiff and Iowa Subclass members are “consumers” as defined by Iowa Code §

   714H.2(3).

          595.    Defendants’ conduct described herein related to the “sale” or “advertisement” of

   “merchandise” as defined by Iowa Code §§ 714H.2(2), (6), & (8).

          596.    Defendants engaged in unfair, deceptive, and unconscionable trade practices, in

   violation of the Iowa Private Right of Action for Consumer Frauds Act, including:

                  a.      Failing to implement and maintain reasonable security and privacy

          measures to protect Plaintiff and Iowa Subclass members’ Personal Information, which

          was a direct and proximate cause of the Data Breach;

                  b.      Failing to identify foreseeable security and privacy risks, remediate

          identified security and privacy risks, and adequately improve security and privacy

          measures following previous cybersecurity incidents, which was a direct and proximate

          cause of the Data Breach;



                                                     113
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 120 of 158 PageID: 910




                 c.      Failing to comply with common law and statutory duties pertaining to the

          security and privacy of Plaintiff and Iowa Subclass members’ Personal Information,

          including duties imposed by the FTC Act, 15 U.S.C. § 45, and HIPAA, which was a direct

          and proximate cause of the Data Breach;

                 d.      Misrepresenting that they would protect the privacy and confidentiality of

          Plaintiff and Iowa Subclass members’ Personal Information, including by implementing

          and maintaining reasonable security measures and ensuring their vendors and business

          associates maintained reasonable security measures;

                 e.      Misrepresenting that they would comply with common law and statutory

          duties pertaining to the security and privacy of Plaintiff and Iowa Subclass members’

          Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

          HIPAA;

                 f.      Omitting, suppressing, and concealing the material fact that they did not

          reasonably or adequately secure Plaintiff and Iowa Subclass members’ Personal

          Information or ensure their vendors and business associates reasonably or adequately

          secured such information; and

                 g.      Omitting, suppressing, and concealing the material fact that they did not

          comply with common law and statutory duties pertaining to the security and privacy of

          Plaintiff and Iowa Subclass members’ Personal Information, including duties imposed by

          the FTC Act, 15 U.S.C. § 45, and HIPAA.

          597.   Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.




                                                 114
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 121 of 158 PageID: 911




            598.   Defendants intended to mislead Plaintiff and Iowa Subclass members and induce

   them to rely on their misrepresentations and omissions.

            599.   Defendants acted intentionally, knowingly, and maliciously to violate Iowa’s

   Private Right of Action for Consumer Frauds Act, and recklessly disregarded Plaintiff and Iowa

   Subclass members’ rights. Quest’s past data breaches and breaches within the medical industry

   put them on notice that their security and privacy protections were inadequate.

            600.   As a direct and proximate result of Defendants’ unfair, deceptive, and

   unconscionable conduct, Plaintiff and Iowa Subclass members have suffered and will continue to

   suffer injury, ascertainable losses of money or property, and monetary and non-monetary damages,

   including losses from fraud and identity theft; costs for credit monitoring and identity protection

   services; time and expenses related to monitoring their financial accounts for fraudulent activity;

   loss of value of their Personal Information; and an increased, imminent risk of fraud and identity

   theft.

            601.   Plaintiff has provided the requisite notice to the Iowa Attorney General, the office

   of which approved the filing of this class action lawsuit pursuant to Iowa Code § 714H.7.

            602.   Plaintiff and Iowa Subclass members seek all monetary and non-monetary relief

   allowed by law, including injunctive relief, damages, restitution, punitive damages, and reasonable

   attorneys’ fees and costs.




                                                   115
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 122 of 158 PageID: 912




                       CLAIMS ON BEHALF OF THE KANSAS SUBCLASS

                                              COUNT 18

                         PROTECTION OF CONSUMER INFORMATION
                              Kan. Stat. Ann. §§ 50-7a02(a), et seq.

          603.    The Kansas Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Kansas Subclass, repeat the allegations contained in the preceding

   paragraphs as if fully set forth herein.

          604.    Defendants are each a business that owns or licenses computerized data that

   includes Personal Information as defined by Kan. Stat. Ann. § 50-7a02(a).

          605.    Plaintiff’s and Kansas Subclass members’ Personal Information includes Personal

   Information as covered under Kan. Stat. Ann. § 50-7a02(a).

          606.    Defendants are required to accurately notify Plaintiffs and Kansas Subclass

   members if they become aware of a breach of their data security systems that was reasonably likely

   to have caused misuse of Plaintiff’s and Kansas Subclass members’ Personal Information, in the

   most expedient time possible and without unreasonable delay under Kan. Stat. Ann. § 50-7a02(a).

          607.    Because Defendants were aware of a breach of their vendor AMCA’s security

   system involving the Personal Information of Plaintiff and Kansas Subclass members that

   Defendants provided to AMCA and that was reasonably likely to have caused misuse of Plaintiffs’

   and Kansas Subclass members’ Personal Information, Defendants had an obligation to disclose the

   Data Breach in a timely and accurate fashion as mandated by Kan. Stat. Ann. § 50-7a02(a).

          608.    By failing to disclose the Data Breach in a timely and accurate manner, Defendants

   violated Kan. Stat. Ann. § 50-7a02(a).

          609.    As a direct and proximate result of Defendants’ violations of Kan. Stat. Ann. § 50-

   7a02(a), Plaintiff and Kansas Subclass members suffered damages, as described above.



                                                   116
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 123 of 158 PageID: 913




          610.    Plaintiff and Kansas Subclass members seek relief under Kan. Stat. Ann. § 50-

   7a02(g), including equitable relief.

                                               COUNT 19

                            KANSAS CONSUMER PROTECTION ACT,
                                    K.S.A. §§ 50-623, et seq.

          611.    The Kansas Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Kansas Subclass, repeat the allegations contained in the

   preceding paragraphs as if fully set forth herein.

          612.    K.S.A. §§ 50-623, et seq. is to be liberally construed to protect consumers from

   suppliers who commit deceptive and unconscionable practices.

          613.    Plaintiff and Kansas Subclass members are “consumers” as defined by K.S.A. §

   50-624(b).

          614.    The acts and practices described herein are “consumer transactions,” as defined by

   K.S.A. § 50-624(c).

          615.    Defendants are a “supplier” as defined by K.S.A. § 50-624(l).

          616.    Defendants advertised, offered, or sold goods or services in Kansas and engaged in

   trade or commerce directly or indirectly affecting the people of Kansas.

          617.    Defendants engaged in deceptive and unfair acts or practices, including:

                  a.      Failing to implement and maintain reasonable security and privacy

          measures to protect Plaintiff and Kansas Subclass members’ Personal Information, which

          was a direct and proximate cause of the Data Breach;

                  b.      Failing to identify foreseeable security and privacy risks, remediate

          identified security and privacy risks, and adequately improve security and privacy




                                                   117
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 124 of 158 PageID: 914




         measures following previous cybersecurity incidents, which was a direct and proximate

         cause of the Data Breach;

                c.     Failing to comply with common law and statutory duties pertaining to the

         security and privacy of Plaintiff and Kansas Subclass members’ Personal Information,

         including duties imposed by the FTC Act, 15 U.S.C. § 45, HIPAA, and Kansas’s identity

         fraud statute, the Wayne Owen Act, K.S.A. § 50-6,139b, which was a direct and proximate

         cause of the Data Breach;

                d.     Misrepresenting that they would protect the privacy and confidentiality of

         Plaintiff and Kansas Subclass members’ Personal Information, including by implementing

         and maintaining reasonable security measures and ensuring their vendors and business

         associates maintained reasonable security measures;

                e.     Misrepresenting that they would comply with common law and statutory

         duties pertaining to the security and privacy of Plaintiff and Kansas Subclass members’

         Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, HIPAA,

         and Kansas’s identity fraud statute, the Wayne Owen Act, K.S.A. § 50-6,139b;

                f.     Omitting, suppressing, and concealing the material fact that they did not

         reasonably or adequately secure Plaintiff and Kansas Subclass members’ Personal

         Information or ensure their vendors and business associates reasonably or adequately

         secured such information; and

                g.     Omitting, suppressing, and concealing the material fact that they did not

         comply with common law and statutory duties pertaining to the security and privacy of

         Plaintiff and Kansas Subclass members’ Personal Information, including duties imposed




                                               118
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 125 of 158 PageID: 915




          by the FTC Act, 15 U.S.C. § 45, HIPAA, and Kansas’s identity fraud statute, the Wayne

          Owen Act, K.S.A. § 50-6,139b.

          618.   Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.

          619.   Defendants intended to mislead Plaintiff and Kansas Subclass members and induce

   them to rely on their misrepresentations and omissions.

          620.   Had Defendants disclosed to Plaintiffs and Kansas Subclass members that AMCA’s

   data systems were not secure and, thus, vulnerable to attack, Defendants would have been unable

   to continue in business and they would have been forced to use vendors and business associates

   with reasonable data security measures and comply with the law. Instead, Defendants received,

   maintained, and compiled Plaintiffs’ and Kansas Subclass members’ Personal Information as part

   of the services they provided without advising Plaintiffs and Kansas Subclass members that

   AMCA’s data security practices were insufficient to maintain the safety and confidentiality of

   Plaintiffs’ and Kansas Subclass members’ Personal Information. Accordingly, Plaintiff and

   Kansas Subclass members acted reasonably in relying on Defendants’ misrepresentations and

   omissions, the truth of which they could not have discovered.

          621.   Defendants also engaged in unconscionable acts and practices in connection with a

   consumer transaction, in violation of K.S.A. § 50-627, including:

                 a.      Knowingly taking advantage of the inability of Plaintiff and Kansas

          Subclass members to reasonably protect their interests, due to their lack of knowledge,

          K.S.A. § 50-627(b)(1)); and




                                                 119
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 126 of 158 PageID: 916




                     b.     Requiring Plaintiff and Kansas Subclass members to enter into a consumer

           transaction on terms that Defendants knew were substantially one-sided in favor of

           Defendants, K.S.A. § 50-627(b)(5)).

           622.      Plaintiff and Kansas Subclass members had unequal bargaining power with respect

   to their ability to control the security and confidentiality of their Personal Information in

   Defendants’ possession.

           623.      The above unfair, deceptive, and unconscionable practices and acts by Defendants

   were immoral, unethical, oppressive, and unscrupulous. These acts caused substantial injury to

   Plaintiff and Kansas Subclass members that they could not reasonably avoid; this substantial injury

   outweighed any benefits to consumers or to competition.

           624.      Defendants acted intentionally, knowingly, and maliciously to violate Kansas’s

   Consumer Protection Act, and recklessly disregarded Plaintiff and Kansas Subclass members’

   rights. Quest’s past data breaches and breaches within the medical industry put them on notice

   that their security and privacy protections were inadequate.

           625.      As a direct and proximate result of Defendants’ unfair, deceptive, and

   unconscionable trade practices, Plaintiff and Kansas Subclass members have suffered and will

   continue to suffer injury, ascertainable losses of money or property, and monetary and non-

   monetary damages; losses from fraud and identity theft; costs for credit monitoring and identity

   protection services; time and expenses related to monitoring their financial accounts for fraudulent

   activity; loss of value of their Personal Information; and an increased, imminent risk of fraud and

   identity theft.




                                                   120
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 127 of 158 PageID: 917




          626.    Plaintiff and Kansas Subclass members seek all monetary and non-monetary relief

   allowed by law, including civil penalties or actual damages (whichever is greater), under K.S.A.

   §§ 50-634 and 50-636; injunctive relief; restitution; and reasonable attorneys’ fees and costs.

                    CLAIMS ON BEHALF OF THE KENTUCKY SUBCLASS

                                               COUNT 20

           KENTUCKY COMPUTER SECURITY BREACH NOTIFICATION ACT,
                       Ky. Rev. Stat. Ann. §§ 365.732, et seq.

          627.    The Kentucky Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Kentucky Subclass, repeat the allegations contained in the

   preceding paragraphs as if fully set forth herein.

          628.    Defendants are each a business that holds computerized data that includes Personal

   Information as defined by Ky. Rev. Stat. Ann. § 365.732(2).

          629.    Plaintiff’s and Kentucky Subclass members’ Personal Information includes

   Personal Information as covered under Ky. Rev. Stat. Ann. § 365.732(2).

          630.    Defendants are required to accurately notify Plaintiff and Kentucky Subclass

   members if they become aware of a breach of their data security systems that was reasonably likely

   to have caused unauthorized persons to acquire Plaintiff’s and Kentucky Subclass members’

   Personal Information, in the most expedient time possible and without unreasonable delay under

   Ky. Rev. Stat. Ann. § 365.732(2).

          631.    Because Defendants were aware of a breach of their vendor AMCA’s security

   system involving the Personal Information of Plaintiff and Kentucky Subclass members that

   Defendants provided to AMCA that was reasonably likely to have caused unauthorized persons to

   acquire Plaintiff’s and Kentucky Subclass members’ Personal Information, Defendants had an




                                                   121
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 128 of 158 PageID: 918




   obligation to disclose the data breach in a timely and accurate fashion as mandated by Ky. Rev.

   Stat. Ann. § 365.732(2).

          632.    By failing to disclose the Data Breach in a timely and accurate manner, Defendants

   violated Ky. Rev. Stat. Ann. § 365.732(2).

          633.    As a direct and proximate result of Defendants’ violations of Ky. Rev. Stat. Ann. §

   365.732(2), Plaintiff and Kentucky Subclass members suffered damages, as described above.

          634.    Plaintiff and Kentucky Subclass members seek relief under Ky. Rev. Stat. Ann. §

   446.070, including actual damages.

                                                COUNT 21

                          KENTUCKY CONSUMER PROTECTION ACT,
                               Ky. Rev. Stat. §§ 367.110, et seq.

          635.    The Kentucky Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Kentucky Subclass, restate and re-allege the preceding

   paragraphs as if fully set forth herein.

          636.    Defendants are each a “person” as defined by Ky. Rev. Stat. § 367.110(1).

          637.    Defendants advertised, offered, or sold goods or services in Kentucky and engaged

   in “trade” or “commerce” directly or indirectly affecting the people of Kentucky, as defined by

   Ky. Rev. Stat. 367.110(2).

          638.    Defendants engaged in unfair, false, misleading, deceptive, and unconscionable

   acts or practices, in violation of Ky. Rev. Stat. § 367.170, including:

                  a.      Failing to implement and maintain reasonable security and privacy

          measures to protect Plaintiff and Kentucky Subclass members’ Personal Information,

          which was a direct and proximate cause of the Data Breach;




                                                   122
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 129 of 158 PageID: 919




                b.     Failing to identify foreseeable security and privacy risks, remediate

         identified security and privacy risks, and adequately improve security and privacy

         measures following previous cybersecurity incidents, which was a direct and proximate

         cause of the Data Breach;

                c.     Failing to comply with common law and statutory duties pertaining to the

         security and privacy of Plaintiff and Kentucky Subclass members’ Personal Information,

         including duties imposed by the FTC Act, 15 U.S.C. § 45, and HIPAA, which was a direct

         and proximate cause of the Data Breach;

                d.     Misrepresenting that they would protect the privacy and confidentiality of

         Plaintiff and Kentucky Subclass members’ Personal Information, including by

         implementing and maintaining reasonable security measures and ensuring their vendors

         and business associates maintained reasonable security measures;

                e.     Misrepresenting that they would comply with common law and statutory

         duties pertaining to the security and privacy of Plaintiff and Kentucky Subclass members’

         Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

         HIPAA;

                f.     Omitting, suppressing, and concealing the material fact that they did not

         reasonably or adequately secure Plaintiff and Kentucky Subclass members’ Personal

         Information or ensure their vendors and business associates reasonably or adequately

         secured such information; and

                g.     Omitting, suppressing, and concealing the material fact that they did not

         comply with common law and statutory duties pertaining to the security and privacy of




                                               123
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 130 of 158 PageID: 920




          Plaintiff and Kentucky Subclass members’ Personal Information, including duties imposed

          by the FTC Act, 15 U.S.C. § 45, and HIPAA.

          639.    Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.

          640.    Defendants intended to mislead Plaintiff and Kentucky Subclass members and

   induce them to rely on their misrepresentations and omissions.

          641.    Plaintiff and Kentucky Subclass members purchased goods or services for personal,

   family, or household purposes and suffered ascertainable losses of money or property as a result

   of Defendants’ unlawful acts and practices.

          642.    The above unlawful acts and practices by Defendants were immoral, unethical,

   oppressive, and unscrupulous. These acts caused substantial injury to Plaintiff and Kentucky

   Subclass members that they could not reasonably avoid; this substantial injury outweighed any

   benefits to consumers or to competition.

          643.    Defendants acted intentionally, knowingly, and maliciously to violate Kentucky’s

   Consumer Protection Act, and recklessly disregarded Plaintiff and Kentucky Subclass members’

   rights. Quest’s past data breaches and breaches within the medical industry put them on notice

   that their security and privacy protections were inadequate.

          644.    As a direct and proximate result of Defendants’ unlawful acts and practices,

   Plaintiff and Kentucky Subclass members have suffered and will continue to suffer injury,

   ascertainable losses of money or property, and monetary and non-monetary damages; losses from

   fraud and identity theft; costs for credit monitoring and identity protection services; time and




                                                  124
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 131 of 158 PageID: 921




   expenses related to monitoring their financial accounts for fraudulent activity; loss of value of their

   Personal Information; and an increased, imminent risk of fraud and identity theft.

          645.    Plaintiff and Kentucky Subclass members seek all monetary and non-monetary

   relief allowed by law, including damages, punitive damages, restitution or other equitable relief,

   injunctive relief, and reasonable attorneys’ fees and costs.

                     CLAIMS ON BEHALF OF THE MICHIGAN SUBCLASS

                                                COUNT 22

                      MICHIGAN IDENTITY THEFT PROTECTION ACT,
                           Mich. Comp. Laws Ann. §§ 445.72, et seq.

          646.    The Michigan Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Michigan Subclass, repeat the allegations contained in the

   preceding paragraphs as if fully set forth herein.

          647.    Defendants are each a business that owns or licenses computerized data that

   includes Personal Information as defined by Mich. Comp. Laws Ann. § 445.72(1).

          648.    Plaintiff’s and Michigan Subclass members’ Personal Information includes

   Personal Information as covered under Mich. Comp. Laws Ann. § 445.72(1).

          649.    Defendants are required to accurately notify Plaintiff and Michigan Subclass

   members if they discover a security breach, or receive notice of a security breach (where

   unencrypted and unredacted Personal Information was accessed or acquired by unauthorized

   persons), without unreasonable delay under Mich. Comp. Laws Ann. § 445.72(1).

          650.    Defendants are required to provide notice that is written in a “clear and conspicuous

   manner.” Mich. Comp. Laws Ann. § 445.72(6).

          651.    Because Defendants discovered a security breach and had notice of a security

   breach (where unencrypted and unredacted Personal Information was accessed or acquired by



                                                    125
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 132 of 158 PageID: 922




   unauthorized persons) of their vendor AMCA’s security systems involving the Personal

   Information of Plaintiff and Michigan Subclass members that Defendants provided to AMCA,

   Defendants had an obligation to disclose the Data Breach in a timely and accurate fashion as

   mandated by Mich. Comp. Laws Ann. § 445.72(4).

          652.    By failing to disclose the Data Breach in a timely and accurate manner and provide

   notice clearly and conspicuously, Defendants violated Mich. Comp. Laws Ann. § 445.72(4).

          653.    As a direct and proximate result of Defendants’ violations of Mich. Comp. Laws

   Ann. § 445.72(4), Plaintiff and Michigan Subclass members suffered damages, as described above.

          654.    Plaintiff and Michigan Subclass members seek relief under Mich. Comp. Laws

   Ann. § 445.72(13), including a civil fine.

                                                COUNT 23

                          MICHIGAN CONSUMER PROTECTION ACT,
                            Mich. Comp. Laws Ann. §§ 445.903, et seq.

          655.    The Michigan Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Michigan Subclass, repeat the allegations contained in the

   preceding paragraphs as if fully set forth herein.

          656.    Defendants and Michigan Subclass members are “persons” as defined by Mich.

   Comp. Laws Ann. § 445.903(d).

          657.    Defendants advertised, offered, or sold goods or services in Michigan and engaged

   in trade or commerce directly or indirectly affecting the people of Michigan, as defined by Mich.

   Comp. Laws Ann. § 445.903(g)

          658.    Defendants engaged in unfair, unconscionable, and deceptive practices in the

   conduct of trade and commerce, in violation of Mich. Comp. Laws Ann. § 445.903(1), including:




                                                   126
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 133 of 158 PageID: 923




                 a.      Representing that their goods and services have characteristics, uses, and

          benefits that they do not have, in violation of Mich. Comp. Laws Ann. § 445.903(1)(c);

                 b.      Representing that their goods and services are of a particular standard or

          quality if they are of another in violation of Mich. Comp. Laws Ann. § 445.903(1)(e);

                 c.      Defendants advertised, offered, or sold goods or services in Michigan and

   engaged in trade or commerce directly or indirectly affecting the people of Michigan, as defined

   by Mich. Comp. Laws Ann. § 445.903(g).

                 d.      Making a representation or statement of fact material to the transaction such

          that a person reasonably believes the represented or suggested state of affairs to be other

          than it actually is, in violation of Mich. Comp. Laws Ann. § 445.903(1)(bb); and

                 e.      Failing to reveal facts that are material to the transaction in light of

          representations of fact made in a positive matter, in violation of Mich. Comp. Laws Ann.

          § 445.903(1)(cc).

          659.   Defendants’ unfair, unconscionable, and deceptive practices include:

                 a.      Failing to implement and maintain reasonable security and privacy

          measures to protect Plaintiff and Michigan Subclass members’ Personal Information,

          which was a direct and proximate cause of the Data Breach;

                 b.      Failing to identify foreseeable security and privacy risks, remediate

          identified security and privacy risks, and adequately improve security and privacy

          measures following previous cybersecurity incidents, which was a direct and proximate

          cause of the Data Breach;

                 c.      Failing to comply with common law and statutory duties pertaining to the

          security and privacy of Plaintiff and Michigan Subclass members’ Personal Information,




                                                  127
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 134 of 158 PageID: 924




          including duties imposed by the FTC Act, 15 U.S.C. § 45, and HIPAA, which was a direct

          and proximate cause of the Data Breach;

                 d.      Misrepresenting that they would protect the privacy and confidentiality of

          Plaintiff and Michigan Subclass members’ Personal Information, including by

          implementing and maintaining reasonable security measures and ensuring their vendors

          and business associates maintained reasonable security measures;

                 e.      Misrepresenting that they would comply with common law and statutory

          duties pertaining to the security and privacy of Plaintiff and Michigan Subclass members’

          Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

          HIPAA;

                 f.      Omitting, suppressing, and concealing the material fact that they did not

          reasonably or adequately secure Plaintiff and Michigan Subclass members’ Personal

          Information or ensure their vendors and business associates reasonably or adequately

          secured such information; and

                 g.      Omitting, suppressing, and concealing the material fact that they did not

          comply with common law and statutory duties pertaining to the security and privacy of

          Plaintiff and Michigan Subclass members’ Personal Information, including duties imposed

          by the FTC Act, 15 U.S.C. § 45, and HIPAA.

          660.   Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.

          661.   Defendants intended to mislead Plaintiff and Michigan Subclass members and

   induce them to rely on their misrepresentations and omissions.




                                                 128
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 135 of 158 PageID: 925




            662.   Defendants acted intentionally, knowingly, and maliciously to violate Michigan’s

   Consumer Protection Act, and recklessly disregarded Plaintiff and Michigan Subclass members’

   rights. Quest’s past data breaches and breaches within the medical industry put them on notice

   that their security and privacy protections were inadequate.

            663.   As a direct and proximate result of Defendants’ unfair, unconscionable, and

   deceptive practices, Plaintiff and Michigan Subclass members have suffered and will continue to

   suffer injury, ascertainable losses of money or property, and monetary and non-monetary damages,

   including losses from fraud and identity theft; costs for credit monitoring and identity protection

   services; time and expenses related to monitoring their financial accounts for fraudulent activity;

   loss of value of their Personal Information; and an increased, imminent risk of fraud and identity

   theft.

            664.   Plaintiff and Michigan Subclass members seek all monetary and non-monetary

   relief allowed by law, including the greater of actual damages or $250, restitution, injunctive relief,

   and any other relief that is just and proper.

                     CLAIMS ON BEHALF OF THE MISSOURI SUBCLASS

                                                   COUNT 24

                        MISSOURI MERCHANDISING PRACTICES ACT,
                               Mo. Rev. Stat. §§ 407.010, et seq.

            665.   The Missouri Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Missouri Subclass, repeat the allegations contained in the

   preceding paragraphs as if fully set forth herein.

            666.   Defendants are each a “person” as defined by Mo. Rev. Stat. § 407.010(5).




                                                     129
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 136 of 158 PageID: 926




          667.    Defendants advertised, offered, or sold goods or services in Missouri and engaged

   in trade or commerce directly or indirectly affecting the people of Missouri, as defined by Mo.

   Rev. Stat. § 407.010(4), (6) and (7).

          668.    Defendants engaged in unlawful, unfair, and deceptive acts and practices, in

   connection with the sale or advertisement of merchandise in trade or commerce, in violation of

   Mo. Rev. Stat. § 407.020(1), including:

                  a.      Failing to implement and maintain reasonable security and privacy

          measures to protect Plaintiff and Missouri Subclass members’ Personal Information, which

          was a direct and proximate cause of the Data Breach;

                  b.      Failing to identify foreseeable security and privacy risks, remediate

          identified security and privacy risks, and adequately improve security and privacy

          measures following previous cybersecurity incidents, which was a direct and proximate

          cause of the Data Breach;

                  c.      Failing to comply with common law and statutory duties pertaining to the

          security and privacy of Plaintiff and Missouri Subclass members’ Personal Information,

          including duties imposed by the FTC Act, 15 U.S.C. § 45, and HIPAA, which was a direct

          and proximate cause of the Data Breach;

                  d.      Misrepresenting that they would protect the privacy and confidentiality of

          Plaintiff and Missouri Subclass members’ Personal Information, including by

          implementing and maintaining reasonable security measures and ensuring their vendors

          and business associates maintained reasonable security measures;

                  e.      Misrepresenting that they would comply with common law and statutory

          duties pertaining to the security and privacy of Plaintiff and Missouri Subclass members’




                                                  130
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 137 of 158 PageID: 927




          Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

          HIPAA;

                  f.     Omitting, suppressing, and concealing the material fact that they did not

          reasonably or adequately secure Plaintiff and Missouri Subclass members’ Personal

          Information or ensure their vendors and business associates reasonably or adequately

          secured such information; and

                  g.     Omitting, suppressing, and concealing the material fact that they did not

          comply with common law and statutory duties pertaining to the security and privacy of

          Plaintiff and Missouri Subclass members’ Personal Information, including duties imposed

          by the FTC Act, 15 U.S.C. § 45, and HIPAA.

          669.    Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.

          670.    Defendants intended to mislead Plaintiff and Missouri Subclass members and

   induce them to rely on its misrepresentations and omissions.

          671.    Defendants acted intentionally, knowingly, and maliciously to violate Missouri’s

   Merchandising Practices Act, and recklessly disregarded Plaintiff and Missouri Subclass

   members’ rights. Quest’s past data breaches and breaches within the medical industry put them

   on notice that their security and privacy protections were inadequate.

          672.    As a direct and proximate result of Defendants’ unlawful, unfair, and deceptive acts

   and practices, Plaintiff and Missouri Subclass members have suffered and will continue to suffer

   injury, ascertainable losses of money or property, and monetary and non-monetary damages,

   including losses from fraud and identity theft; costs for credit monitoring and identity protection




                                                  131
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 138 of 158 PageID: 928




   services; time and expenses related to monitoring their financial accounts for fraudulent activity;

   loss of value of their Personal Information; and an increased, imminent risk of fraud and identity

   theft.

            673.    Plaintiff and Missouri Subclass members seek all monetary and non-monetary

   relief allowed by law, including actual damages, restitution, punitive damages, attorneys’ fees and

   costs, injunctive relief, and any other appropriate relief.

                   CLAIMS ON BEHALF OF THE NEW HAMPSHIRE SUBCLASS

                                                COUNT 25

                                 NOTICE OF SECURITY BREACH
                             N.H. Rev. Stat. Ann. §§ 359-C:20(I)(A), et seq.

            674.    The New Hampshire Plaintiff(s) identified above (“Plaintiff,” for purposes of this

   Count), individually and on behalf of the New Hampshire Subclass, repeat the allegations

   contained in the preceding paragraphs as if fully set forth herein.

            675.    Defendants are each a business that owns or licenses computerized data that

   includes Personal Information as defined by N.H. Rev. Stat. Ann. § 359-C:20(I)(a).

            676.    Plaintiff’s and New Hampshire Subclass members’ Personal Information includes

   Personal Information as covered under N.H. Rev. Stat. Ann. § 359-C:20(I)(a).

            677.    Defendants are required to accurately notify Plaintiff and New Hampshire Subclass

   members if Defendants become aware of a breach of its data security systems in which misuse of

   Personal Information has occurred or is reasonably likely to occur, as soon as possible under N.H.

   Rev. Stat. Ann. § 359-C:20(I)(a).

            678.    Because Defendants were aware of a security breach of AMCA’s security systems

   involving the Personal Information of Plaintiff and New Hampshire Subclass members that

   Defendants provided to AMCA and in which misuse of Personal Information has occurred or is



                                                    132
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 139 of 158 PageID: 929




   reasonably likely to occur, Defendants had an obligation to disclose the data breach in a timely

   and accurate fashion as mandated by N.H. Rev. Stat. Ann. § 359-C:20(I)(a).

            679.   By failing to disclose the Data Breach in a timely and accurate manner, Defendants

   violated N.H. Rev. Stat. Ann. § 359-C:20(I)(a).

            680.   As a direct and proximate result of Defendants’ violations of N.H. Rev. Stat. Ann.

   § 359-C:20(I)(a), Plaintiff and New Hampshire Subclass members suffered damages, as described

   above.

            681.   Plaintiff and New Hampshire Subclass members seek relief under N.H. Rev. Stat.

   Ann. § 359-C:21(I), including actual damages and injunctive relief.

                                               COUNT 26

                        NEW HAMPSHIRE CONSUMER PROTECTION ACT,
                                 N.H.R.S.A. §§ 358-A, et seq.

            682.   The New Hampshire Plaintiff(s) identified above (“Plaintiff,” for purposes of this

   Count), individually and on behalf of the New Hampshire Subclass, repeat the allegations

   contained in the preceding paragraphs as if fully set forth herein.

            683.   Defendants are each a “person” under the New Hampshire Consumer Protection

   Act.

            684.   Defendants advertised, offered, or sold goods or services in New Hampshire and

   engaged in trade or commerce directly or indirectly affecting the people of New Hampshire, as

   defined by N.H.R.S.A. § 358-A:1.

            685.   Defendants engaged in unfair and deceptive acts or practices in the ordinary

   conduct of its trade or business, in violation of N.H.R.S.A. § 358-A:2, including:

                   a.     Representing that their goods or services have characteristics, uses, or

            benefits that they do not have in violation of N.H.R.S.A. § 358-A:2.V;



                                                   133
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 140 of 158 PageID: 930




                b.      Representing that their goods or services are of a particular standard or

         quality if they are of another in violation of N.H.R.S.A. § 358-A:2.VII; and

                c.      Advertising their goods or services with intent not to sell them as advertised

         in violation of N.H.R.S.A. § 358-A:2.IX.

         686.   Defendants’ unfair and deceptive acts and practices include:

                a.      Failing to implement and maintain reasonable security and privacy

         measures to protect Plaintiff and New Hampshire Subclass members’ Personal

         Information, which was a direct and proximate cause of the Data Breach;

                b.      Failing to identify foreseeable security and privacy risks, remediate

         identified security and privacy risks, and adequately improve security and privacy

         measures following previous cybersecurity incidents, which was a direct and proximate

         cause of the Data Breach;

                c.      Failing to comply with common law and statutory duties pertaining to the

         security and privacy of Plaintiff and New Hampshire Subclass members’ Personal

         Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and HIPAA, which

         was a direct and proximate cause of the Data Breach;

                d.      Misrepresenting that they would protect the privacy and confidentiality of

         Plaintiff and New Hampshire Subclass members’ Personal Information, including by

         implementing and maintaining reasonable security measures and ensuring their vendors

         and business associates maintained reasonable security measures;

                e.      Misrepresenting that they would comply with common law and statutory

         duties pertaining to the security and privacy of Plaintiff and New Hampshire Subclass




                                                 134
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 141 of 158 PageID: 931




          members’ Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45,

          and HIPPA;

                  f.     Omitting, suppressing, and concealing the material fact that they did not

          reasonably or adequately secure Plaintiff and New Hampshire Subclass members’ Personal

          Information or ensure their vendors and business associates reasonably or adequately

          secured such information; and

                  g.     Omitting, suppressing, and concealing the material fact that they did not

          comply with common law and statutory duties pertaining to the security and privacy of

          Plaintiff and New Hampshire Subclass members’ Personal Information, including duties

          imposed by the FTC Act, 15 U.S.C. § 45, and HIPAA.

          687.    Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.

          688.    Defendants acted intentionally, knowingly, and maliciously to violate New

   Hampshire’s Consumer Protection Act, and recklessly disregarded Plaintiff and New Hampshire

   Subclass members’ rights. Quest’s past data breaches and breaches within the medical industry

   put them on notice that their security and privacy protections were inadequate. Defendants’ acts

   and practices went beyond the realm of strictly private transactions.

          689.    As a direct and proximate result of Defendants’ unfair and deceptive acts and

   practices, Plaintiff and New Hampshire Subclass members have suffered and will continue to

   suffer injury, ascertainable losses of money or property, and monetary and non-monetary damages;

   losses from fraud and identity theft, including costs for credit monitoring and identity protection

   services; time and expenses related to monitoring their financial accounts for fraudulent activity;




                                                  135
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 142 of 158 PageID: 932




   loss of value of their Personal Information; and an increased, imminent risk of fraud and identity

   theft.

            690.    Plaintiff and New Hampshire Subclass members seek all monetary and non-

   monetary relief allowed by law, including actual damages, punitive damages, equitable relief

   (including injunctive relief), restitution, civil penalties, and attorneys’ fees and costs.

                    CLAIMS ON BEHALF OF THE NEW JERSEY SUBCLASS

                                                COUNT 27

             NEW JERSEY CUSTOMER SECURITY BREACH DISCLOSURE ACT,
                             N.J.S.A. §§ 56:8-163, et seq.

            691.    The New Jersey Plaintiff(s) identified above (“Plaintiff,” for purposes of this

   Count), individually and on behalf of the New Jersey Subclass, repeat the allegations contained in

   the preceding paragraphs as if fully set forth herein.

            692.    Defendants are each a business that conducts business in New Jersey under N.J.S.A.

   § 56:8-163(a).

            693.    Plaintiff’s and New Jersey Subclass members’ Personal Information includes

   Personal Information covered under N.J.S.A. §§ 56:8-163, et seq.

            694.    Under N.J.S.A. § 56:8-163(a), “[a]ny business that conducts business in New

   Jersey. . . shall disclose any breach of security of [] computerized records following discovery or

   notification of the breach to any customer who is a resident of New Jersey whose personal

   information was, or is reasonably believed to have been, accessed by an unauthorized person.”

            695.    Because Defendants discovered a breach of AMCA’s security system involving the

   Personal Information of Plaintiff and New Jersey Subclass members that Defendants provided to

   AMCA in which such Personal Information was, or is reasonably believed to have been, acquired

   by an unauthorized person and the Personal Information was not secured, Defendants had an



                                                     136
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 143 of 158 PageID: 933




   obligation to disclose the Data Breach in a timely and accurate fashion as mandated under N.J.S.A.

   §§ 56:8-163, et seq.

          696.    By failing to disclose the Data Breach in a timely and accurate manner, Defendants

   violated N.J.S.A. § 56:8-163(a).

          697.    As a direct and proximate result of Defendants’ violations of N.J.S.A. § 56:8-

   163(a), Plaintiff and New Jersey Subclass members suffered the damages described above.

          698.    Plaintiff and New Jersey Subclass members seek relief under N.J.S.A. § 56:8-19,

   including treble damages, attorneys’ fees and costs, and injunctive relief.

                       CLAIMS ON BEHALF OF THE NEW YORK SUBCLASS

                                               COUNT 28

                             NEW YORK GENERAL BUSINESS LAW,
                                N.Y. Gen. Bus. Law §§ 349, et seq.

          699.    The New York Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the New York Subclass, repeat the allegations contained in the

   preceding paragraphs as if fully set forth herein.

          700.    Defendants engaged in deceptive acts or practices in the conduct of its business,

   trade, and commerce or furnishing of services, in violation of N.Y. Gen. Bus. Law § 349,

   including:

                  a.      Failing to implement and maintain reasonable security and privacy

          measures to protect Plaintiff and New York Subclass members’ Personal Information,

          which was a direct and proximate cause of the Data Breach;

                  b.      Failing to identify foreseeable security and privacy risks, remediate

          identified security and privacy risks, and adequately improve security and privacy




                                                   137
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 144 of 158 PageID: 934




         measures following previous cybersecurity incidents, which was a direct and proximate

         cause of the Data Breach;

                c.     Failing to comply with common law and statutory duties pertaining to the

         security and privacy of Plaintiff and New York Subclass members’ Personal Information,

         including duties imposed by the FTC Act, 15 U.S.C. § 45, and HIPAA, which was a direct

         and proximate cause of the Data Breach;

                d.     Misrepresenting that they would protect the privacy and confidentiality of

         Plaintiff and New York Subclass members’ Personal Information, including by

         implementing and maintaining reasonable security measures and ensuring their vendors

         and business associates maintained reasonable security measures;

                e.     Misrepresenting that they would comply with common law and statutory

         duties pertaining to the security and privacy of Plaintiff and New York Subclass members’

         Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

         HIPAA;

                f.     Omitting, suppressing, and concealing the material fact that they did not

         reasonably or adequately secure Plaintiff and New York Subclass members’ Personal

         Information or ensure their vendors and business associates reasonably or adequately

         secured such information; and

                g.     Omitting, suppressing, and concealing the material fact that they did not

         comply with common law and statutory duties pertaining to the security and privacy of

         Plaintiff and New York Subclass members’ Personal Information, including duties

         imposed by the FTC Act, 15 U.S.C. § 45, and HIPAA.




                                               138
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 145 of 158 PageID: 935




            701.   Plaintiff and New York Subclass members were deceived in New York. They also

   transacted with Defendants in New York by utilizing Defendants’ services in New York.

            702.   Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.

            703.   Defendants acted intentionally, knowingly, and maliciously to violate New York’s

   General Business Law, and recklessly disregarded Plaintiff and New York Subclass members’

   rights. Quest’s past data breaches and breaches within the medical industry put them on notice

   that their security and privacy protections were inadequate.

            704.   As a direct and proximate result of Defendants’ deceptive and unlawful acts and

   practices, Plaintiff and New York Subclass members have suffered and will continue to suffer

   injury, ascertainable losses of money or property, and monetary and non-monetary damages; losses

   from fraud and identity theft; costs for credit monitoring and identity protection services; time and

   expenses related to monitoring their financial accounts for fraudulent activity; loss of value of their

   Personal Information; and an increased, imminent risk of fraud and identity theft.

            705.   Defendants’ deceptive and unlawful acts and practices complained of herein

   affected the public interest and consumers at large, including the hundreds of thousands, if not

   millions, of New Yorkers affected by the Data Breach.

            706.   The above deceptive and unlawful practices and acts by Defendants caused

   substantial injury to Plaintiff and New York Subclass members that they could not reasonably

   avoid.




                                                    139
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 146 of 158 PageID: 936




          707.     Plaintiff and New York Subclass members seek all monetary and non-monetary

   relief allowed by law, including actual damages or statutory damages of $50 (whichever is greater),

   treble damages, restitution, injunctive relief, and attorney’s fees and costs.

                        CLAIMS ON BEHALF OF THE OHIO SUBCLASS

                                               COUNT 29

                           OHIO CONSUMER SALES PRACTICES ACT,
                                Ohio Rev. Code §§ 1345.01, et seq.

          708.     The Ohio Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Ohio Subclass, repeat the allegations contained in the preceding

   paragraphs as if fully set forth herein.

          709.     Plaintiff and Ohio Subclass members are “persons,” as defined by Ohio Rev. Code

   § 1345.01(B).

          710.     Defendants were each a “supplier” engaged in “consumer transactions,” as defined

   by Ohio Rev. Code §§ 1345.01(A) & (C).

          711.     Defendants advertised, offered, or sold goods or services in Ohio and engaged in

   trade or commerce directly or indirectly affecting the people of Ohio.

          712.     Defendants engaged in unfair and deceptive acts and practices in connection with

   a consumer transaction, in violation of Ohio Rev. Code §§ 1345.02, including:

                   a.     Representing that their goods, services, and intangibles had performance

          characteristics, uses, and benefits that they did not have, in violation of Ohio Rev. Code §

          1345.02(B)(1); and

                   b.     Representing that their goods, services, and intangibles were of a particular

          standard or quality when they were not, in violation of Ohio Rev. Code § 1345(B)(2).




                                                    140
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 147 of 158 PageID: 937




          713.   Defendants engaged in unconscionable acts and practices in connection with a

   consumer transaction, in violation of Ohio Rev. Code Ann. § 1345.03, including:

                 a.     Knowingly taking advantage of the inability of Plaintiff and Ohio Subclass

          members to reasonably protect their interest because of their ignorance of the issues

          discussed herein (Ohio Rev. Code Ann. § 1345.03(B)(1)); and

                 b.     Requiring Plaintiff and Ohio Subclass members to enter into a consumer

          transaction on terms that Defendants knew were substantially one-sided in favor of

          Defendants (Ohio Rev. Code Ann. § 1345.03(B)(5)).

          714.   Defendants’ unfair, deceptive, and unconscionable acts and practices include:

                 a.     Failing to implement and maintain reasonable security and privacy

          measures to protect Plaintiff and Ohio Subclass members’ Personal Information, which

          was a direct and proximate cause of the Data Breach;

                 b.     Failing to identify foreseeable security and privacy risks, remediate

          identified security and privacy risks, and adequately improve security and privacy

          measures following previous cybersecurity incidents, which was a direct and proximate

          cause of the Data Breach;

                 c.     Failing to comply with common law and statutory duties pertaining to the

          security and privacy of Plaintiff and Ohio Subclass members’ Personal Information,

          including duties imposed by the FTC Act, 15 U.S.C. § 45 and HIPAA;

                 d.     Misrepresenting that they would protect the privacy and confidentiality of

          Plaintiff and Ohio Subclass members’ Personal Information, including by implementing

          and maintaining reasonable security measures and ensuring their vendors and business

          associates maintained reasonable security measures;




                                                141
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 148 of 158 PageID: 938




                  e.     Misrepresenting that they would comply with common law and statutory

          duties pertaining to the security and privacy of Plaintiff and Ohio Subclass members’

          Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

          HIPAA;

                  f.     Omitting, suppressing, and concealing the material fact that they did not

          reasonably or adequately secure Plaintiff and Ohio Subclass members’ Personal

          Information or ensure their vendors and business associates reasonably or adequately

          secured such information; and

                  g.     Omitting, suppressing, and concealing the material fact that they did not

          comply with common law and statutory duties pertaining to the security and privacy of

          Plaintiff and Ohio Subclass members’ Personal Information, including duties imposed by

          the FTC Act, 15 U.S.C. § 45, and HIPAA.

          715.    Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.

          716.    Defendants intended to mislead Plaintiff and Ohio Subclass members and induce

   them to rely on their misrepresentations and omissions.

          717.    Defendants acted intentionally, knowingly, and maliciously to violate Ohio’s

   Consumer Sales Practices Act, and recklessly disregarded Plaintiff and Ohio Subclass members’

   rights. Quest’s past data breaches and breaches within the medical industry put them on notice

   that their security and privacy protections were inadequate.

          718.    Defendants’ unfair, deceptive, and unconscionable acts and practices complained

   of herein affected the public interest, including the many Ohioans affected by the Data Breach.




                                                  142
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 149 of 158 PageID: 939




           719.      As a direct and proximate result of Defendants’ unfair, deceptive, and

   unconscionable acts and practices, Plaintiff and Ohio Subclass members have suffered and will

   continue to suffer injury, ascertainable losses of money or property, and monetary and non-

   monetary damages; losses from fraud and identity theft; costs for credit monitoring and identity

   protection services; time and expenses related to monitoring their financial accounts for fraudulent

   activity; loss of value of their Personal Information; and an increased, imminent risk of fraud and

   identity theft.

           720.      Plaintiff and Ohio Subclass members seek all monetary and non-monetary relief

   allowed by law, including declaratory and injunctive relief, the greater of actual and treble damages

   or statutory damages, attorneys’ fees and costs, and any other appropriate relief.

                                                COUNT 30

                            OHIO DECEPTIVE TRADE PRACTICES ACT,
                                 Ohio Rev. Code §§ 4165.01, et seq.

           721.      The Ohio Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Ohio Subclass, repeat the allegations contained in the preceding

   paragraphs as if fully set forth herein.

           722.      Defendants, Plaintiff, and Ohio Subclass members are each a “person,” as defined

   by Ohio Rev. Code § 4165.01(D).

           723.      Defendants advertised, offered, or sold goods or services in Ohio and engaged in

   trade or commerce directly or indirectly affecting the people of Ohio.

           724.      Defendants engaged in deceptive trade practices in the course of its business and

   vocation, in violation of Ohio Rev. Code § 4165.02, including:

                     a.     Representing that their goods and services have characteristics, uses,

           benefits, or qualities that they do not have, in violation of Ohio Rev. Code § 4165.02(A)(7);



                                                    143
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 150 of 158 PageID: 940




                b.     Representing that their goods and services are of a particular standard or

         quality when they are of another, in violation of Ohio Rev. Code § 4165.02(A)(9); and

                c.     Advertising their goods and services with intent not to sell them as

         advertise, in violation of Ohio Rev. Code § 4165.02(A)(11).

         725.   Defendants’ deceptive trade practices include:

                a.     Failing to implement and maintain reasonable security and privacy

         measures to protect Plaintiff and Ohio Subclass members’ Personal Information, which

         was a direct and proximate cause of the Data Breach;

                b.     Failing to identify foreseeable security and privacy risks, remediate

         identified security and privacy risks, and adequately improve security and privacy

         measures following previous cybersecurity incidents, which was a direct and proximate

         cause of the Data Breach;

                c.     Failing to comply with common law and statutory duties pertaining to the

         security and privacy of Plaintiff and Ohio Subclass members’ Personal Information,

         including duties imposed by the FTC Act, 15 U.S.C. § 45, and HIPAA;

                d.     Misrepresenting that they would protect the privacy and confidentiality of

         Plaintiff and Ohio Subclass members’ Personal Information, including by implementing

         and maintaining reasonable security measures and ensuring their vendors and business

         associates maintained reasonable security measures;

                e.     Misrepresenting that they would comply with common law and statutory

         duties pertaining to the security and privacy of Plaintiff and Ohio Subclass members’

         Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and

         HIPAA;




                                               144
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 151 of 158 PageID: 941




                  f.      Omitting, suppressing, and concealing the material fact that they did not

          reasonably or adequately secure Plaintiff and Ohio Subclass members’ Personal

          Information or ensure their vendors and business associates reasonably or adequately

          secured such information; and

                  g.      Omitting, suppressing, and concealing the material fact that they did not

          comply with common law and statutory duties pertaining to the security and privacy of

          Plaintiff and Ohio Subclass members’ Personal Information, including duties imposed by

          the FTC Act, 15 U.S.C. § 45, and HIPAA.

          726.    Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.

          727.    Defendants intended to mislead Plaintiff and Ohio Subclass members and induce

   them to rely on their misrepresentations and omissions.

          728.    Defendants acted intentionally, knowingly, and maliciously to violate Ohio’s

   Deceptive Trade Practices Act, and recklessly disregarded Plaintiff and Ohio Subclass members’

   rights. Quest’s past data breaches and breaches within the medical industry put them on notice

   that their security and privacy protections were inadequate.

          729.    As a direct and proximate result of Defendants’ deceptive trade practices, Plaintiff

   and Ohio Subclass members have suffered and will continue to suffer injury, ascertainable losses

   of money or property, and monetary and non-monetary damages; costs for credit monitoring and

   identity protection services; time and expenses related to monitoring their financial accounts for

   fraudulent activity; loss of value of their Personal Information; and an increased, imminent risk of

   fraud and identity theft.




                                                   145
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 152 of 158 PageID: 942




           730.    Plaintiff and Ohio Subclass members seek all monetary and non-monetary relief

   allowed by law, including injunctive relief, actual damages, restitution, attorneys’ fees, and any

   other relief that is just and proper.

                        CLAIMS ON BEHALF OF THE PENNSYLVANIA SUBCLASS

                                               COUNT 31

     PENNSYLVANIA UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION
                  LAW, 73 Pa. Cons. Stat. §§ 201-2 & 201-3, et seq.

           731.    The Pennsylvania Plaintiff(s) identified above (“Plaintiff,” for purposes of this

   Count), individually and on behalf of the Pennsylvania Subclass, repeat the allegations contained

   in the preceding paragraphs as if fully set forth herein.

           732.    Defendants are a “person”, as meant by 73 Pa. Cons. Stat. § 201-2(2).

           733.    Plaintiff and Pennsylvania Subclass members purchased goods and services in

   “trade” and “commerce,” as meant by 73 Pa. Cons. Stat. § 201-2(3), primarily for personal,

   family, and/or household purposes.

           734.    Defendants engaged in unfair methods of competition and unfair or deceptive acts

   or practices in the conduct of its trade and commerce in violation of 73 Pa. Cons. Stat. Ann. §

   201-3, including:

                   a.      Representing that their goods and services have characteristics, uses,

   benefits, and qualities that they do not have (73 Pa. Stat. Ann. § 201-2(4)(v));

                   b.      Representing that their goods and services are of a particular standard or

   quality if they are another (73 Pa. Stat. Ann. § 201-2(4)(vii)); and

                   c.      Advertising their goods and services with intent not to sell them as

   advertised (73 Pa. Stat. Ann. § 201-2(4)(ix)).

           735.    Defendants’ unfair or deceptive acts and practices include:



                                                    146
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 153 of 158 PageID: 943




                 a.      Failing to implement and maintain reasonable security and privacy

   measures to protect Plaintiff and Pennsylvania Subclass members’ Personal Information, which

   was a direct and proximate cause of the Data Breach;

                 b.      Failing to identify foreseeable security and privacy risks, remediate

   identified security and privacy risks, and adequately improve security and privacy measures

   following previous cybersecurity incidents, which was a direct and proximate cause of the Data

   Breach;

                 c.      Failing to comply with common law and statutory duties pertaining to the

   security and privacy of Plaintiff and Pennsylvania Subclass members’ Personal Information,

   including duties imposed by the FTC Act, 15 U.S.C. § 45, and HIPAA;

                 d.      Misrepresenting that they would protect the privacy and confidentiality of

   Plaintiff and Pennsylvania Subclass members’ Personal Information, including by implementing

   and maintaining reasonable security measures and ensuring their vendors and business associates

   maintained reasonable security measures;

                 e.      Misrepresenting that they would comply with common law and statutory

   duties pertaining to the security and privacy of Plaintiff and Pennsylvania Subclass members’

   Personal Information, including duties imposed by the FTC Act, 15 U.S.C. § 45, and HIPAA;

                 f.      Omitting, suppressing, and concealing the material fact that they did not

   reasonably or adequately secure Plaintiff and Pennsylvania Subclass members’ Personal

   Information or ensure their vendors and business associates reasonably or adequately secured such

   information; and

                 g.      Omitting, suppressing, and concealing the material fact that they did not

   comply with common law and statutory duties pertaining to the security and privacy of Plaintiff




                                                 147
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 154 of 158 PageID: 944




   and Pennsylvania Subclass members’ Personal Information, including duties imposed by the FTC

   Act, 15 U.S.C. § 45, and HIPAA.

          736.   Defendants’ representations and omissions were material because they were likely

   to deceive reasonable consumers about the adequacy of AMCA’s data security and ability to

   protect the confidentiality of consumers’ Personal Information.

          737.   Defendants intended to mislead Plaintiff and Pennsylvania Subclass members and

   induce them to rely on their misrepresentations and omissions.

          738.   Had Defendants disclosed to Plaintiffs and Pennsylvania Subclass members that

   AMCA’s data systems were not secure and, thus, vulnerable to attack, Defendants would have

   been unable to continue in business and they would have been forced to use vendors and business

   associates with reasonable data security measures and comply with the law. Instead, Defendants

   received, maintained, and compiled Plaintiffs’ and Pennsylvania Subclass members’ Personal

   Information as part of the services they provided without advising Plaintiffs and Pennsylvania

   Subclass members that AMCA’s data security practices were insufficient to maintain the safety

   and confidentiality of Plaintiffs’ and Pennsylvania Subclass members’ Personal Information.

   Accordingly, Plaintiff and Pennsylvania Subclass members acted reasonably in relying on

   Defendants’ misrepresentations and omissions, the truth of which they could not have discovered.

          739.   Defendants acted intentionally, knowingly, and maliciously to violate Pennsylvania

   Unfair Trade Practices and Consumer Protection Law, and recklessly disregarded Plaintiff and

   Pennsylvania Subclass members’ rights.

          740.   As a direct and proximate result of Defendants’ unfair methods of competition and

   unfair or deceptive acts or practices and Plaintiff’s and Pennsylvania Subclass members’ reliance

   on them, Plaintiff and Pennsylvania Subclass members have suffered and will continue to suffer




                                                 148
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 155 of 158 PageID: 945




   injury, ascertainable losses of money or property, and monetary and non-monetary damages; losses

   from fraud and identity theft; costs for credit monitoring and identity protection services; time and

   expenses related to monitoring their financial accounts for fraudulent activity; loss of value of their

   Personal Information; and an increased, imminent risk of fraud and identity theft.

          741.    Plaintiff and Pennsylvania Subclass members seek all monetary and non-monetary

   relief allowed by law, including actual damages or statutory damages of $100 (whichever is

   greater), treble damages, restitution, attorneys’ fees and costs, and any additional relief the Court

   deems necessary or proper.

                    CLAIMS ON BEHALF OF THE TENNESSEE SUBCLASS

                                                COUNT 32

           TENNESSEE PERSONAL CONSUMER INFORMATION RELEASE ACT,
                        Tenn. Code Ann. §§ 47-18-2107, et seq.

          742.    The Tennessee Plaintiff(s) identified above (“Plaintiff,” for purposes of this Count),

   individually and on behalf of the Tennessee Subclass, repeat the allegations contained in the

   preceding paragraphs as if fully set forth herein.

          743.    Defendants are each a business that owns or licenses computerized data that

   includes Personal Information as defined by Tenn. Code Ann. § 47-18-2107(a)(3).

          744.    Plaintiff’s and Tennessee Subclass members’ Personal Information includes

   Personal Information as covered under Tenn. Code Ann. § 47-18- 2107(a)(4)(A).

          745.    Defendants are required to accurately notify Plaintiff and Tennessee Subclass

   members following discovery or notification of a breach of their data security system in which

   unencrypted Personal Information was, or is reasonably believed to have been, acquired by an

   unauthorized person, in the most expedient time possible and without unreasonable delay under

   Tenn. Code Ann. § 47-18-2107(b).



                                                    149
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 156 of 158 PageID: 946




          746.    Because Defendants discovered a breach of AMCA’s security system involving the

   Personal Information of Plaintiff and Tennessee Subclass members that Defendants provided to

   AMCA in which unencrypted Personal Information was, or is reasonably believed to have been,

   acquired by an unauthorized person, Defendants had an obligation to disclose the Data Breach in

   a timely and accurate fashion as mandated by Tenn. Code Ann. § 47-18-2107(b).

          747.    By failing to disclose the Data Breach in a timely and accurate manner, Defendants

   violated Tenn. Code Ann. § 47-18-2107(b).

          748.    As a direct and proximate result of Defendants’ violations of Tenn. Code Ann. §

   47-18-2107(b), Plaintiff and Tennessee Subclass members suffered damages, as described above.

          749.    Plaintiff and Tennessee Subclass members seek relief under Tenn. Code Ann. §§

   47-18-2107(h), 47-18-2104(d), and 47-18-2104(f), including actual damages, injunctive relief, and

   treble damages.

                                     REQUESTS FOR RELIEF

          Plaintiffs, individually and on behalf of members of the Class and Subclasses, as

   applicable, respectfully requests that the Court enter judgment in their favor and against

   Defendants, as follows:

          1.      That the Court certify this action as a class action, proper and maintainable pursuant

   to Rule 23 of the Federal Rules of Civil Procedure; declare that Plaintiffs are proper class

   representatives; and appoint Plaintiffs’ Co-Lead and Co-Liaison Counsel as Class Counsel;

          2.      That the Court grant permanent injunctive relief to prohibit Defendants from

   continuing to engage in the unlawful acts, omissions, and practices described herein;

          3.      That the Court award Plaintiffs and Class and Subclass members compensatory,

   consequential, and general damages in an amount to be determined at trial;




                                                   150
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 157 of 158 PageID: 947




          4.        That the Court order disgorgement and restitution of all earnings, profits,

   compensation, and benefits received by Defendants as a result of their unlawful acts, omissions,

   and practices;

          5.        That the Court award statutory damages, trebled, and punitive or exemplary

   damages, to the extent permitted by law;

          6.        That Plaintiffs be granted the declaratory relief sought herein;

          7.        That the Court award to Plaintiffs the costs and disbursements of the action, along

   with reasonable attorneys’ fees, costs, and expenses;

          8.        That the Court award pre- and post-judgment interest at the maximum legal rate;

   and

          9.        That the Court grant all such other relief as it deems just and proper.

                                     DEMAND FOR JURY TRIAL

   Plaintiffs demand a jury trial on all claims so triable.

                                                           CARELLA, BYRNE, CECCHI,
                                                           OLSTEIN, BRODY & AGNELLO, P.C.
                                                           Interim Lead Counsel for Plaintiffs


                                                           By:    /s/ James E. Cecchi
                                                                  JAMES E. CECCHI
   Dated: November 15, 2019

    Christopher A. Seeger                               E. Michelle Drake
    Parvin Aminolroaya                                  BERGER MONTAGUE PC
    Jennifer Scullion                                   43 SE Main Street, Suite 505
    SEEGER WEISS LLP                                    Minneapolis, Minnesota 55414
    55 Challenger Road, 6th Floor                       (612) 594-5999
    Ridgefield Park, New Jersey 07660
    (973) 639-9100                                      Jason T. Dennett
                                                        Kim D. Stephens
    Norman E. Siegel                                    Cecily C. Shiel
    Barrett J. Vahle                                    TOUSLEY BRAIN STEPHENS, PLLC
    J. Austin Moore                                     1700 Seventh Avenue, Suite 2200
    STUEVE SIEGEL HANSON LLP                            Seattle, Washington 98101


                                                     151
Case 2:19-md-02904-MCA-MAH Document 104 Filed 11/15/19 Page 158 of 158 PageID: 948




    460 Nichols Road, Suite 200          (206) 682-5600
    Kansas City, Missouri 64112
    (816) 714-7100                       Timothy G. Blood
                                         Thomas J. O’Reardon II
    Jason L. Lichtman                    BLOOD HURST & O’REARDON, LLP
    Sean A. Petterson                    502 West Broadway, Suite 1490
    LIEFF CABRASER HEIMANN               San Diego, California 92101
    & BERNSTEIN, LLP                     (619) 338-1101
    250 Hudson Street, 8th Floor
    New York, New York 10013             Todd S. Garber
    (212) 355-9500                       Jeremiah Frei-Pearson
                                         D. Greg Blankinship
    Quest Track Co-Lead Counsel          Chantal Khalil
                                         FINKELSTEIN, BLANKINSHIP, FREI-
                                         PEARSON & GARBER, LLP
                                         445 Hamilton Avenue, Suite 605
                                         White Plains, New York 10601
                                         (914) 298-3281

                                         Quest Track Steering Committee




                                       152
